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   1
                       IN THE UNITED STATES DISTRICT COURT
   2                      FOR THE DISTRICT OF COLORADO
   3         Civil Action No. 19-cv-03417-STV
            ___________________________________________________________
   4
   5         REBECCA BRIGHAM,
   6                  Plaintiff,
   7         vs.
   8         FRONTIER AIRLINES, INC.,
   9                  Defendant.
  10        ____________________________________________________________
  11                  VIDEO VIDEOCONFERENCED DEPOSITION OF
                              REBECCA LEIGH BRIGHAM
  12                             August 31, 2020
            ____________________________________________________________
  13
             VIDEOCONFERENCED APPEARANCES:
  14
             ON BEHALF OF THE PLAINTIFF:
  15                  JOHN REILY CRONE, ESQ.
                      EVAN GRIMES, ESQ.
  16                  John R. Crone, LLC
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  17                  Glendale, Colorado 80246
                      Phone: 303-598-3526
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                      Email: evan@crone-law.com
  19
             ON BEHALF OF THE DEFENDANT:
  20                  DANIELLE L. KITSON, ESQ.
                      CAROLYN THEIS, ESQ.
  21                  Littler Mendelson, P.C.
                      1900 16th Street, Suite 800
  22                  Denver, Colorado 80202
                      Phone: 303-629-6200
  23                  Email: dkitson@littler.com
                      Email: ctheis@littler.com
  24
             ALSO PRESENT: Cole Bartelt, Videographer
  25                       Jacalyn Peter
             Job No. CS4229140

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       1                PURSUANT TO WRITTEN NOTICE and the                          1    PREVIOUSLY MARKED EXHIBITS:                                     PAGE
       2   appropriate rules of civil procedure, the video
       3   videoconferenced deposition of REBECCA LEIGH BRIGHAM,
                                                                                    2    Exhibit 1 Association of Flight Attendants-CWA                 84
       4   called for examination by the Defendant, was taken                                   AFL-CIO
       5   remotely, commencing at 8:07 a m on August 31, 2020,                     3           Frontier Airlines Flight Attendant
       6   before Laurel S Tubbs, a Registered Professional
                                                                                                Contract 2011-2016
       7   Reporter, Certified Realtime Reporter and Notary Public
       8   in and for the State of Colorado                                         4
       9                    INDEX                                                        Exhibit 20 Document Entitled "Untitled"                  112
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            By Mr Crone                               220
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      12                                                                             7
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      14          Repair                                                            10
      15   Exhibit 4 2016 W-2 from EmployerBridge          50                       11
                  Southwest                                                         12
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           Exhibit 5 2017 W-2 from Great West Painting and           50
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      17          Repair                                                            14
      18   Exhibit 6 2018 W-2 from Great West Painting and           51             15
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           Exhibit 7 2015 1099-G from Colorado Department      203                  17
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      21   Exhibit 11 Certification of Healthcare Provider 145                      19
                  for Employee's Serious Health
      22          Condition (Family and Medical Leave
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                  Act) Intermittent Leave of Absence                                21
      23                                                                            22
           Exhibit 12 Certification of Healthcare Provider     157
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      24          for Employee's Serious Health
                  Condition (Family and Medical Leave                               24
      25          Act) Intermittent Leave of Absence                                25

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       1   EXHIBITS (Cont'd):                        PAGE
       2   Exhibit 14 Email Stream                    167
                                                                                     1              PROCEEDINGS
       3   Exhibit 15 Email Stream                    179                            2            THE VIDEOGRAPHER: Good morning. We're on
       4   Exhibit 16 Inflight Dependability Performance       33
                  Counseling Record                                                  3   the record at 8:07 a.m. on Monday, August 31st, 2020.
       5                                                                             4   Please note that the microphones are sensitive and may
           Exhibit 17 Certification of Healthcare Provider  134
       6          for Employee's Serious Health                                      5   pick up whispering, private conversations, and cellular
                  Condition (Family and Medical Leave                                6   interference. Please turn off all cell phones or place
       7          Act)
       8   Exhibit 23 Frontier Airlines Job Description    118                       7   them away from the microphones, as they can interfere
       9   Exhibit 24 Treatment Plan Dated May 1, 2015       152
                                                                                     8   with the deposition audio. Audio and video recording
      10   Exhibit 32 Transcription of Recording by Hunter    163
                  + Geist, Inc                                                       9   will continue to take place unless all parties agree to
      11
           Exhibit 33 Transcription of Recording by Hunter      173
                                                                                    10   go off the record.
      12          + Geist, Inc                                                      11            This is Media Unit 1 of the video-recorded
      13   Exhibit 34 Transcription of Recording by Hunter      182
                  + Geist, Inc                                                      12   deposition of Rebecca Brigham, being taken by counsel for
      14                                                                            13   the Defendant in the matter of Rebecca Brigham versus
           Exhibit 36 Fax Cover Sheet Dated November 8,         139
      15          2014, from Mr Riemann re: Rebecca                                 14   Frontier Airlines, filed in the United States District
                  Brigham Release                                                   15   Court for the District of Colorado, Case Number
      16
           Exhibit 37 Email Stream                    114                           16   19-cv-03417. This deposition is being held via remote
      17
                                                                                    17   video deposition located in Genesee County, Michigan.
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      18          Intake Sheet                                                      18            My name is Cole Bartelt from the firm
      19   Exhibit 42 Number 1 Audio-recorded Transcription   161
      20   Exhibit 43 Number 2 Audio-recording            171                       19   Veritext, and I'm the videographer. The court reporter
                  Transcription                                                     20   is Laurel Tubbs from the firm Veritext.
      21
           Exhibit 44 Investigatory Meeting              182                        21            I am not authorized to administer an oath.
      22                                                                            22   I'm not related to any party in this action, nor am I
           Exhibit 46 Text Messages Between Ms Coppedge              184
      23          and Ms Brigham                                                    23   financially interested in the outcome. Counsel and
      24   Exhibit 47 Text Messages Between Mr Dale Kinsey           200            24   all -- counsel and all present and appearing remotely
                  and Ms Brigham
      25                                                                            25   will now go ahead and state their appearances and

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                                                                     Page 6                                                                Page 8
       1   affiliations for the record.                                        1                 EXAMINATION
       2                MR. CRONE: John Crone for the Plaintiff,               2   BY MS. KITSON:
       3   Rebecca Brigham.                                                    3          Q. Good morning, Ms. Brigham. How are you
       4                MR. GRIMES: Evan Grimes for the                        4   today?
       5   Plaintiff.                                                          5          A. Good morning. Good. How are you?
       6                MS. KITSON: Danielle Kitson for the                    6          Q. Good. Thank you.
       7   Defendant, Frontier Airlines, and with me is                        7            Would you please state your full name for
       8   Caroline Theis from my firm and Jacalyn Peter from                  8   the record.
       9   Frontier.                                                           9          A. Rebecca Leigh Brigham.
      10                MS. BRIGHAM: And Rebecca Brigham,                     10          Q. And what's your current address?
      11   Plaintiff.                                                         11          A. 10148 Green Road, Goodrich, Michigan
      12                THE VIDEOGRAPHER: And will the court                  12   48438.
      13   reporter please enter the statement for remote                     13          Q. Have you ever been deposed before?
      14   proceedings into the record.                                       14          A. No.
      15                THE REPORTER: The attorneys participating             15          Q. Okay. Do you understand that you're under
      16   in this deposition acknowledge that I am not physically            16   oath here today?
      17   present in the deposition room and that I will be                  17          A. Yes.
      18   reporting this deposition remotely. They further                   18          Q. Do you understand that that oath is the
      19   acknowledge that in --                                             19   same oath that you would take in a court of law?
      20                (Discussion off the record.)                          20          A. Yes.
      21                THE VIDEOGRAPHER: We're going off the                 21          Q. Have you ever participated in an online
      22   record at 8:09 a.m.                                                22   deposition in this case in the past?
      23                (Discussion off the record.)                          23          A. Not participated, but watched.
      24                THE VIDEOGRAPHER: We're going back on the             24          Q. Okay. And which deposition was that?
      25   record at 12:00 a.m. (sic).                                        25          A. Both Jerry Arellano's.
                                                                     Page 7                                                                Page 9
       1              Will the court reporter please read the         1                    Q. So then you know a little bit of the drill
       2   statement for remote proceeding on the record.             2            then?
       3              THE REPORTER: The attorneys participating       3                   A. Yeah.
       4   in this deposition acknowledge that I am not physically    4                   Q. Do you understand that you're being
       5   present in the deposition room and that I will be          5            recorded here today?
       6   reporting this deposition remotely. They further           6                   A. Yes.
       7   acknowledge that in lieu of an oath administered in        7                   Q. And do you understand that your words are
       8   person, the witness will verbally declare his/her          8            also being taken down by the court reporter, Laurel, who
       9   testimony in this matter is under penalty of perjury.      9            you see on the screen there?
      10   The parties and their counsel consent to this arrangement 10                   A. Yes.
      11   and waive any objections to this manner of reporting.     11                   Q. Would you agree to give verbal responses
      12              Please indicate your agreement by stating      12            for Laurel today, for the court reporter, with a Yes or a
      13   your name and your agreement on the record, beginning     13            No, instead of a shake of your head or an uh-huh, huh-uh?
      14   with the taking attorney.                                 14            It makes it a little bit easier for us to have a clean
      15              MS. KITSON: This is Danielle Kitson. I         15            record.
      16   agree.                                                    16                   A. Yes. And I do have to warn you, Danielle,
      17              MR. CRONE: John Crone. Agree.                  17            I have like head tremors, and this tends to make them
      18              MR. GRIMES: Evan Grimes. I agree.              18            worse. So if you see me shaking my head no, it is not me
      19              MS. THEIS: Caroline Theis. I agree.            19            saying no. It is my head tremors.
      20              THE VIDEOGRAPHER: And will the court           20                   Q. Thank you for clarifying that. So I may
      21   reporter please swear in the witness.                     21            ask you then -- if I see that at any point today, and I
      22               REBECCA LEIGH BRIGHAM,                        22            have a question about it or want to ask you --
      23   having been first duly sworn or affirmed, was examined and23                   A. Yes.
      24   testified as follows:                                     24                   Q. -- I will definitely clarify. So thank you
      25              THE REPORTER: Thank you.                       25            for that.

                                                                                                                             3 (Pages 6 - 9)
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                                                                       Page 10                                                           Page 12
       1          A. Okay. I also want to point out that it's        1                       A. Yes.
       2   just me here with my two children. My husband is          2                       Q. Will you let me know at any point if
       3   actually up north. So we may need to take a few more      3                there's something you want to add to a prior answer?
       4   breaks than normal. And my kids are instructed that they  4                       A. Yes.
       5   can come get me if it's like super important. So I'm      5                       Q. At any point today if there's something you
       6   going to apologize in advance if we get interrupted, but  6                do not understand about the questions that I'm asking you,
       7   we'll just have to kind of deal with it.                  7                will you let me know that?
       8          Q. No problem. That's what I call the COVID        8                       A. Yes.
       9   new normal, right? Mine are downstairs doing their online 9                       Q. At any point today if you experience
      10   assignments right now too. So...                         10                technical difficulties, you're having difficulty hearing
      11              Is there anybody in the room with you right   11                me or hearing anyone else on the call, will you let me
      12   now?                                                     12                know that right away?
      13          A. No. No.                                        13                       A. Yes.
      14          Q. Will you tell me at any point if there is      14                       Q. We can take breaks whenever you need, for
      15   someone in the room with you that I can't see on the     15                your children or any other reason. If you need a restroom
      16   screen?                                                  16                break, what have you. But I would just ask that you
      17          A. Yes. And you'll see right through there        17                answer the question that's pending before we break.
      18   (indicating.                                             18                          Is that fair?
      19              G). That door is where my kids would come     19                       A. Okay. Sure.
      20   busting through.                                         20                       Q. At the end of this, you'll have an
      21          Q. Okay. This is an interesting format for a      21                opportunity to review the transcript that our court
      22   deposition. So I'm going to ask you a few questions I    22                reporter is taking down.
      23   don't usually ask.                                       23                          Will you agree to do that and fix any
      24          A. Okay.                                          24                inaccuracies in the record?
      25          Q. But will you agree not to communicate with     25                       A. Yes.
                                                                       Page 11                                                           Page 13
       1   your counsel via text or instant message or any other                  1          Q. How are you feeling today?
       2   means while you are on the record --                                   2          A. Ready to get this over with.
       3         A. Yes.                                                          3          Q. Are you feeling sick at all?
       4         Q. -- answering my questions?                                    4          A. No. I developed a little bit of a cough
       5         A. Yes.                                                          5   this morning, but I don't think it's anything serious.
       6         Q. Okay. If at any point --                                      6          Q. Is it anything that in any way impacts your
       7            MS. KITSON: And -- and can I then also get                    7   ability to think clearly or answer questions?
       8   that commitment too from Mr. Crone and Mr. Grimes? Will                8          A. No.
       9   you commit to not communicating with your client -- or                 9          Q. Is it anything that impacts your ability to
      10   your client while she's on the record answering questions             10   recall events clearly?
      11   in a text message format or an instant message?                       11          A. No.
      12            MR. CRONE: Danielle, of -- of course. So                     12          Q. Have you taken any drugs in the past
      13   neither I nor Mr. Grimes would do anything improper                   13   24 hours?
      14   during -- during the deposition.                                      14          A. No. Well, I mean, I took levothyroxine
      15         Q. (By Ms. Kitson) Ms. Brigham, your counsel,                   15   this morning, which is because I don't have a thyroid.
      16   Mr. Grimes and Mr. Crone, may make objections today. As               16              Is that what you're considering drugs?
      17   you probably saw from Mr. Arellano's deposition, those                17          Q. Well, however you consider it. So --
      18   objections are for the record, unless they specifically               18          A. Okay.
      19   instruct you not to answer. So the typical process is I               19          Q. -- sure. Are there any drugs that you've
      20   ask questions, they may object, and then you can answer               20   taken in the past 24 hours that would impact your ability
      21   the questions.                                                        21   to think clearly?
      22            Do you understand that?                                      22          A. No.
      23         A. Yes.                                                         23          Q. Have you had any alcohol in the past
      24         Q. Will you agree to give me full and complete                  24   24 hours?
      25   answers to my questions?                                              25          A. No.

                                                                                                                          4 (Pages 10 - 13)
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                                                              Page 14                                                                    Page 16
       1          Q. Are you currently under a doctor's care for         1   really hired. I had met another attorney, his name was
       2   any medical condition? You mentioned a thyroid issue?         2   Jeff Bram (phonetic), right after this, and I had met him
       3          A. Yeah. That was taken out when my daughter           3   through another guy, and they're the ones that sort of
       4   was about a year old. And I've been on levothyroxine          4   told me more about the ADA. And they were supposedly
       5   since.                                                        5   working on my case, and then that just turned out weird.
       6          Q. And what is levo- -- can you pronounce that         6               They -- I -- from what I remember,
       7   again. I'm sorry.                                             7   Mr. Bram was disbarred or something weird. He was also
       8          A. Levothyroxine. It's thyroid hormone                 8   an alcoholic. So I don't know if he, like, relapsed or
       9   replacement drug since I don't have a thyroid to produce      9   what happened, but I just lost contact with them. And
      10   any of those natural stuff, it just -- yeah.                 10   it's -- I never had any type of an agreement with either
      11          Q. And do you take that daily?                        11   of them. They were just kind of working on the case.
      12          A. Every morning.                                     12            Q. Okay.
      13          Q. And do you know what the dosage is?                13            A. It was more of like a fun thing.
      14          A. I believe I'm on 200 milligrams right now.         14            Q. So they weren't your attorneys?
      15          Q. Are there any other medications that you're        15            A. No, no.
      16   taking?                                                      16            Q. What did they tell you that they thought of
      17          A. Occasionally at nighttime, I'll take               17   your case?
      18   Trazodone for sleep.                                         18            A. They thought it was a decent case and I
      19          Q. Anything else?                                     19   should definitely take it forward.
      20          A. That's it.                                         20            Q. Did they say anything about, you know,
      21          Q. And I asked you if you were currently under        21   weaknesses or problems with your case?
      22   a doctor's care for any medical condition.                   22            A. Not that I can recall.
      23             Other than your thyroid condition, are             23               MR. CRONE: I'm -- I'm going -- I'm going
      24   there any other medical conditions that you're being         24   to put an objection on the record too on the basis of
      25   treated for?                                                 25   attorney-client privilege.
                                                              Page 15                                                                    Page 17
       1         A. Not currently.                                       1           Q. (By Ms. Kitson) When did you consult with
       2         Q. Is there anything at all that would affect           2   Mr. Bram first?
       3   your ability to testify truthfully and accurately here        3           A. I met him through a -- it was a chance
       4   today?                                                        4   meeting at a Jiffy Lube right before my final termination
       5         A. No.                                                  5   hearing from Frontier. I was at Jiffy Lube, and I had a
       6         Q. At any point if you have trouble                     6   bunch of stuff on the ADA, and I was working on my case
       7   understanding me or thinking clearly or recalling events,     7   to present to Frontier at my final termination.
       8   will you let me know that?                                    8              And there happened to be a gentleman
       9         A. Yes.                                                 9   sitting next to me who had asked me what I was working
      10         Q. I want to ask you a little bit about what           10   on. And I basically told him, you know --
      11   you did to prepare for your deposition today.                11              MR. CRONE: Hold on. Hold on, Rebecca.
      12             First of all, you're represented here today        12              Objection. So Rebecca's not going to talk
      13   by Mr. Crone and Mr. Grimes; is that correct?                13   about her conversations with counsel, whether it was in,
      14         A. Correct.                                            14   you know, a prospective attorney-client relationship,
      15         Q. Before Mr. Crone and Mr. Grimes, did you            15   which is also confidential and privileged, or they
      16   consult with any other attorney?                             16   actually formed an attorney-client relationship.
      17         A. My brother.                                         17              Don't answer any more of these questions,
      18         Q. What's your brother's name?                         18   Rebecca.
      19         A. Joshua Kruger.                                      19              THE DEPONENT: Okay.
      20         Q. When did you first speak with Mr. Kruger,           20           Q. (By Ms. Kitson) And I believe my question,
      21   without telling me what you discussed with him?              21   Ms. Brigham, was when did you meet. I think you answered
      22         A. Well, my brother I've talked to about this          22   that. It was right around the time of your termination
      23   since basically I was fired. He helped me do the             23   in --
      24   rebuttal. He helped me out in the beginning before I         24           A. It would have been in late October, I
      25   hired Mr. Crone. And I had also hired -- well, not           25   believe.

                                                                                                                       5 (Pages 14 - 17)
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       1          Q. Okay. And how long were you talking with        1               Q. How long did you meet?
       2   Mr. Bram before you ended your communication with him? 2                  A. I want to say it was maybe three or four
       3          A. Two or three months.                            3      hours.
       4          Q. After those two or three months, when was       4             Q. Was there anyone else present when you met
       5   the next time that you consulted an attorney about this?  5      with the two of them?
       6          A. My brother. And he's the one that helped        6             A. My brother did come for lunch.
       7   me --                                                     7             Q. Anyone else?
       8             MR. CRONE: Again, hold on, Rebecca.             8             A. No.
       9             Let me put an objection on the record on        9             Q. Okay. I believe you said that you also
      10   the basis of attorney-client privilege. When she talked  10      prepared for the call today; is that right?
      11   to her brother, of course, is fine.                      11             A. Yeah. And I just spent a few minutes last
      12             But don't testify about what you talked        12      night sort of reviewing the lawsuit again, and I
      13   about.                                                   13      re-listened to some of those parts of those recordings
      14             THE DEPONENT: Okay.                            14      that I have.
      15             MR. CRONE: Thanks.                             15             Q. How many times have you met with Mr. Crone
      16          Q. (By Ms. Kitson) So I'll just repeat that       16      or Mr. Grimes in person?
      17   question.                                                17             A. Once.
      18             I believe you said you began speaking with     18             Q. Just the time that you came out here for
      19   your brother about this about two or three months after  19      your deposition a couple weeks ago -- a week ago?
      20   you had stopped communicating with Mr. Bram; is that     20             A. Yeah.
      21   correct?                                                 21             Q. How many times have you spoken with them on
      22          A. Well, he knew about it the whole time.         22      the phone?
      23          Q. How long was it that you -- before you         23             A. Lots.
      24   started speaking with Mr. Crone and/or Mr. Grimes?       24             Q. About how frequently?
      25          A. It was after I had spoke with you on the       25             A. It just depends on what's going on in the
                                                             Page 19                                                               Page 21
       1   phone and said that I would like to contact an attorney.     1   case. Sometimes, it's every couple of days. Sometimes,
       2   That's when I got hooked up with Mr. Crone.                  2   it would be two weeks before we talk again.
       3          Q. That would have been -- my memory is really        3          Q. Who's paying your legal bills?
       4   bad.                                                         4          A. Nobody. I'm on a contingency.
       5             Was that about a year ago; would you say?          5          Q. Full contingency?
       6          A. Yeah. Approximately.                               6          A. Yes.
       7          Q. And other than Mr. Crone and Mr. Grimes,           7          Q. So you haven't paid any money for this case
       8   have you ever spoken with another attorney about this        8   to date?
       9   case, other than also Mr. Bram and your brother?             9          A. No.
      10          A. I had spoke with a few attorneys while I          10          Q. And what is your contingency fee
      11   was looking for them -- for somebody to represent me, at    11   arrangement?
      12   the time that I hired Mr. Crone.                            12             MR. CRONE: Hold on. Objection. So the
      13          Q. But you never formed an attorney-client           13   terms of the fee agreement are, of course, confidential
      14   relationship with any of them?                              14   and privileged.
      15          A. No.                                               15             MS. KITSON: They actually are not. 10th
      16          Q. What did you do to prepare for your               16   Circuit law says that the terms of the fee arrangement
      17   deposition today?                                           17   are discoverable.
      18          A. The one today? Or the one that was                18             MR. CRONE: If you really want to know,
      19   supposed to happen last week.                               19   send me the case, and I'll review it. But for now,
      20          Q. Let's take them both.                             20   I'm -- I'm instructing her to not answer.
      21          A. Okay. So the one that was supposed to             21             MS. KITSON: All right. It's Chimney Ross
      22   happen last week when I flew out to Colorado, I met with    22   Public Power District versus Tri-State Generation &
      23   John and Evan, and we reviewed the lawsuit and some of      23   Transmission. I'll give you that cite here. It's
      24   the things that we had submitted and also the economist's   24   2013 U.S. District Lexis 67714. And that's citing to the
      25   report.                                                     25   10th Circuit authority.

                                                                                                                  6 (Pages 18 - 21)
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       1           Q. (By Ms. Kitson) So after the next break,         1          Q. Okay. I have some general questions for
       2   I'll go ahead and ask you that question, Ms. Brigham.       2   you about your background.
       3           A. Okay.                                            3             Where are you from, originally?
       4           Q. Have you spoken with any attorneys from the      4          A. From? Golden, Colorado.
       5   ACLU.                                                       5          Q. What states have you lived in?
       6           A. No.                                              6          A. Just Colorado and Michigan, and for a
       7           Q. Okay. Have you spoken with any attorneys         7   brief time when I was in treatment, I lived in
       8   about other cases that are pending against Frontier         8   California.
       9   Airlines right now?                                         9          Q. Are you married currently?
      10           A. Repeat that question.                           10          A. Yes.
      11           Q. Have you spoken with any attorneys about        11          Q. And I believe you mentioned you have
      12   other cases that are pending against Frontier Airlines?    12   children; is that correct?
      13           A. Have I? No.                                     13          A. Yes, yes.
      14           Q. Are you aware of other cases that are           14          Q. How many children do you have?
      15   pending against Frontier Airlines?                         15          A. I have two living children.
      16           A. Yes.                                            16          Q. And one deceased; is that correct?
      17           Q. Okay. And what cases are you aware of?          17          A. Correct.
      18           A. I know of a giant breast-feeding and            18          Q. What's your husband's name?
      19   pregnancy discrimination.                                  19          A. Sean Brigham.
      20           Q. And have you --                                 20          Q. How long have you been married?
      21           A. Before you ask -- hold on, Danielle,            21          A. We got married in September of 2009.
      22   before you ask your next question, one of my children      22          Q. Have you ever been married before
      23   just knocked.                                              23   Mr. Brigham?
      24           Q. Oh, okay.                                       24          A. No.
      25              MR. CRONE: Danielle, do you know what the       25          Q. And what are the names and ages of your
                                                            Page 23                                                          Page 25
       1   date is on that cite you gave me?                           1   children?
       2              MS. KITSON: It's May 13, 2013.                   2          A. My daughter is Sylvia, and she will turn
       3              MR. CRONE: Thank you.                            3   10 tomorrow. And my son is Kason Brigham, and he just
       4           A. And I'm back.                                    4   turned 6 April 14th.
       5           Q. (By Ms. Kitson) Okay. Actually, let me           5          Q. Well, happy birthday to her, tomorrow.
       6   step back for one moment.                                   6          A. Thanks. She's excited.
       7              Has Mr. Crone given you any kind of              7          Q. Yeah. Mine just turned 9 in July. So --
       8   statement of the number of hours that he or Mr. Grimes      8          A. Close to double digits.
       9   have spent on the case?                                     9          Q. Yeah. I know.
      10           A. No.                                             10             Can you tell us a bit about your
      11              MR. CRONE: Again, an -- an objection            11   educational history?
      12   to -- to communications of -- regarding the                12          A. Uh-huh. I graduated high school. I went
      13   representation. So -- so attorney-client privilege is      13   to Northeastern Junior College for a semester, and then I
      14   the objection.                                             14   did a few classes at Red Rocks Community College.
      15              MS. KITSON: Yeah. It's not -- it's              15          Q. And when did you attend Red Rocks?
      16   discoverable. But I think she's answered. .                16          A. It would have been when I was 19 or 20.
      17           Q. (By Ms. Kitson) So you mentioned that           17          Q. Have you ever had any military service?
      18   you're aware of these cases against Frontier involving     18          A. No.
      19   breast-feeding.                                            19          Q. What employers have you worked for?
      20              Have you spoken with anyone -- anyone about     20          A. Oh, gosh. I worked for Casa Bonita. I
      21   this?                                                      21   worked for Dairy Queen. I worked for Pizza Hut. I
      22           A. Nobody from those cases, no.                    22   worked for Andolini's. I worked for a bowling alley that
      23           Q. Okay. So no attorneys, no Frontier              23   was down the street from my parents' house. And flight
      24   employees, no one?                                         24   attendant was what I had chosen for my career.
      25           A. I have not, no.                                 25             And then -- do you want me to keep going

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       1   after?                                                     1           Q. Grandmother. Okay.
       2          Q. Mm-hmm, sure.                                    2           A. I couldn't even give you a total. It's
       3          A. And then after I was terminated from             3    sort of varied. And right now, I'm only going over there
       4   Frontier, I began work through a temp agency at --         4    one day a week because of COVID, trying to limit, you
       5             THE REPORTER: I'm sorry. The name again          5    know, possible spread.
       6   of the bakery?                                             6           Q. Have you filed any tax documentation
       7             THE DEPONENT: Cakes -- Cakeheads Bakery. 7            related to your income from taking care of your husband's
       8   And then I began working for Great West Painting &         8    grandma?
       9   Repair.                                                    9           A. No. They're going to give me a 1099 at
      10          Q. (By Ms. Kitson) Any other employers?            10    the end of the year.
      11          A. Not that I can think of right now.              11           Q. When did you begin taking care of her?
      12          Q. So before beginning your career as a flight     12           A. I want to say it was probably starting in
      13   attendant, you had a number of jobs at restaurants,       13    February of this year.
      14   bowling alleys; is that correct?                          14           Q. Have you provided your counsel with any
      15          A. Yes.                                            15    kind of records of your earnings --
      16          Q. And when did you begin working for              16           A. No.
      17   Frontier?                                                 17           Q. -- with taking care of her? Okay.
      18          A. In May of 2007.                                 18              And will you do that?
      19          Q. When did you stop working for Frontier?         19           A. I can. I mean, she just -- she has a
      20          A. November of 2015.                               20    trust account that her son writes me a check. I just
      21          Q. When did you begin working for Cakeheads        21    keep track of my hours, and she -- or he writes me a
      22   through the temp agency?                                  22    check from her trust account.
      23          A. On this, my dates are a little fuzzy. But       23           Q. Ballpark it for me. About how much do you
      24   I want to say I was on unemployment for about -- not even 24    think you've earned?
      25   three months when I got hooked up with the temp agency, 25             A. Maybe 3 -- 3,000. That's my best guess.
                                                            Page 27                                                            Page 29
       1   and they had me go to the bakery.                           1          Q. Okay. I have just some general questions
       2          Q. How long did you work at Cakeheads?               2   for you about your legal background.
       3          A. Four or five months maybe.                        3             Have you ever been known by another name?
       4          Q. And when did you work for Great West              4          A. Rebecca Kruger.
       5   Painting?                                                   5          Q. Any other name?
       6          A. It was right after Cakeheads through the          6          A. My maiden name.
       7   end of 2018.                                                7          Q. Any other name?
       8          Q. And you haven't worked for any other              8          A. No.
       9   employer since?                                             9          Q. Have you ever been involved in a lawsuit
      10          A. No. Well, I mean, technically I do take          10   before this?
      11   care of my -- my husband's 94-year-old grandmother, if     11          A. No.
      12   you consider her an employer.                              12          Q. Have you ever been involved in any other
      13          Q. Do you receive any income?                       13   kind of legal proceeding, as a witness, or in any kind of
      14          A. I do. Yes.                                       14   hearing or proceeding?
      15          Q. What income do you receive?                      15          A. No.
      16          A. $12 an hour. And pre-COVID, I would get          16          Q. Have you ever been arrested?
      17   my kids on the bus in the morning. And then I would go     17          A. Yes.
      18   over to her house, take care of her, hang out with her,    18          Q. Okay. How many times have you been
      19   get her lunch, clean, do whatever she needed me to do.     19   arrested?
      20   And then I would be home by the time my kids got off the   20          A. I was arrested for DUI when I was in
      21   bus.                                                       21   Northeastern Junior College.
      22          Q. How much income have you received in total       22          Q. What year was that?
      23   from working and taking care of your mother-in-law --      23          A. That would have been 2003, 2004, maybe.
      24   right?                                                     24          Q. Is that the only time you've been arrested?
      25          A. No. My husband's grandmother.                    25          A. Yes.

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       1          Q. Were you convicted of a crime in connection        1   other job? And by "discipline," I mean a write-up or a
       2   with the DUI?                                                2   coaching or a counseling, anything like that?
       3          A. I -- I believe that outcome was -- sorry.          3         A. No.
       4   I'm trying to think. I went to Court and pled, I think,      4         Q. Other than Frontier and Cakeheads, have you
       5   no contest. So it will show as an arrest, but never a        5   ever had any attendance issues with any other employer?
       6   conviction.                                                  6         A. No. And, Danielle, hold on. My kids are
       7             And then there was one time -- I don't             7   knocking again.
       8   know actually if I was arrested or not. But when I was       8         Q. Sure.
       9   16, I didn't have a driver's license, and I stole my         9            MS. KITSON: Could we go off the record.
      10   parents' car. It was my mom's car. I stole it. I            10            THE VIDEOGRAPHER: Yeah, I was just going
      11   rear-ended somebody, and I left the scene. My dad turned    11   to ask if you wanted to. We're going off the record at
      12   me in to the police the next morning. And I wasn't like     12   8:44 a.m. GMT (sic) time.
      13   slapped with handcuffs or anything, but they let me go      13            (Recess from 8:44 a.m. to 8:44 a.m.)
      14   home with my parents. I don't know if that shows on my      14            THE VIDEOGRAPHER: We're going back on the
      15   record as an arrest or not.                                 15   record at 8:44 a.m.
      16          Q. And that was here in Colorado?                    16         Q. (By Ms. Kitson) Ms. Brigham, do you
      17          A. Yes.                                              17   understand that you're still under oath?
      18          Q. And in connection with the DUI, did you           18         A. Yes.
      19   have any kind of sentence or --                             19         Q. Let's talk about your employment history
      20          A. I had to do alcohol classes and pay, I            20   with Frontier.
      21   believe, a fine.                                            21            During your time at Frontier, who was your
      22          Q. Have you ever filed for bankruptcy?               22   supervisor -- your direct supervisor?
      23          A. No.                                               23         A. You're cutting out, kind of.
      24          Q. Other than Frontier, have you ever been           24         Q. Oh, I think my -- I had a little alarm go
      25   fired from a job?                                           25   off here or something. Let me ask that again.

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       1          A. Yes.                                               1           A. Okay.
       2          Q. Which jobs have you been fired from?               2           Q. Over your time at Frontier, who were your
       3          A. Cakeheads Bakery. There was like a                 3   direct supervisors?
       4   two-week stretch where my kids kept getting sick and I       4           A. At one point Jamie Shupernot (phonetic)
       5   kept getting sick. As I went back to work, and the kids      5   was a direct supervisor. Mitch -- I don't remember his
       6   were having to do daycare and school and stuff like that,    6   -- his last name. Stefanie Coppedge, and I think at one
       7   everybody kept getting sick.                                 7   point Kari Thompson.
       8             So there was like a two-week period where          8           Q. Anyone else?
       9   I had to call out quite a few times because of illnesses.    9           A. Not that I can think of.
      10   I didn't have any sick time built up. It was through the    10           Q. Over your time at Frontier, you were
      11   temp agency, and I had no options. So he got mad and        11   subject to several disciplinary actions because of
      12   fired me, and then called me back a week or two later and   12   attendance; is that correct?
      13   asked for me to come back. But at that point, I had         13           A. Correct.
      14   already started my career -- or my job with Great West      14           Q. And how many times?
      15   Painting & Repair.                                          15           A. You mean throughout my whole time at
      16          Q. So you worked for Cakeheads for four to           16   Frontier?
      17   five months; is that correct?                               17           Q. Yes.
      18          A. Yes.                                              18           A. I don't know. I would have to go back and
      19          Q. And then you were fired for attendance; is        19   count. Frontier's attendance policy changed a few times
      20   that correct?                                               20   throughout my career there. At one point, it got
      21          A. Yes.                                              21   switched over to a point system. So I -- I honestly
      22          Q. Other than Cakeheads and Frontier, have you       22   can't give you an accurate number of how many times.
      23   ever been fired from any other job?                         23           Q. Okay. I'm going to introduce an exhibit.
      24          A. No.                                               24   This will be Brigham Exhibit 16. And I believe that the
      25          Q. Have you ever received discipline at any          25   court reporter should have this exhibit and opposing

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      1   counsel as well. But in any event I'm going to share my               1           A. I would like to see the whole thing,
      2   screen with you, if that works.                                       2   please.
      3          A. Okay. That's fine.                                          3           Q. Mm-hmm. Yeah. Go ahead and read it, and
      4          Q. Ms. -- Ms. Brigham, I'm showing you Brigham                 4   let me know when you'd like me to scroll down. By the
      5   Exhibit 16 --                                                         5   way, these yellow highlights are mine.
      6          A. Mm-hmm.                                                     6           A. Okay.
      7          Q. -- which bears the Bates stamp                              7           Q. It's just where I'm going to be pointing
      8   FRONTIERAIRLINES(R.BRIGHAM)-0001115.                                  8   you to.
      9             Do you see that?                                            9           A. Right. So can I just point out something,
     10          A. No.                                                        10   where it says 4 sick instances in a rolling 12-month
     11          Q. In the lower right? Are you seeing my                      11   period?
     12   screen?                                                              12           Q. Sure.
     13          A. My screen is blocking it. Hold on.                         13           A. That's four times of being sick in a year,
     14             0001115?                                                   14   when you're working with the public, who are sick. And I
     15          Q. Yes. And this appears to be an Inflight                    15   just -- I will argue all day that Frontier's attendance
     16   Dependability Performance Counseling Record for                      16   policy was ridiculous. We even tried to strike over it.
     17   Rebecca Kruger, dated September 5th, 2007.                           17           Q. Let me stop you there, because I want to
     18             Do you see that?                                           18   make sure I understand this.
     19          A. Yes.                                                       19              So the company has a dependability
     20          Q. And is this a true and correct copy of a                   20   attendance policy, correct?
     21   final termination warning you received based on                      21           A. Correct.
     22   attendance?                                                          22           Q. And under the Collective Bargaining
     23          A. Probably. Attendance was a running joke                    23   Agreement, you have to follow that policy, correct?
     24   with the flight attendants, because everybody got                    24           A. Correct.
     25   warnings all the time because the dependability policy               25           Q. And over the time that you were employed
                                                                     Page 35                                                         Page 37
      1   was a joke.                                                           1   with Frontier, you don't have any reasons to dispute the
      2           Q. Well, let me ask you this: Do you have any                 2   accuracy of the coding of the points that you received,
      3   reason to dispute the accuracy of the attendance points               3   correct?
      4   that were assessed here that resulted in your final                   4         A. At the end, after I self-disclosed to the
      5   termination warning?                                                  5   company, I would argue a lot of those.
      6           A. I would have to look back through and                      6         Q. Well, let me -- let me clarify that,
      7   figure out if any of those should have been coded                     7   because I understand that you disagree with the company's
      8   differently. I mean, by seeing this, and I'm sure I                   8   policy; is that right?
      9   signed it, I mean, yes, this is probably accurate.                    9         A. Right.
     10           Q. I'll keep scrolling down here. The next                   10         Q. You think that it was not a good policy,
     11   document is a memo from Kari Thompson to Rebecca Kruger,             11   correct?
     12   dated August 23rd, 2007.                                             12         A. I mean, they're allowed to have whatever
     13              Do you see that?                                          13   policy they want. I'm just saying this does not show
     14           A. Yes.                                                      14   anything. Everybody had these type of sick things. It
     15           Q. Is that a true and correct copy of a memo                 15   was a running joke with the flight attendants. Oh, how
     16   that you received from Kari Thompson?                                16   many are you at? Oh, how many are you at?
     17           A. Sure.                                                     17         Q. Yeah.
     18           Q. I'm now showing you a memo from                           18         A. Yeah.
     19   Robert Mitchell, Inflight manager, to Rebecca Kruger,                19         Q. I understand. And I think that I really
     20   dated 17 November of 2008.                                           20   just want to understand. You know, setting aside the
     21              Do you see that?                                          21   document, there's a difference between saying, I was
     22           A. Yes.                                                      22   assessed these points, and I disagree with the policy,
     23           Q. Is this a true and correct copy of a memo                 23   because I don't think that this should be something that
     24   that you received regarding attendance infractions in                24   merits getting points; and I, at this point, was not
     25   2008?                                                                25   accurately assessed under the existing policy.

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      1             Do you follow me?                                           1   break? I hear my kids getting loud.
      2          A. I get it. So, yes, this was -- based on                     2          Q. Yes. Let me just look here. Can we go
      3   theirs, yes, I would agree with it. But when it gets                  3   about ten more minutes; do you think?
      4   later on after I self-disclosed to the company, I do not              4          A. Sure.
      5   agree with those ones.                                                5          Q. Okay. So you -- these absences were coded
      6          Q. Okay. Let me just stop sharing for a                        6   as sick, correct?
      7   minute, because I want you to set aside the document.                 7          A. Correct. When I would run out of my
      8          A. Okay.                                                       8   intermittent FMLA time, which was in a rolling calendar,
      9          Q. So let me ask you a little bit more about                   9   and I waited for days to drop off, yes, they would be
     10   that.                                                                10   coded as sick. I was not sick. I was adhering to my
     11             So during your time with Frontier, you did                 11   program, which Frontier requires that I do. Those should
     12   not agree with the dependability policy, correct?                    12   not have been coded as sick. Frontier had the ability to
     13          A. Correct. And along with a lot of other                     13   just remove that. Frontier had the ability to do
     14   people.                                                              14   multiple things, Danielle, and they decided not to do it.
     15          Q. During your time at Frontier, though, did                  15          Q. Okay. I think I get it now. So let
     16   you ever have any reason to dispute the accuracy of the              16   me -- let me try again.
     17   points that were assessed to you under the policy?                   17             So you have certain days where you called
     18             And by "accuracy," I mean that the policy                  18   out, and these were intermittent FMLA, correct?
     19   was followed.                                                        19          A. Correct.
     20          A. Explain.                                                   20          Q. And you had certain days where you called
     21          Q. So in 2015, the attendance points that you                 21   out, and you didn't have any intermittent FMLA left,
     22   accrued --                                                           22   correct?
     23          A. Right.                                                     23          A. Right. And I would still call in
     24          Q. -- do you have any reason to dispute that                  24   intermittent FMLA, but then later on, they'd be like, Oh,
     25   they were accrued correctly under the terms of the policy            25   by the way, you ran out of intermittent FMLA. This is
                                                                     Page 39                                                                  Page 41
      1   as written?                                                           1   coded as sick. You're getting a point. I should have
      2           A. I would dispute a bunch of them.                           2   never gotten that sick point. I should have not -- it
      3           Q. Okay. Tell me exactly why you dispute                      3   should not have even shown up as sick on my schedule, had
      4   them.                                                                 4   Frontier reasonably accommodated me.
      5           A. My FMLA coded days shouldn't -- I don't                    5         Q. Okay. So let me ask you this: So you had
      6   think should have been coded FMLA. They were having me                6   days when you called in intermittent FMLA, and it was
      7   use the Family Medical Leave Act to take over off my                  7   coded that way, correct?
      8   overnights. And when I would have my meetings with the                8         A. Yes, when I had intermittent FMLA days.
      9   company to try and figure out what else we could do --                9         Q. And you had days where, for whatever
     10   because I would run out of my intermittent FMLA time;                10   reason, you didn't have any intermittent FMLA left,
     11   therefore, I would get sick points.                                  11   correct?
     12              Those should not have been coded as sick.                 12         A. Correct, and I could not do overnights.
     13   I was not sick. I was trying to adhere to my program,                13   And I could not do overnights. It's not that I didn't
     14   which Frontier requires me to do. I completely disagree              14   want to do these trips, Danielle. I could not do
     15   with all of those points.                                            15   overnights in order to adhere to my program. Frontier
     16           Q. But you missed a day, and under the policy,               16   knew this. We had multiple meetings about this. I asked
     17   they were coded as sick.                                             17   multiple times for reasonable accommodations that they
     18              So, you disagree that they should have                    18   denied, denied, denied. And then give me sick points,
     19   been, but you missed a day, and they were coded as sick,             19   and then ultimately fired me for said sick points. It
     20   correct?                                                             20   was not fair, and I will argue that till the day I die.
     21           A. Coded as sick should not have happened had                21         Q. I -- I understand. I'm trying to
     22   they reasonably accommodated me.                                     22   understand your position. So we had days that were I --
     23           Q. Okay. So I -- I think we're going round                   23   IFMLA. We had days where you had run out, and they were
     24   and round. I want to make sure I clarify this. So --                 24   coded sick, correct?
     25           A. Okay. After this, can we take a little                    25              You don't agree with it --

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      1          A. Correct.                                         1    correctly under the policy -- strike that.
      2          Q. -- but they were coded sick, correct?            2              You mentioned that some of those should not
      3          A. Correct.                                         3    have been coded as sick, correct?
      4          Q. Okay. And then on at least one occasion,         4           A. Correct.
      5   you had neglected to mention that it was an intermittent   5           Q. Okay. And your belief as to why they
      6   FMLA day for timing, correct?                              6    shouldn't have been coded as sick is because you believe
      7          A. Correct. And if you're talking about that        7    they should have been excused under the ADA; is that
      8   final one when I forgot to send an email, the exact        8    correct?
      9   reason why I forgot to send that email is because they     9           A. Correct.
     10   had removed a trip from my schedule, which they had done 10            Q. And there's no other reason that you
     11   in the past, which is part of them driving me crazy on    11    believe they should have been excused? It's just that you
     12   purpose. They all of a sudden told me I couldn't do a     12    believe that you should have been accommodated under the
     13   turn at the end.                                          13    ADA; is that correct?
     14              So I was more worried about why can't I do     14           A. Correct.
     15   this turn than sending an email in. So I called my        15           Q. Okay. So the company coded the points
     16   Inflight manager, I talked to Stefanie, and she was like, 16    accurately, they just did not accommodate you in the way
     17   I don't know, you've always been allowed to do it before. 17    that you believe you should have been; is that right?
     18   Let me see. And I forgot to send the email within the     18           A. I feel like this is kind of a trick
     19   24 hours or whatever it was, because I was trying to      19    question. They did not code them correctly. I was not
     20   figure out why that turn was taken off of my schedule.    20    sick. I was following their rules for their
     21          Q. So you did not follow the call-out              21    self-disclosure policy, which stated I have to adhere to
     22   procedures that were required, correct?                   22    every aspect of my recovery, otherwise, I could be
     23          A. I did not send the email in time, no.           23    terminated from that one.
     24          Q. Okay. So you didn't -- okay. So getting         24              But then on the other hand, Danielle, I'm
     25   back to this, so we've got these categories: You called   25    going to be terminated if I don't do these overnights
                                                           Page 43                                                          Page 45
      1   in for intermittent FMLA, and those were coded under the    1   because of my sick points.
      2   dependability policy, not assessed points, correct?         2         Q. When you called in -- when you called in,
      3          A. Say that again.                                   3   you were calling in because you could not work due to a
      4          Q. Let me start over again.                          4   medical condition, which was alcoholism, correct?
      5              We've talked about the different type of         5         A. Correct.
      6   call-outs that you did. One was calling out under           6         Q. So the reason you were calling is that you
      7   intermittent FMLA, correct?                                 7   couldn't medically perform your job, correct?
      8          A. Correct, when I had intermittent FMLA to          8         A. Correct. Well, it's more like -- well, I
      9   cover those overnights.                                     9   guess as a general term, yes.
     10          Q. One was when you didn't have any                 10         Q. Okay. We got a little bit off track there.
     11   intermittent FMLA left, correct?                           11   So that -- that helps. Let's look back then at this
     12          A. Well, I would --                                 12   Exhibit 16 very quickly here.
     13          Q. There were some days where you called in,        13         A. Okay.
     14   and you didn't have any left, correct?                     14         Q. I just want to establish -- and -- and tell
     15          A. Correct. But I hadn't really known --            15   me -- hold on one second. I've got it up. I just want to
     16          Q. I'm not asking for the reason.                   16   make sure that you recognize each of these as an
     17          A. -- that at this time. Okay.                      17   attendance point that you actually did receive.
     18          Q. I'm not asking for the reason. I just want       18         A. Yes.
     19   to establish that.                                         19         Q. So there are several pages here. Tell me
     20          A. Okay.                                            20   when I can scroll.
     21          Q. And there was at least one time where you        21         A. Scroll.
     22   neglected to follow the required call-out procedures,      22         Q. Tell me if these are all true and accurate
     23   correct?                                                   23   copies of attendance points that you received while at
     24          A. Yes.                                             24   Frontier. Okay?
     25          Q. Okay. And all of those were coded                25         A. Okay. You can just scroll.

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      1          Q. Okay. All right. So I am looking at a               1   received this?
      2   December 29, 2008, memo from Robert Mitchell to you.          2          A. No, not at all.
      3              Do you see that?                                   3          Q. Okay. All right. Let me keep going. Let
      4          A. Yes.                                                4   me know if you need to stop at any point.
      5          Q. Is that a true and accurate copy of a memo          5          A. Okay.
      6   that you received at Frontier?                                6          Q. Okay. I'm at the end.
      7          A. I mean, I don't specifically remember               7            Are these documents all true and correct
      8   this, but I'm sure it is.                                     8   copies of documents that you received from Frontier?
      9          Q. Okay. I'm going to scroll down. I'm now             9          A. I believe so.
     10   looking at a February 16, 2009 Performance Counseling        10          Q. All right. I'm going to stop sharing my
     11   Record from Inflight to you.                                 11   screen. And then, did you want to take that break?
     12              Do you see that?                                  12          A. Yes, please.
     13          A. Yeah. The documented verbal warning?               13            MS. KITSON: Okay. We can go off the
     14          Q. Yeah. Is this a true and correct copy of a         14   record.
     15   counseling record that you received?                         15            THE REPORTER: Cole? Cole?
     16          A. I'm sure it is.                                    16            THE VIDEOGRAPHER: Yes. Give me one
     17          Q. I'm going to keep scrolling.                       17   second. We're going off the record at 9:04 a.m.
     18          A. All right.                                         18            (Recess from 9:04 a.m. to 9:16 a.m.)
     19          Q. And let me know if you need me to stop at          19            THE VIDEOGRAPHER: We are going back on
     20   any point. When I get to the end, I'm going to ask you if    20   the record at 9:16 a.m.
     21   these are all true and accurate copies of documents that     21          Q. (By Ms. Kitson) Ms. Brigham, do you
     22   you received while at Frontier.                              22   understand that you're still under oath?
     23              Okay?                                             23          A. Yeah.
     24          A. Okay.                                              24          Q. We talked a little bit before the break
     25          Q. I'm going to start scrolling. Let me know          25   about your work for other employers.
                                                             Page 47                                                        Page 49
      1   if you need me to stop.                                       1             I wanted to ask you if you've ever made a
      2          A. Okay. Can you stop for a second,                    2   request for accommodation of other employers other than
      3   Danielle.                                                     3   Frontier?
      4          Q. Yep, you bet.                                       4         A. No.
      5          A. Will you go up a little bit.                        5         Q. And how much money did you make with
      6          Q. Yeah.                                               6   Cake --
      7          A. Now, did any of these dates overlap? Did            7         A. Cakeheads?
      8   you look at that? Like, do I have dates that are on this      8         Q. Mm-hmm. Yes.
      9   one that are actually on the other ones too, or are they      9         A. I couldn't tell you without looking at my
     10   all just different days?                                     10   W-2s.
     11          Q. I -- these are just copies of attendance           11         Q. Ballpark?
     12   warnings that you received. So I don't know in terms of,     12         A. I don't even know if I can ballpark it for
     13   you know, what infractions are what. I just want to          13   you, Danielle.
     14   verify that these are true and correct copies of             14         Q. Less than $10,000?
     15   attendance points that you received.                         15         A. Yes.
     16          A. I don't know what UNA is on this one. And          16         Q. How about at Great West Painting?
     17   then that's a medical --                                     17         A. Maybe like $30,000 total.
     18          Q. Did you receive this attendance warning            18         Q. Okay.
     19   though?                                                      19         A. And that's just a guess.
     20          A. I mean, it looks like every other one that         20         Q. I'm going to show you your W-2s quickly
     21   I have received.                                             21   here.
     22          Q. Okay. Do you have any --                           22         A. Okay.
     23          A. I just don't know of any code -- I just            23         Q. And the reason I'm going to do that is
     24   don't know what the code UNA is.                             24   because it just shows your W-2 wages and not your gross
     25          Q. Do you have any reason to dispute that you         25   wages, and so I want to see if you --

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      1          A. The gross isn't on the W2?                        1   your husband's grandmother, did you have any other sources
      2          Q. It's says, W-2 reportable wages. So let me        2   of income since leaving Frontier?
      3   just show you really quick here. This will be Brigham       3         A. I -- a few weeks ago, I went and helped my
      4   Exhibit 4. It's little bit fuzzy on my screen. Let's        4   husband's friend -- my husband's friend on his farm. He
      5   see. I'm showing you bringing Exhibit 4, which is a 2016    5   owns a hops farm. And I helped him propagate like 3,000
      6   W-2 for Employbridge Southwest.                             6   hops plants. And I think he gave me like a $150, which
      7            Do you see that?                                   7   I'll claim come tax time.
      8          A. I do.                                             8         Q. $150, you said?
      9          Q. And is that the temp agency you worked for?       9         A. Yeah. It was like $158, I want to say.
     10          A. Yeah, I believe so.                              10         Q. Any other sources of income since you left
     11          Q. Was this the -- the engagement that you had      11   Frontier?
     12   with Cakeheads?                                            12         A. Nothing that -- actual income, no.
     13          A. Yes.                                             13         Q. Okay. Are you running a business right
     14          Q. And it shows here that your wages, tips,         14   now, an online business?
     15   and other compensation was $2,922.78.                      15         A. No.
     16            Do you see that?                                  16         Q. And I believe there was something we found
     17          A. Yes.                                             17   on social media about cups?
     18          Q. Was that your gross income, or was your          18         A. About what?
     19   gross income higher than that?                             19         Q. Cups or something along those lines that
     20          A. That was my gross income --                      20   you were --
     21          Q. Okay.                                            21         A. Oh, Recovery Hope Cups?
     22          A. -- for Cakeheads, yeah.                          22         Q. Yes.
     23          Q. Okay. Let me show you then the Brigham           23         A. That was -- so my best friend from high
     24   Exhibit 5.                                                 24   school reached out to me saying that she had a problem
     25            Are you seeing your 2017 W-2 for Great West       25   with alcohol. And we set up a GoFundMe for her to be

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      1   Painting & Repair?                                          1   able to afford treatment. So we got her into a treatment
      2          A. Yes.                                              2   center in Minnesota, and she was living with me after she
      3          Q. And is this a true and correct copy of your       3   got out. Just staying sober, I was helping her with
      4   W-2?                                                        4   that. And we were trying to figure out a way
      5          A. Yes.                                              5   to -- for her to make enough money to afford first and
      6          Q. And it shows that you earned wages, tips,         6   last months' rent on an apartment in Denver, so she could
      7   other comp of $15,550.05 for 2017, correct?                 7   move out of my house and be independent.
      8          A. It looks like it, yes.                            8              So we started this Facebook group of
      9          Q. Okay. And then I'll show you Exhibit 6.           9   Recovery Hope Cups, where we would make these
     10             Are you seeing your W-2 for Great West           10   fabric-covered tumblers, and people would donate money to
     11   Painting & Repair for 2018?                                11   her getting her apartment. But none of that was income
     12          A. Yes.                                             12   to me. And honestly, it sort of flopped on its face. We
     13          Q. And this -- in case I didn't state it            13   didn't -- we didn't even have that much interest, so...
     14   clearly for the record, this is Brigham Exhibit 6 that's   14           Q. So no dollars came directly to you from
     15   been supplied to the court reporter and opposing counsel. 15    Recovery Hope Cups?
     16   And it shows that your wages, tips, and other compensation 16           A. No. If anything, I think it might have
     17   was $7,295.                                                17   cost me money. And then at one point, I was making flour
     18             Do you see that?                                 18   arrangements out of wood flowers and trying to sell
     19          A. Yes.                                             19   those. I ended up probably $1,500 in the hole, because I
     20          Q. Was that your total compensation for 2018        20   still have all the flowers, and I don't do it anymore.
     21   from Great West Painting?                                  21              So I -- I mean, I have all these great
     22          A. Yes.                                             22   ideas where I'm going to make money crafting, but then it
     23          Q. Okay. I'll stop sharing my screen.               23   never pans out, and then it actually costs me money.
     24             Other than Cakeheads, Great West Painting,       24           Q. But you never received actual income
     25   and the income that you've received from taking care of    25   dollars from those?

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      1          A. No.                                                1   husband's.
      2          Q. Since leaving Frontier, will you describe          2          Q. And were you working full-time for
      3   for us what efforts you've make to find employment?          3   Great West?
      4          A. Basically, the Cakeheads, I found that.            4          A. I was working, I want to say, like
      5   And then immediately after that, I got hired by              5   30 hours-ish in the beginning when I was painting houses.
      6   Great West. I had -- I was collecting unemployment after     6   So basically I would get my kids on the bus, and then I
      7   Frontier wrongfully terminated me. And I had to              7   would go paint, and then I would have to be home by the
      8   apply -- I think it was three jobs a week. And I did         8   time my kids got off the bus.
      9   that, and then finally got hired by the temp agency, who     9          Q. After Great West, what efforts did you make
     10   hooked me up with Cakeheads.                                10   to find a job, if any?
     11              I don't have a bunch of schooling. I             11          A. Well, we moved to Michigan. I was still
     12   don't -- I mean, I was lucky to get the flight attendant    12   working for Great West doing all the paperwork and the
     13   job, and that was like my career. So for me to get a job    13   invoicing and stuff like that. Hold on. Doing all the
     14   that would actually pay anything over what my daycare       14   invoicing and stuff remotely. And then the company that
     15   costs would be would be difficult.                          15   we subcontracted with restructured. It was Tesla Energy
     16          Q. After you left Frontier, did you ever look        16   restructured their whole thing. So they no longer needed
     17   for any flight attendant position?                          17   us as subcontractors. So we dissolved the business as it
     18          A. No, I couldn't. I wish I could have. But          18   was.
     19   when you get hired on as a flight attendant, you start at   19          Q. What efforts after that did you make to
     20   the very bottom. And you're on what's called reserve,       20   find a job, if any?
     21   which is where you have to be on call pretty much 24/7.     21          A. There's not much around here that would
     22              With Frontier, it was you had 11 days off        22   pay me anything that would even come close to paying for
     23   in which they couldn't call you. They could                 23   daycare. So at that point -- and you have to understand,
     24   junior-assign you if you answered the phone. However, I     24   Danielle, we are in Goodrich, Michigan, which is a little
     25   couldn't go back to being on reserve again and still        25   one-stoplight town. We have, like, a Dollar General. We
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      1   maintain my sobriety. I just couldn't do it. I wish I        1   have a gas station called Beacon & Bridge. And nobody
      2   could.                                                       2   around here is really hiring. Even if I were to go to
      3          Q. But you didn't even try to look; is that           3   Flint, I still wouldn't be able to get anything even
      4   correct?                                                     4   remotely close to paying what I would have to pay in
      5          A. Because it wouldn't have worked out.               5   childcare.
      6          Q. All right. And what other fields did you           6           Q. How far is the airport from where you live?
      7   look at?                                                     7           A. About an hour and a half. Definitely over
      8          A. Admin-type of positions, which is what I           8   two hours, if there's traffic.
      9   ultimately got with Cakeheads and Great West. I was a        9           Q. And that's the closest airport?
     10   house painter at first with Great West, and then they       10           A. That's the main Detroit airport. There's
     11   switched me over to admin.                                  11   a Flint airport somewhere, but no carriers fly out of
     12          Q. What was your hourly rate at Frontier when        12   that that I'm aware of.
     13   you left?                                                   13           Q. Why did you move to Goodrich, Michigan?
     14          A. I want to say 32-something.                       14           A. Cost of living is a lot cheaper out here,
     15          Q. What was your hourly rate at Cakeheads?           15   and my husband's whole family is here.
     16          A. $12 an hour.                                      16           Q. So it wasn't to pursue a job opportunity
     17          Q. What was your hourly rate at Great West?          17   for your husband or anything. It was to be closer to
     18          A. I believe I was hired at $13 an hour, and         18   family and lower cost of living?
     19   then when I left there, I believe I was at 18.75.           19           A. Yes.
     20          Q. After you were fired from Cakeheads, you          20           Q. Okay. You mentioned that you did not apply
     21   got the Great West job a week after; is that right?         21   for flight attendants positions.
     22          A. Correct.                                          22              And that's because of your childcare,
     23          Q. And is Great West affiliated with your            23   correct?
     24   family in any way?                                          24           A. Correct. And to be honest, Danielle, I'm
     25          A. Yes. It's my dad's business and my                25   a bit terrified of getting another flight attendant job

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      1   after what happened with Frontier.                                    1          A. When we first dissolved the company, and
      2         Q. Is that part of the reason you did not                       2   we were sort of looking at childcare cost, and then, I
      3   apply for a flight attendant job?                                     3   just wanted to go on -- I went -- I think I did
      4         A. I'm sure it was part of it, yeah.                            4   like -- what's the website -- jobsdot.com or something,
      5         Q. So it's because of your experience with                      5   just to kind of see what was out there.
      6   Frontier and your childcare needs that you did not apply              6              And I actually -- now, it comes to memory,
      7   for a flight attendant job, correct?                                  7   I did go -- there was a position for like -- they made it
      8         A. It just wouldn't have worked. I mean, I                      8   sound like a media -- multimedia consultant, something or
      9   would have had to start -- if I could honestly keep my                9   another, and they made the job sound great. And I went
     10   eight-year seniority that I had with Frontier and just               10   to an interview. And it was -- you know the people that
     11   take that over to another airline, that would be easy. I             11   set up at, like, grocery stores and try to sell you those
     12   would have a schedule. I would be able to manipulate                 12   bamboo pillows or whatever? It actually ended up being
     13   that schedule. I could not go back on reserve.                       13   that. And it's all commission-based, and I'm not good at
     14         Q. And I think --                                              14   sales. I -- yeah. I --
     15         A. It would be impossible.                                     15          Q. Were you qualified for that job?
     16         Q. Yeah. And I think I understand. And I                       16          A. I -- I don't think there were -- I think
     17   just want to make sure I understand the reasons.                     17   anybody would qualify for that job.
     18             So --                                                      18          Q. And were you offered that job?
     19         A. Yeah.                                                       19          A. No, I was not. I did not pursue it after
     20         Q. -- one of reasons you didn't apply is                       20   I went to their little orientation and found out what it
     21   because of your experience with Frontier, correct?                   21   was, and that it was commission-based, and I wouldn't be
     22         A. Correct.                                                    22   able to afford daycare and work that job.
     23         Q. One of the reasons you didn't apply is,                     23          Q. Is it fair to say that there were positions
     24   because of your childcare situation, you would not in your           24   that you were qualified for that you did not apply for,
     25   view have been able to accommodate that childcare schedule           25   because, for whatever reason, you did not think it would
                                                                     Page 59                                                          Page 61
      1   with a flight attendant's work schedule at any new                    1   fit your childcare?
      2   airline; is that correct?                                             2          A. I wouldn't be able to make enough money to
      3          A. Correct.                                                    3   even afford childcare. It would have cost me money to
      4          Q. Okay. And are there any other reasons you                   4   work.
      5   did not apply for a flight attendant?                                 5          Q. Okay. And -- and that's why you didn't
      6          A. Not that I can think of right now. But if                   6   apply for anything?
      7   I think of something, I'll tell you.                                  7          A. Right. And then it ended up being a
      8          Q. Okay. So since you stopped working for                      8   blessing in disguise, because his grandmother fell ill,
      9   Great West Painting, you've not attempted to apply for                9   was in the hospital for about three weeks. And when she
     10   other jobs because of your childcare situation; is that              10   came out, she had major loss of motor skills, and I
     11   correct?                                                             11   happened to be the one that was able to take care of her.
     12          A. That, and there's nothing around me that I                 12   So that filled my -- all my needs right there.
     13   could do that would pay me nearly enough to even afford              13          Q. I wanted to -- and I'm sorry.
     14   daycare for my children.                                             14             You said after Great West, you looked on
     15          Q. Have you looked?                                           15   jobsdot.com?
     16          A. I have looked a few times about what is                    16          A. Mm-hmm.
     17   around me, and there's really almost nothing that I --               17          Q. When was the last time you looked on any
     18          Q. When have you looked?                                      18   kind of website or looked for a job at all?
     19          A. -- qualify for.                                            19          A. Pretty much I haven't. I work for Sean's
     20              THE REPORTER: I'm sorry. The question?                    20   grandma.
     21          A. When we first --                                           21          Q. And how many hours a week is that? I'm
     22              THE REPORTER: What was the question? It                   22   sorry.
     23   cut out.                                                             23          A. Right now, it's only about maybe six to
     24          Q. (By Ms. Kitson) When have you looked?                      24   eight hours a week because of COVID.
     25   Sorry. When have you looked?                                         25          Q. And before COVID, how many hours?

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      1         A. It just depended. It depended on like if                     1           A. That would have been in September of 2014.
      2   the kids were in school, like if they had a day off                   2           Q. When you disclosed to Frontier in September
      3   school, if my kids were sick. It varied. It was                       3   2014, you went out on a continuous leave of absence; is
      4   anywhere from 15 to 35 hours a week. It just depended on              4   that correct?
      5   the week.                                                             5           A. Correct.
      6         Q. How many hours on average were you flying                    6           Q. And Frontier approved that continuous leave
      7   for Frontier per week or --                                           7   of absence, correct?
      8         A. When -- that's -- so that's kind of a hard                   8           A. Correct.
      9   question. With them not reasonably accommodating me, I                9           Q. That was a leave of absence that was
     10   was working minimal hours. I got my power shut off. I                10   offered under the Collective Bargaining Agreement,
     11   wasn't able to make any money. So that's not really a                11   correct?
     12   true test to what I wanted to be working.                            12           A. I guess. I wouldn't know.
     13         Q. Well, regardless of that, how many actual                   13           Q. After that continuous leave of absence that
     14   hours on average were you flying with Frontier toward the            14   you took, did you ever apply or ask for any other form of
     15   end of your employment?                                              15   continuous leave of absence?
     16         A. I couldn't even tell you. My guess would                    16           A. No.
     17   be maybe 20, 30 hours a month max maybe, but I would have            17           Q. As opposed to you -- you know, let me ask
     18   to look at my schedule in front of me to be able to give             18   it again for the record.
     19   you an accurate...                                                   19              As opposed to intermittent FMLA work?
     20         Q. Okay. I want to talk to you a little bit                    20           A. No.
     21   now about your alcoholism.                                           21           Q. So you knew that a continuous leave of
     22         A. Mm-hmm.                                                     22   absence for medical was available, correct?
     23         Q. How long have you been an alcoholic?                        23           A. Correct.
     24         A. I mean, that's hard. I have -- since I                      24           Q. But you did not apply for one after your
     25   was a teenager, I have always liked alcohol. It was my               25   initial leave for rehab; is that correct?
                                                                     Page 63                                                           Page 65
      1   escape from reality. It was my best friend. And I've                  1          A. That is correct.
      2   always -- I was always sort of like a binge drinker,                  2          Q. And at some point, I think that you and
      3   where if I had 1, I had to have 20 more. And I was the                3   Jerry Arellano discussed the possibility of continuous
      4   life of the party. I was just a party girl, and it was                4   medical leave, but you decided you did not want to have
      5   all fine and dandy.                                                   5   one, correct?
      6              And then there was a major shift in my                     6          A. Correct. I needed money coming in. And
      7   drinking after my first daughter passed away. She -- she              7   had they accommodated me, I would have had that.
      8   passed away in 2009. And that's when my drinking                      8          Q. Your alcoholism -- let's say from
      9   switched from happy-go-lucky party to sort of drinking                9   September 2014 forward -- well, strike that.
     10   more out of sadness and to numb and -- yeah.                         10            How long were you in rehab in that
     11          Q. And let me ask it a different way.                         11   September 2014 era?
     12              When were you first diagnosed with                        12          A. 60 days.
     13   alcoholism?                                                          13          Q. After that 60 days, did you return to work?
     14          A. You don't really get diagnosed with                        14          A. I came back, and I tried to return to
     15   alcoholism. It's either you are or you're not. You're                15   work, and I had to meet certain criteria in order to come
     16   the only one that can decide really if you are an                    16   back. I had to meet with a DOT specialist, where -- I
     17   alcoholic or not. And the fact that I couldn't stop                  17   don't even know why I had to do half the stuff.
     18   drinking when I wanted to made me an alcoholic.                      18            But I had to meet with DOT. I had to get
     19          Q. When did you realize you were an alcoholic?                19   paperwork in. I had to -- I believe during that time,
     20          A. Probably shortly after my daughter passed.                 20   they decided that I needed to see a therapist, which I
     21          Q. When was the first time that you disclosed                 21   was seeing a therapist. There were a bunch of, like,
     22   to Frontier that you were an alcoholic?                              22   hoops I had to jump through to come back, which I did.
     23          A. When I needed to get treatment, and I had                  23            And I want to say in -- because I got back
     24   to have the time off of work.                                        24   November 7th, and all that was done within the first
     25          Q. When was that?                                             25   three weeks that I came back, I want to say. And it was

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      1   all sent in, but because Jerry Arellano had left the       1   while on the job at Frontier?
      2   company since I came back, my paperwork was kind of just 2            A. No. Luckily, I had never crossed that
      3   sitting there, and nobody was doing anything with it. So   3   boundary. Oh, and I feel like I need to qualify -- or
      4   it delayed me getting back to work.                        4   clarify. So never while on duty. However, on
      5              So finally after a bunch of phone calls, I      5   overnights, after you're done, it's -- it was just kind
      6   finally figured out that it was because Jerry had left my  6   of a culture where you would take off all your flight
      7   paperwork was just sitting there. And then eventually I    7   attendant gear, put on normal clothes, and go meet at the
      8   finally was able to come back.                             8   bar. Nine times out of ten, that's what you did.
      9          Q. Since you came back to the company --            9          Q. But it never impacted your ability to work
     10   strike that.                                              10   the next day, for instance; is that right?
     11              After you returned to the company, after       11          A. What do you mean?
     12   your rehab for 60 days, how has the alcoholism affected   12          Q. So let's -- let's take pre-September 5th,
     13   your ability to work?                                     13   2014.
     14          A. Explain that, please.                           14             You would drink in hotel bars on layovers,
     15          Q. Well, you came back to Frontier after           15   correct?
     16   rehab, correct?                                           16          A. Right.
     17          A. Correct.                                        17          Q. Was there ever a time that you could not
     18          Q. And then from that point to the end of your     18   fly because you were drunk or because of the aftereffects
     19   employment with Frontier, how did alcoholism affect your 19    of that?
     20   ability to work?                                          20          A. No, not while I was already on a trip at
     21          A. Well, basically, I was told it was a good       21   all. I mean, there were plenty of times that I flew
     22   idea to avoid overnights, and the reason for that is      22   pretty hung over, but never intoxicated.
     23   because there's really no accountability. And it's an     23          Q. So is it fair to say that your alcoholism
     24   environment that I was so used to drinking in. You're     24   did not prevent you from working before September 5th,
     25   supposed to avoid what are called triggers. And you're    25   2014? Is that fair?
                                                          Page 67                                                          Page 69
      1   supposed to basically, they say, change your playground,   1          A. Kind of. There were plenty of times, like
      2   which is what I was doing. And I needed Frontier's help    2   if I had gone on a bender, I remember a few times that I
      3   to do it.                                                  3   would have to call in sick, because I was too hung over
      4          Q. When was the last time you had a drink?          4   or too shaky to do my job.
      5          A. My sobriety date is September 5th of 2014.       5          Q. But, in general, you were able to keep your
      6   I got some treatment September 7th of 2014. When I got     6   job?
      7   the scholarship, it was on September 4th, and I had been   7          A. Correct.
      8   drinking that day and told the guy on the phone that I     8          Q. You were able to meet --
      9   would dump out what I had, and they put me on a plane on 9            A. Yes.
     10   the 7th.                                                  10          Q. -- the attendance requirements?
     11          Q. What scholarship are you referring to?          11          A. Yes.
     12          A. I got, like, a scholarship to go to a           12          Q. So prior to September 5th, 2014, you were
     13   treatment center. We wouldn't have been able to afford    13   able to work in general, correct?
     14   it. And I just called the right person -- I called a      14          A. Yes.
     15   bunch of people that day, just trying to figure out where 15          Q. Since September -- sorry.
     16   I could go get treatment. And I happened to get on the    16             Since September 5th, 2014, alcoholism has
     17   phone with the right person, and I got a -- what they     17   not impacted your ability to live your life, correct?
     18   call a scholarship. It cost me $100 to do my whole        18          A. Since 2014?
     19   treatment.                                                19          Q. Yes.
     20          Q. So since September 5th, 2014, you have not      20          A. Yes. Yes.
     21   had a drink, correct?                                     21          Q. And let me ask that question again just so
     22          A. No. Correct.                                    22   the record is clear.
     23          Q. Your alcoholism has been under control?         23             Since September 5th, 2014, alcoholism has
     24          A. Correct.                                        24   not impacted your ability to live your life, correct?
     25          Q. Before that, did you ever have a drink          25          A. I mean, you sort of have to clarify that.

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      1   My recovery is part of my life now.                         1   the end of your employment.
      2          Q. Right. So since September 5th, 2014,              2          A. Okay. I asked to work at the general
      3   you've been able to live your life, correct?                3   office for a little while, since my attendance was so
      4          A. Correct.                                          4   bad, and it kept getting worse the more my -- basically,
      5          Q. You've been able to care for your husband's       5   my seniority would go down, because they opened an
      6   grandmother, correct?                                       6   Orlando base. So I was not able to hold the kind of
      7          A. Correct.                                          7   trips that I needed to maintain my sobriety.
      8          Q. You've been able to care for your kids,           8              I had asked to maybe work at the GO, which
      9   correct?                                                    9   is what they let people do when they're injured on the
     10          A. Correct.                                         10   job. I asked to start off with a blank schedule to be
     11          Q. You've been able to work, correct?               11   able to create my own schedule out of open time and the
     12          A. Correct.                                         12   TradeBoard, which is pretty much what's leftover after
     13          Q. Is there any area of your life that the          13   they run a schedule. But that would take Frontier
     14   alcoholism has impacted you in terms of your ability to    14   starting me out with a blank schedule. It was not
     15   live a daily life?                                         15   something that I could have just done without their help.
     16          A. After I got sober, we're still talking,          16          Q. What other accommodations did you request,
     17   correct?                                                   17   if any?
     18          Q. Correct.                                         18          A. I requested they just remove the
     19          A. Yes. It's just different now. My life is         19   overnights from my schedule, which they had done a few
     20   better since getting sober.                                20   times prior. When I needed to, they had just removed
     21          Q. So there's no area of your life where it's       21   them and said, We'll do it this one time, but we can't do
     22   impacting your ability to function; is that correct?       22   it forever. I mean -- yeah. I had multiple meetings
     23          A. Not currently, but that could change             23   with them trying to figure out what we could do in order
     24   tomorrow, Danielle. That's why I continue to work my       24   to get this to work.
     25   program. Something could happen, and tomorrow is not       25          Q. What other accommodations did you request,
                                                           Page 71                                                          Page 73
      1   guaranteed for me to be sober. I can just take it one       1   if any?
      2   day, one minute, at a time. Anything could change.          2          A. That's all can I think of. Those were the
      3          Q. Okay. I understand that.                          3   major ones.
      4              So --                                            4          Q. And you did request an accomodation in the
      5          A. So far, it hasn't impacted anything.              5   form of a continuous medical leave at the beginning for
      6          Q. Okay. Yeah. So let me just clarify for            6   the reentry --
      7   the record.                                                 7          A. At the beginning.
      8              So anything could change at any moment,          8          Q. -- and that was -- that was granted,
      9   right?                                                      9   correct?
     10          A. Right.                                           10          A. Correct.
     11          Q. But from September 5th, 2014 to the              11          Q. At some point, you talked to the folks at
     12   present, alcoholism has not impacted any of your major     12   Frontier about applying for open positions; is that
     13   life activities; is that right?                            13   correct?
     14          A. Correct.                                         14          A. They had suggested it, and I looked into
     15          Q. From September 5th, 2014 to the                  15   it and figured out that, after 90 days, you're seniority.
     16   present -- strike that.                                    16   And if you can't go back to inflight flight attendant,
     17              From September 5th, 2014 to the end of your     17   which was what I wanted to do for pretty much the rest of
     18   employment at Frontier, you were always able to perform    18   my career, you can't do it after 90 days. You would have
     19   the essential functions of your job while on duty,         19   to start all over from the bottom, which we discussed
     20   correct?                                                   20   earlier that was impossible for me to do.
     21          A. Correct.                                         21          Q. Which you didn't want to do, correct?
     22          Q. Okay. I want to talk to you now about what       22          A. Correct.
     23   accommodations you requested from Frontier.                23          Q. Okay. So open positions, and applying for
     24              So tell me about the accommodations that        24   open positions, is an accommodation that was offered to
     25   you requested from Frontier from September 5th, 2014 to    25   you, but you decided not to apply; is that right?

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      1          A. It was not an accommodation. It was             1                    So I have that you discussed with the
      2   something that was available for everybody. Anybody       2         company a potential light-duty assignment in the general
      3   could have transferred within the company. That was not 3           office; is that correct?
      4   an accommodation for just me.                             4                A. Correct.
      5          Q. Are you aware that Frontier provides            5                Q. And you would have taken that on an
      6   preferential hiring for anyone who needs an accommodation 6         intermittent basis. So whenever you had a layover that
      7   under the Americans with Disabilities Act for positions   7         involved an overnight, your idea was that you would drop
      8   for which they're minimally qualified?                    8         that trip and work at the general office.
      9          A. They never told me anything about that.         9                    Do I have that correct?
     10          Q. You did not know that at the time?             10                A. That was one. The other one was just put
     11          A. No.                                            11         me as a GO for a while so that I don't have to do
     12          Q. Did you ask?                                   12         overnights, until I can get further along in my recovery
     13          A. I asked multiple times what could be done      13         where my therapist suggested, Hey, I think you're okay to
     14   to help me in this situation. I was never aware of       14         do overnights now. I think you're at a place in your
     15   whatever you're talking about. They never mentioned      15         recovery when you would be okay. That's all we were
     16   anything to me. All they said was that they could not    16         waiting for.
     17   help me.                                                 17                Q. So then there's two different things there,
     18          Q. We -- strike that.                             18         and I'm breaking that out.
     19             I have listened to the recordings that you     19                    So number one, you wanted potentially to be
     20   provided --                                              20         in a temporary position in the general office full-time
     21          A. Mm-hmm.                                        21         indefinitely; is that correct?
     22          Q. -- in the course of discovery in this case.    22                A. Not indefinitely. Temporarily, until I
     23          A. Mm-hmm.                                        23         got to a point in my recovery when I could pick up the
     24          Q. Are you familiar with those recordings?        24         overnights again.
     25          A. Yes, I am.                                     25                Q. But you didn't have an exact end date for
                                                               Page 75                                                                    Page 77
      1          Q. Okay. Did you tape those recordings?                  1   when that would be, correct?
      2          A. I did.                                                2            A. No. It was open-ended, and that was
      3          Q. On those recordings, I heard you speaking             3   pretty much up to my therapist, when she thought I was
      4   about open positions with Frontier representatives.             4   ready, and when I felt I was ready.
      5              Is that your recollection as well?                   5            Q. Which could have been a year, or maybe
      6          A. Correct.                                              6   never.
      7          Q. Did you speak with them about open                    7               You don't -- you didn't know, right?
      8   positions?                                                      8            A. We were getting a lot further along in my
      9          A. Correct.                                              9   recovery, and it would have been pretty soon after.
     10          Q. Who --                                               10   However, with all the stuff that Frontier put me through
     11          A. It was mentioned to me that I could                  11   and everything that was going on, honestly, that set back
     12   transfer within the company, that that was an option.          12   my recovery quite a bit. So it was just making the
     13   And at one point, I even looked into it, and I saw a           13   problem worse.
     14   bunch of jobs that really I didn't qualify for. They           14            Q. And the question I have for you,
     15   were like statistics, ops, stuff like that that I didn't       15   Ms. Brigham, is you did not know exactly when you would be
     16   qualify for. And then I found out from another flight          16   able to fly overnights again, correct?
     17   attendant that you don't want to do that if you want to        17            A. Correct.
     18   go back to inflight.                                           18            Q. It was open-ended, correct?
     19          Q. So transfer was an option, but it was not            19            A. Open-ended, but ended. It's -- it would
     20   attractive to you because of loss of seniority and             20   never have been indefinitely.
     21   inability to transfer back.                                    21            Q. But you didn't know when, correct?
     22              Do I have that correct?                             22            A. Correct.
     23          A. Correct.                                             23            Q. And the other option that you had discussed
     24          Q. Let's go back to the general                         24   with Frontier is this intermittent concept, where whenever
     25   office -- well, strike that.                                   25   you couldn't fly a layover, you would then work in the

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      1   general office, drop that layover intermittently, correct?    1   period -- at the end, there's what we call open time and
      2           A. Jerry at one point had suggested that I            2   TradeBoard, which are the leftovers that nobody wants
      3   was basically trying to use the system to not work, which     3   that a reserve is going to have to fly or that other
      4   I was trying to show him, That's not the case, Jerry.         4   people can swap and trade their trips out with.
      5   The case is I want to be at work. I need to make money        5              What I was asking to do was just be left
      6   for my family. Send me to the GO. He thought I was just       6   with nothing. It would not have gone above seniority.
      7   calling out for the overnights, because, oh, I just           7   It would not have violated anything in the CBA. Leave me
      8   didn't want to work on the weekend. The reality of it         8   with nothing. And I -- it will be my responsibility to
      9   was I wanted to work. I was terrified to do layovers.         9   build my schedule up to 60 hours, which was the
     10           Q. I understand. I'm just trying to make sure        10   requirement, out of stuff that was left over and the
     11   I understand the -- the exact accommodations that you        11   stuff that nobody wanted.
     12   requested.                                                   12          Q. Tell me a little bit more about how the
     13           A. Okay.                                             13   bidding process work.
     14           Q. Are you with me?                                  14              So every month you bid, correct?
     15           A. One was intermittently. If -- if they             15          A. Mm-hmm.
     16   needed me at the GO, and I had called out, sure, I'll        16          Q. And every month, if you are an active
     17   come work. That was to prove to Jerry that I'm not just      17   employee, you have to bid, correct?
     18   trying to get out of work just -- which he insinuated        18          A. Correct.
     19   multiple times that that's what I was trying to do. And      19          Q. And if you don't bid, the CBA provides that
     20   it's just inaccurate.                                        20   you are given a line, correct?
     21               And I said I'll come work at the GO. I'll        21          A. Correct.
     22   do whatever you want me to do except overnights.             22          Q. And a line is a --
     23   Temporarily reassign me. Reassign me the whole time at       23          A. I mean, so you would bid for reserve if
     24   the GO. I was willing to do whatever I could to try and      24   you wanted, which then you'd have a reserve schedule.
     25   make this work.                                              25          Q. And describe for us, what is a reserve
                                                            Page 79                                                           Page 81
      1          Q. So you were requesting the accommodation of         1   schedule?
      2   when you had an overnight trip, you would call out for        2          A. Basically, it's the days that you are on
      3   that and instead work in the general office, correct?         3   call.
      4          A. Correct.                                            4          Q. So you're basically just on call until
      5          Q. And not be assessed any attendance points,          5   you get --
      6   correct?                                                      6          A. 24/7.
      7          A. Correct.                                            7          Q. Until you get up to 60 hours?
      8          Q. And be paid, correct?                               8          A. No. You're on call -- the days that
      9          A. Correct.                                            9   you're on call, you're on call. It doesn't matter how
     10          Q. Are you aware of anyone else who was given         10   many hours you work. You're guaranteed to be paid for
     11   that accommodation?                                          11   75, I believe, whether you fly them or you fly over. Of
     12          A. Yes. Lots of people, after they were               12   course, they're going to pay you over. But, yeah, you're
     13   injured on the job, would go work at the GO.                 13   on call 24/7 except for 11 days that you have off in the
     14          Q. Are you aware of anyone who was allowed to         14   month.
     15   do that outside the context of an injury on the job?         15          Q. Okay. So at the beginning of the
     16          A. No.                                                16   month -- strike that.
     17          Q. In terms of the blank schedule, describe           17              So every month, as an active flight
     18   for me exactly what you requested.                           18   attendant, you have to bid, correct?
     19             How would that work?                               19          A. Correct. And even if you don't bid,
     20          A. So basically -- okay. When -- every                20   they're going to give you what's left over after
     21   month, a flight attendant has to bid their preferred         21   everybody else anyway.
     22   schedule, and it goes by seniority. So basically, I was      22          Q. So if you don't bid, you get an automated
     23   asking to not be awarded a schedule at all. Leave me         23   line that is given to you, correct?
     24   with nothing. Leave me with nothing. Leave me with a         24          A. Correct.
     25   blank schedule, and then at the end of the bidding           25          Q. And you also have the option of bidding

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      1   reserve, correct?                                             1    60.
      2          A. Correct.                                            2           Q. Let's go ahead and look at the Collective
      3          Q. And if you bid reserve, the only                    3    Bargaining Agreement then.
      4   requirement is you just have to fly any time they ask you,    4           A. Is this the one that was current when I
      5   correct?                                                      5    was there?
      6          A. Correct.                                            6           Q. Yes. I am going to show you what's been
      7          Q. Okay. Were there any other options for              7    marked as Brigham Exhibit 1. Brigham Exhibit 1 is a
      8   bidding other than what you've just described?                8    document entitled -- entitled Association of Flight
      9          A. No, not that I can remember.                        9    Attendants-CWA, AFL-CIO.
     10          Q. Now, once you have a line assigned to you          10             Do you see that?
     11   through the bidding process, you can begin swapping,         11           A. Okay. Yes.
     12   dropping, trading, picking up trips on overtime; is that     12           Q. And if I scroll down here, it says,
     13   correct?                                                     13    Frontier Airlines Flight Attendant Contract, 2011 to 2016.
     14          A. Open time.                                         14             Do you see that?
     15          Q. Open time. Sorry.                                  15           A. Correct.
     16          A. Yes. As soon as it opens -- you're fine.           16           Q. And the Bates number begins with
     17             As soon as it opens, I believe it was the          17    FRONTIERAIRLINES(R.BRIGHAM)- 815.
     18   18th or the 19th. I can't -- it's been five years, I         18             Do you see that?
     19   can't remember the exact date.                               19           A. Yeah. I've got to move my screen. Hold
     20          Q. Okay. And -- and I'll show you the                 20    on. Yes, I see that.
     21   Collective Bargaining Agreement a little bit later. I        21           Q. Okay. And this is a copy of the Collective
     22   just want to get a general sense of what your                22    Bargaining Agreement that was in place during the time
     23   understanding is. So let me make sure I'm following you.     23    that you were a flight attendant with Frontier, correct?
     24             So every month, you have to bid, correct?          24           A. If that's what it says, correct.
     25          A. Correct.                                           25           Q. All right. I'm just going to try to search
                                                             Page 83                                                                        Page 85
      1          Q. And every month, unless you bid reserve,            1   here for 45 to get us quickly to where the language is, if
      2   you're assigned a line, correct?                              2   I can There was a 45 in here
      3          A. Correct.                                            3          A    A bad number
      4          Q. That line is at least 60 hours, correct?            4          Q    Yeah Here we go Okay So I'm looking
      5          A. Correct.                                            5   at Section L, Open Time, Minimum Credit Requirements
      6          Q. At some point in the month, then, you can           6              Do you see that?
      7   begin to swap, drop, and trade on a TradeBoard and open       7          A    Yep
      8   time, correct?                                                8          Q    And in the lower right-hand corner, just
      9          A. Correct.                                            9   for the record, we're at FRONTIERAIRLINES(R BRIGHAM)- 869
     10          Q. During that process, is it true that you're        10              Are you with me?
     11   never allowed to drop below 45 hours --                      11          A    Yep
     12          A. I thought --                                       12          Q    And if you scroll up, it says, number 1, At
     13          Q. -- for each --                                     13   the completion of each bid period, each flight attendant
     14             THE REPORTER: I'm sorry.                           14   must accumulate a minimum of 60 credit hours
     15          A. I thought it was 60.                               15              Do you see that?
     16             THE REPORTER: Can I have the question              16          A    Yep
     17   again, please. The overlap.                                  17          Q    Is that correct?
     18          Q. (By Ms. Kitson) Yeah. In the process of            18          A    Yes
     19   trading, dropping, swapping, you're allowed to drop down     19          Q    Okay It says, At no time will a flight
     20   to 45, but you have to get back up to 60 by the end of the   20   attendant be allowed to drop below 45 credit hours
     21   process, correct?                                            21              Do you see that?
     22          A. I don't remember anything about the 45.            22          A    Yep
     23   But who knows? That was five years ago.                      23          Q    Does that refresh your recollection that in
     24          Q. All right.                                         24   the trade/swap/drop process, you were never allowed to go
     25          A. I thought it was you couldn't drop below           25   below 45 in that process, correct?

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      1          A. I don't ever remember the 45 hours, to be         1   through this process; is that right?
      2   honest, Danielle. I thought it was you can't drop below     2            A. No. No.
      3   60.                                                         3            Q. Okay.
      4          Q. Do you have any reason to dispute that this       4            A. Just leave me with nothing. Don't even
      5   was the rule?                                               5   put me on the award. It would be very easy for them to
      6          A. No, I don't. I just don't remember the            6   just leave me off of the bidding. And then add me back
      7   45.                                                         7   on before TradeBoard opens, as if I was coming back from
      8          Q. But you know for sure that you weren't            8   leave.
      9   allowed to drop your own schedule, right?                   9            Q. All right. So then let me ask you this:
     10          A. Yes, for sure, unless it would be a              10   The accommodation you were seeking then was to not bid at
     11   reasonable accommodation.                                  11   all and to be let in to open time after bidding was over.
     12          Q. Got it. So the Collective Bargaining             12               Do I have that right?
     13   Agreement did not allow you to do that.                    13            A. Leave me with a blank schedule, yes.
     14              You wanted it as an accommodation, correct?     14            Q. Okay. So in your accommodation example,
     15          A. I spoke with the union, Danielle, and the        15   you would not bid; is that right?
     16   union said that it was acceptable. Frontier said they      16            A. Correct.
     17   couldn't do it, because they would have the union          17            Q. And you would not have to hold 45 hours; is
     18   breathing down my -- their necks.                          18   that correct?
     19              So I went to the --                             19            A. Correct.
     20          Q. So let me --                                     20            Q. And your idea was that you would build your
     21          A. No, no, no, let me finish. I went to the         21   own 60 hours out of open time, correct?
     22   union. I had union permission. Frontier knew that, and     22            A. Correct, all the leftover stuff that
     23   they still said no. They're whole reason for saying no     23   people did not want.
     24   is because they were worried about the union. They had     24            Q. And open time was first come, first serve,
     25   union permission to do it.                                 25   correct?

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      1          Q. Okay. That wasn't my question. My                 1          A. Correct.
      2   question is, this is something that wasn't permitted by     2          Q. And in your accommodation request, were you
      3   the Collective Bargaining Agreement?                        3   envisioning that you would be the first one to pick up
      4             Now, you're saying that you then later went       4   those flights?
      5   to the union and sought permission for an exception,        5          A. Nope, not at all. I -- I would go in at
      6   correct?                                                    6   the same time; first come, first serve.
      7          A. Yes. Correct.                                     7          Q. All right. I want to go through in pretty
      8          Q. Okay. So let's ask that in pieces then.           8   great detail your conversations with the union about this.
      9             What you wanted to do in dropping your            9             So when was the first time that you --
     10   entire schedule was not permitted by the terms of the      10             MR. CRONE: Danielle, can I cut in? I'm
     11   Collective Bargaining Agreement, correct?                  11   sorry. I just heard you want to go into great detail on
     12          A. As it's stated right there, correct.             12   this. We've been going almost an hour.
     13          Q. You sought permission from the union,            13             Is there any way we can do a break
     14   correct?                                                   14   relatively soon?
     15          A. Correct.                                         15             MS. KITSON: Absolutely. So --
     16          Q. Okay. And what makes you think that the          16             THE DEPONENT: Plus my kids are getting
     17   union gave you permission to do that, as you put it?       17   loud.
     18          A. From my conversations with                       18             MS. KITSON: What was that?
     19   Adrienne Prince. We sat in that last meeting, where she    19             THE DEPONENT: Plus my kids are getting
     20   told Frontier that it would not violate the contract at    20   loud.
     21   all.                                                       21             MS. KITSON: Oh. Yeah, no, we can break
     22          Q. Okay. Let me first understand exactly what       22   at any time. I mean, I -- I'll just say, you know, I
     23   you were proposing. So -- I want to make sure I            23   definitely am going to be using the full seven record
     24   understand it.                                             24   hours. So just keep that in mind.
     25             So you were proposing that you would go          25             THE DEPONENT: That's fine.

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      1              MS. KITSON: But I -- yeah, that's totally                1             MS. KITSON: And -- and, John, I'm making
      2   fine.                                                               2   a record. So here's what I'm going to ask her. You
      3              Do you want to go off the record now?                    3   instruct her not to answer. And then I'll ask her if
      4              MR. CRONE: Yeah, that's -- that's fine.                  4   she's going to adhere to the instruction. And I'll have
      5   I just -- it just seemed like a natural stopping point              5   a record.
      6   before you kind of, you know, jump into the next                    6             MR. CRONE: I -- I don't know exactly what
      7   topic area. So if we could do ten minutes now, that                 7   you're doing. I -- you asked the question. I'm
      8   would be great.                                                     8   objecting.
      9              MS. KITSON: Okay.                                        9             Don't answer.
     10              THE VIDEOGRAPHER: We are going off the                  10             MS. KITSON: Right. That's what I'm
     11   record at 10:08 a.m.                                               11   trying to get is a clear record.
     12              (Recess from 10:08 a.m. to 10:23 a.m.)                  12          Q. (By Ms. Kitson) Ms. Brigham, I'm asking
     13              THE VIDEOGRAPHER: We're going back on the               13   you, so the record is clear, what is the contingency fee
     14   record at 10:23 a.m.                                               14   arrangement that you have with your counsel in terms of
     15           Q. (By Ms. Kitson) Ms. Brigham, do you                     15   the percentage that he will get if you were to win?
     16   understand that you're still under oath?                           16             MR. CRONE: Objection, attorney-client
     17           A. Yes.                                                    17   privilege.
     18           Q. I want to circle back -- before we dive in              18             Don't answer.
     19   on your conversations with the union, I want to circle             19          Q. (By Ms. Kitson) Are you following your
     20   back to a couple of follow-up items from earlier this              20   counsel's instruction --
     21   morning.                                                           21          A. Of course.
     22              The first one being, what is your attorney              22          Q. -- not to answer the question?
     23   fee arrangement, your contingency arrangement, with your           23          A. Of course.
     24   counsel?                                                           24             MS. KITSON: Okay. I am going to hold
     25              MR. CRONE: So, Danielle, I'm -- I'm going               25   this deposition open. I am going to take this to the
                                                                   Page 91                                                          Page 93
      1   to lodge the same objection on the basis of                         1   judge on a discovery dispute. I believe that you're
      2   attorney-client privilege. I -- I've reviewed the case              2   wrong, Mr. Crone. So we can talk offline about having
      3   that you cited me to. It doesn't stand for the                      3   the discovery dispute hearing set up.
      4   proposition you say it does. In that case, the Court                4              So --
      5   protected the contents of the representation agreement,             5              MR. CRONE: Yeah. And let -- and let
      6   because, while theoretically perhaps broadly discoverable           6   me -- let me just -- let me complete the record on this,
      7   in that sense, the party had not put the document at                7   Danielle, because maybe over the lunch we can resolve
      8   issue in any way. In other words, it wasn't relevant to             8   this.
      9   any of the claims or defenses, and -- and the document,             9              So the case that you cited to me says --
     10   of course, would have included certain information that            10   says exactly this, The privileged information in this
     11   was absolutely privileged. That's exactly what we're               11   document -- that's referring to the engagement
     12   dealing with here.                                                 12   agreement -- does not, however, contain information that,
     13             And --                                                   13   through one of the parties' affirmative acts, that party
     14             MS. KITSON: Okay. Let me just make a                     14   put the protected information at issue by making it
     15   record then.                                                       15   relevant to the case. In other words, the privileged
     16          Q. (By Ms. Kitson) So, Ms. Brigham, you're                  16   information contained in the engagement letter does not
     17   seeking attorney's fees in this case, correct?                     17   relate to the claims that the party intentionally
     18          A. Correct.                                                 18   asserted against the other party and -- and another
     19          Q. And you're seeking an award of attorney's                19   party, for breach of fiduciary duty, and whatever --
     20   fees, correct?                                                     20   the -- and the defense on statute of limitations.
     21          A. Correct.                                                 21              So here, this is exactly -- exactly the
     22          Q. What is your attorney fee arrange with your              22   same issue. The -- the -- the terms of the
     23   counsel? You mentioned that it's a contingency basis.              23   representation, including the terms of the contingency
     24             What is the percentage --                                24   itself, are not relevant to any claims or defenses here.
     25             MR. CRONE: Objection.                                    25   And so that's --

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      1            MS. KITSON: I --                                  1      You can trade a three-day for a three-day. Unless the
      2            MR. CRONE: -- my point. I just want to            2      reserve grid is in the green, you can get rid of that
      3   make --                                                    3      whole trip and then pick up turns. But if the reserve
      4              MS. KITSON: I don't -- I don't want to          4      grid is in the red, you can't do almost anything besides
      5   take time debating it on the record. We can talk -- you    5      day for day.
      6   and I can talk about it over lunch.                        6             Q. Yeah. I think maybe I'm not understanding
      7              MR. CRONE: Look, you made your record;          7      you. Because you're saying on the one hand that there
      8   I'm making mine. Okay? And so to the extent that I'm       8      were just a ton of these turns, you know, plenty, a
      9   being helpful in resolving this, instead of holding the    9      plethora of turns, and those were the ones you wanted, but
     10   deposition open, that's what I'm doing.                   10      that you still weren't able to make it work. That's where
     11              MS. KITSON: Okay.                              11      I'm disconnecting.
     12              MR. CRONE: Now, I'm done. Thank you.           12             A. Correct. So open time and TradeBoard
     13           Q. (By Ms. Kitson) Okay. Ms. Brigham, let's       13      works differently. Open time is tied to the reserve
     14   circle back to the discussion we were having about open 14        grid. If the reserve grid is in the red, it means they
     15   time.                                                     15      don't have enough employees to cover what's in open time.
     16              So, in general, what are the types of trips    16      So, therefore, you can't do much with swapping out.
     17   that flight attendants would tend to drop? I mean, it     17                 At the time, when -- the reason all this
     18   seems to me that they would be tending to drop overnights 18      was so bad is because we were short in Denver. Frontier
     19   and layovers.                                             19      was shorthanded in Denver. They did not have enough
     20              I mean, doesn't most -- don't most flight      20      reserves to cover the trips.
     21   attendants want to come home at night?                    21             Q. Okay. So --
     22           A. No, that's actually -- most trips that are     22             A. It would have -- it would have taken
     23   on the TradeBoard are victory laps, which is the turn     23      Frontier leaving me with nothing in order for me to do
     24   that is after your whole, let's say, three- or four-day   24      what I wanted to do. I can't start with a schedule and
     25   trip. Most people want to be done when they first fly     25      swap. I tried multiple times every month. It was just
                                                             Page 95                                                          Page 97
      1   into Denver. They don't want to do Salt Lake City and         1   nearly impossible.
      2   then back to Denver. There were so many turns on the          2          Q. Okay. Nearly impossible for you to pick up
      3   TradeBoard that people were trying to get rid of, so they     3   enough of these turns that you wanted under the regular
      4   wouldn't have to fly.                                         4   Collective Bargaining Agreement rules, correct?
      5          Q. Did you ever look to see if you actually            5          A. No. You're putting words in my mouth. To
      6   could build a schedule of 60 hours with no overnights at      6   swap. You can't swap a four-day for four turns in open
      7   all?                                                          7   time, because they're not -- it's not set up the way
      8          A. I tried every month.                                8   the -- the reserve grid is.
      9          Q. And you were not able to do that, correct?          9          Q. And part of that is because you can't drop
     10          A. No. At the time, what they called the              10   below 45, right?
     11   reserve grid was always in the red, and you can't move       11          A. Correct.
     12   anything around or do anything when there's not enough       12          Q. Okay.
     13   reserves to cover it.                                        13          A. And you couldn't -- at the time, you
     14          Q. So why is it you think it would have helped        14   couldn't drop anything at the time, because the reserve
     15   you to be able to build a schedule from scratch?             15   grid has to be in the green. Green means go. If you
     16          A. Because that's the -- the open time was            16   have a reserve grid that's green -- let's say I was
     17   there. It was what was left over. There were multiple        17   awarded 80 hours in four-day trips, and that reserve grid
     18   turns. TradeBoard -- there were so many turns that I         18   was all in the green.
     19   could have picked up and built a schedule of just day        19              I could drop a four-day, get rid of it,
     20   trips with no overnights easily.                             20   and then add turns in those days, and then that takes
     21          Q. Right. But you weren't able to do that             21   care of that. The reserve grid is still in the green. I
     22   under the regular bidding rules, right?                      22   could drop another four-day and pick up all turns. But
     23          A. No. I needed an accomodation of a blank            23   when the reserve grid is in the red, it doesn't let you
     24   schedule. The problem is I could not -- so you have to       24   drop anything, and I would have had to drop everything or
     25   go day for day. You can trade a four-day for a four-day.     25   drop the whole thing in order to add stuff.

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      1          Q. Okay. I think I understand.                     1             A. I know Angie Reef Piller was involved, and
      2             All right. So let's talk about your             2      Kim --
      3   conversations with the union about the -- and I'm just    3             Q. How do you know that?
      4   going to call it the "blank schedule accommodation."      4             A. From Adrienne.
      5          A. Okay.                                           5             Q. Any other reason you would know that?
      6          Q. And when I'm referring to the "blank            6             A. She was our union president, so she was
      7   schedule accommodation," I'm referring to what we've been 7      involved in most stuff.
      8   talking about where you wanted to not bid and start from  8             Q. Okay. So that's an assumption?
      9   scratch.                                                  9             A. From what Adrienne had told me, Angie Reef
     10             Are you with me?                               10      Piller was involved.
     11          A. Yes.                                           11             Q. Yeah.
     12          Q. Okay. So when did you first talk about the     12               What were the exact words that Ms. Prince
     13   blank schedule accommodation with the union?             13      used? Because earlier when you were testifying, you
     14          A. It was sometime, I believe, in October         14      phrased it as it was a violation of the Collective
     15   when I finally got the union involved in what was going  15      Bargaining Agreement, but the union had granted you an
     16   on with Frontier.                                        16      exception.
     17          Q. Okay. October 2015?                            17               Do you remember that?
     18          A. Yes, somewhere around there. It may have       18             A. No.
     19   been before. I don't remember.                           19             Q. Okay. Did Ms. Prince say to you that the
     20          Q. Who with the union did you speak to about      20      union was making an exception?
     21   the blank schedule accommodation?                        21             A. No. She said it would not violate.
     22          A. Adrienne Prince, and I believe Kim --          22             Q. Okay. Tell me exactly the words she used.
     23   Kim Mayne-Sasser or Sayser (sic) or something.           23             A. I can't tell you exactly. Those
     24          Q. Anyone else from the union?                    24      conversations were not recorded. That happened five
     25          A. Not that I can think of right now.             25      years ago. From my memory as it is today, she told me
                                                            Page 99                                                        Page 101
      1           Q. Okay. On how many occasions did you               1   that it would not violate the seniority provision in the
      2   discuss the blank schedule accommodation with                2   CBA. And she even stated it in that last meeting, and
      3   Adrienne Prince?                                             3   that is recorded.
      4           A. Multiple times.                                   4           Q. Anything else you remember about her exact
      5           Q. About how many?                                   5   words?
      6           A. I would say at least three or four times          6           A. Not that I can think of.
      7   throughout talking, and then we talked about it more         7           Q. She testified in a deposition recently.
      8   during that final investigatory or termination meeting.      8              Were you aware of that?
      9           Q. What did you discuss with Ms. Prince with         9           A. Yes.
     10   respect to the blank schedule accommodation?                10           Q. And if she said, I -- I didn't see this as
     11           A. I explained to her the accommodation that        11   something that was permitted by the Collective Bargaining
     12   I was seeking, and I told her that Jerry Arellano said      12   Agreement, would you disagree with her?
     13   that it would violate the CBA. And she took that back to    13           A. Absolutely.
     14   whoever she took it to and then came and told me that it    14           Q. Okay. And do you believe she's lying then?
     15   would not violate the union contract.                       15           A. Maybe she is misinformed, or maybe she was
     16           Q. You don't know who she took it back to at        16   led down the wrong path and had a crappy attorney on her
     17   the union?                                                  17   side.
     18           A. My guess would be Angie Reef Piller (sic),       18           Q. So if Adrienne Prince testified that what
     19   and I know that the attorney was involved at some point.    19   you wanted to do was a violation of the Collective
     20           Q. But you don't know that for sure?                20   Bargaining Agreement, you believe that she was either
     21           A. That's from what -- my conversations were        21   lying or misinformed?
     22   mostly with Adrienne.                                       22           A. Yes.
     23           Q. Okay. And you don't know for sure who            23              MR. CRONE: Hold on. Also object. It
     24   Adrienne spoke with about the blank schedule                24   mischaracterizes Plaintiff's prior testimony.
     25   accommodation?                                              25           Q. (By Ms. Kitson) Is there anything else

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      1   that Ms. Prince told you about the blank schedule                       1          Q. So, you don't know why -- you don't know
      2   accommodation?                                                          2   why they dropped it then, correct? You're just agreeing?
      3         A. Not that I recall.                                             3          A. Correct.
      4         Q. How many times did you discuss this blank                      4          Q. The accomodation of removing overnights,
      5   schedule accommodation with Kim Sasser?                                 5   tell me about that. So you would have bid, you would have
      6         A. I believe -- and I don't remember if it                        6   received a line. You would have gone through the whole
      7   was the blank -- I remember communicating with Kim about                7   drop/swap/trade process.
      8   something, and I can't remember if it was this blank                    8             And then at the end of that, you would have
      9   schedule accommodation. I know it was probably                          9   been requesting that these overnights just be removed from
     10   mentioned, because that was part of the accommodation                  10   your schedule?
     11   that I was asking.                                                     11          A. Yeah, just take them off, put them in open
     12         Q. You have no specific recollection, though,                    12   time for another flight attendant to pick up if they
     13   of discussing that with her?                                           13   wanted or have a reserve fly them. So if they were to
     14         A. No specific. I remember seeing an email                       14   just remove them, then I would have nothing on my
     15   at one point, but I don't have any of that in front of me              15   schedule for that time, and I could pick up turns.
     16   to tell you accurately.                                                16             But you can't pick anything up when you
     17         Q. Do you remember anything specifically that                    17   call in FMLA or even sick. You can't add anything. It
     18   you discussed with Kim Sasser?                                         18   blocks your schedule. So I was asking them to just
     19         A. Not to be able to tell you accurately.                        19   remove those overnights, which they had done a few times
     20         Q. What other accommodations, if any, did you                    20   in the past, and then I can add turns.
     21   discuss with the union representative?                                 21          Q. And that's something you would have done
     22         A. Working at the GO.                                            22   after you were already flying during the month after you
     23         Q. And what did they say about that?                             23   bid?
     24         A. I honestly don't remember. I know it was                      24          A. What do you mean?
     25   part of the argument between Frontier and the union,                   25          Q. Well, I'm confused about when that would
                                                                      Page 103                                                        Page 105
      1   especially during my grievance.                                         1   happen.
      2          Q. All right. Did you ever speak to the union                    2             So you would bid a line, correct?
      3   about removing overnights?                                              3          A. Right.
      4          A. I don't recall. I'm assuming it was                           4          Q. You would be given a line, correct?
      5   talked about.                                                           5          A. Uh-huh.
      6          Q. But you don't have a specific recollection?                   6          Q. You could drop/swap and trade, but you
      7          A. No.                                                           7   couldn't drop below 45 hours, correct?
      8          Q. Now, ultimately, the union did not proceed                    8          A. I would do what I could, and then before
      9   to arbitration on your grievance, correct?                              9   that month of flying starts, I would request that any
     10          A. Correct.                                                     10   overnights that I wasn't able to get rid of, they just
     11          Q. They dropped it, correct?                                    11   take them away. And then that leaves me those days
     12          A. Correct. But it was because they had                         12   when -- let's say I would have had a four-day, Danielle.
     13   exhausted -- supposedly it was because they had gone to                13             Okay. So if they remove those three
     14   the end of the line. It's not like -- they basically                   14   overnights, that opens up two days in my schedule where
     15   just dismissed it, so that I could go on about my stuff                15   there would be nothing on it. Therefore, I could go into
     16   that I was going to do for it. They didn't dismiss it                  16   open time and TradeBoard, where there's a plethora of
     17   because there wasn't a claim.                                          17   turns and just add something.
     18          Q. Well, they could have taken it to                            18          Q. But that's not something that you can do
     19   arbitration, correct?                                                  19   under the regular process, correct?
     20          A. I don't know.                                                20          A. Correct.
     21          Q. I was not privy to any of that stuff after                   21          Q. So --
     22   termination.                                                           22          A. Unless -- well, hold on. Unless the
     23          A. I know that Frontier's attorney and the                      23   reserve grid was in the green. If the reserve grid was
     24   union attorney spoke. I don't -- I don't remember the                  24   in the green, you can just dump whatever you want as long
     25   outcome of any of that, really. It's all --                            25   as you don't go below what I remember as 60 hours.

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      1          Q. So the accommodation you were -- were                        1   at one point, she had removed an overnight that I was
      2   requesting, then, was to be able to do this when the                   2   supposed to fly. I -- I don't know how she did it, but
      3   reserve was in the red, correct?                                       3   she made it go away.
      4          A. Correct. If --                                               4          Q. And I believe you said that you were told
      5          Q. Because otherwise, you could have done it,                   5   they could do it on that occasion, but they can't be doing
      6   right?                                                                 6   it regularly.
      7          A. Correct. For them to just be able to                         7              Do I have that correct?
      8   remove them, put them in open time, and those would be                 8          A. Correct.
      9   covered by either other flight attendants with a line or               9          Q. Okay. And are you aware of any other
     10   a reserve.                                                            10   flight attendants who were allowed to do this, to drop
     11          Q. So --                                                       11   trips when the reserve is in the red?
     12          A. Because I would be freeing up -- so I                       12          A. Not that I'm aware of.
     13   would be freeing up whatever turns are in there, so it's              13          Q. Throughout the process that we've been
     14   not like they would have to hire a whole new flight                   14   discussing of your discussions with Frontier about
     15   attendant. I would still be flying something that a                   15   possible accommodations, you spoke with Frontier
     16   reserve would be flying. It just did not let me do it.                16   representatives on a number of occasions about the
     17          Q. So the rule is that if reserve was red, you                 17   possible accommodations, correct?
     18   couldn't do this, correct?                                            18          A. Correct.
     19          A. Correct.                                                    19          Q. At any point, did they stop talking to you
     20          Q. And you were asking for an exception to                     20   about this?
     21   that rule, correct?                                                   21          A. Yes. I had emailed the director of
     22          A. An accommodation, yes.                                      22   Inflight, Laura Rush -- oh, hold on.
     23          Q. An exception, correct?                                      23              Hold on, kids.
     24          A. Accommodation, I would call it.                             24              I had emailed Laura Rush, and she said, At
     25          Q. Well, I mean, that's the rule, and you're                   25   this point, I am going to direct you to Shelly Leyner for
                                                                     Page 107                                                                   Page 109
      1   asking to be --                                                        1   a leave of absence. So basically saying that she could
      2         A. Danielle, I was asking that for a specific                    2   not do anything, and -- yeah.
      3   accommodation.                                                         3         Q. So you continued a process of discussing
      4         Q. But that's an exception that other people                     4   these schedule accommodations with Frontier, correct?
      5   did not get, correct?                                                  5         A. Correct.
      6         A. Correct. It would be an accommodation.                        6         Q. I want to take a look at a document here.
      7         Q. How many times were you given this                            7   Let me find it. It will be --
      8   exception?                                                             8         A. Danielle, hold on just a second.
      9         A. What exception?                                               9         Q. Oh, sure. Yeah. Go ahead.
     10            MR. CRONE: Hold on. Objection to the                         10             THE VIDEOGRAPHER: Do you want me go off
     11   question. Mischaracterizes the witness' prior testimony.              11   the record?
     12         Q. (By Ms. Kitson) You mentioned in your                        12             MS. KITSON: Yeah. Let's go off the
     13   earlier testimony that, on a few occasions, Frontier had              13   record.
     14   allowed you to remove overnights?                                     14             THE VIDEOGRAPHER: We're going off the
     15         A. Yes.                                                         15   record at 10:47 a.m.
     16         Q. And that was back when the reserve was in                    16             (Recess from 10:47 a.m. to 10:49 a.m.)
     17   the red, correct?                                                     17             THE VIDEOGRAPHER: We're going back on the
     18         A. Correct.                                                     18   record at 10:49 a.m.
     19         Q. On how many occasions did Frontier do that?                  19         Q. (By Ms. Kitson) Ms. Brigham, do you
     20         A. I think it was one or two times that they                    20   understand that you're still under oath?
     21   had just removed the overnights. And I don't remember                 21         A. Yes.
     22   any specifics around that. I know it -- I think at one                22         Q. In this case, I believe that you're
     23   point I had talked to Cassandra Micklich, and she -- I                23   contending -- strike that.
     24   was very upset because a turn was removed from my                     24             Are you contending in this case that
     25   schedule and nobody knew why. And I was upset. And then               25   Frontier failed to engage in an interactive process with

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      1   you; in other words, an interactive dialog about what        1         Q. But she didn't refuse the company speaking
      2   accommodations might be available to you?                    2   to you further; she just said, I'm going to need to direct
      3          A. Yes.                                               3   you to Shelly Leyner, correct?
      4          Q. Okay. And on what do you base that claim?          4         A. Correct.
      5          A. They never came up with any suggestions of         5         Q. And did you actually talk to Shelly Leyner?
      6   stuff that I could do that would be reasonable for me to     6         A. She was copied on that email. I talked to
      7   be able to keep flying like I needed to and to be able to    7   Shelly multiple times.
      8   make hours.                                                  8         Q. So no one prevented you from talking to her
      9          Q. Is there any other basis on which you're           9   or to Mr. Arellano, et cetera?
     10   basing your claim that Frontier failed to engage in an      10         A. No.
     11   interactive dialog?                                         11         Q. Okay. I'm going to show you Brigham
     12          A. Other than they didn't come up with               12   Exhibit 20. So Brigham Exhibit 20 is a document bearing a
     13   anything that would have helped me.                         13   Bates stamp FRONTIERAIRLINES(R.BRIGHAM)- 1766.
     14          Q. We talked earlier about various potential         14             Do you see that?
     15   accommodations that you did discuss with them, correct?     15         A. Yes.
     16          A. Correct, but none of those would have             16         Q. Do you recognize this document?
     17   worked for me.                                              17         A. I do.
     18          Q. Okay. And for the reasons that we've              18         Q. What is it?
     19   discussed, correct?                                         19         A. I had turned this in at my investigatory
     20          A. Correct.                                          20   meeting.
     21          Q. But they never refused to at least talk to        21         Q. Your investigatory meeting was on or about
     22   you about it, correct?                                      22   November 3rd of 2015; is that right?
     23          A. Oh, right, they always talked about it.           23         A. Correct.
     24          Q. And at the end of the day, you just               24         Q. And did you bring this into the meeting?
     25   disagreed about what was reasonable and what wasn't,        25         A. I did.
                                                           Page 111                                                        Page 113
      1   correct?                                                    1           Q. Okay. And is this the last accommodation
      2          A. What do you mean by "disagree"?                   2    request that you made?
      3          Q. Well, you would put something forward or          3           A. I believe so.
      4   they would put something forward. And, you know, what 4                 Q. Okay. And you say, Ideas, just remove me
      5   they offered, you didn't believe was reasonable; and what   5    from the overnights, have me build my own schedule out of
      6   you offered, they didn't believe was reasonable.            6    open time and TradeBoard.
      7              Does that make sense?                            7              Do you see that?
      8          A. It does.                                          8           A. Yes.
      9          Q. Okay. So you discussed possible                   9           Q. Are those the accommodations that we've
     10   accommodations, but you just disagreed with one another 10       been talking about?
     11   about what would be a reasonable accommodation, correct? 11             A. Except not the one where I would go work
     12          A. If you put it that way, then yes.                12    at the general office. They had told me that that was
     13          Q. At any point, did anyone refuse to talk to       13    impossible because that was just for people that got back
     14   you?                                                       14    from OJI.
     15          A. Not that I can remember.                         15           Q. Okay. So other than that, this was the
     16          Q. Okay. I'm --                                     16    final accommodation request that you made, if you will; is
     17          A. I think it was a Laura Rush thing.               17    that correct?
     18          Q. And the Laura Rush thing, I mean, she            18           A. Correct.
     19   basically directed you to someone else within the company, 19           Q. And what happened with this request?
     20   correct?                                                   20           A. I retired.
     21          A. Right. Right. But as the director of             21           Q. So Frontier denies this request; is that
     22   Inflight, I mean, I personally think that she should have  22    correct?
     23   at least -- to see what was going on, I feel like if       23           A. Yes. They wrongfully terminated me, I
     24   Laura Rush had gotten involved, maybe something would 24         would say.
     25   have been different.                                       25           Q. Are you bringing any claim in this case

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                                                          Page 114                                                                   Page 116
      1   under the FMLA?                                            1           Q. (By Ms. Kitson) Ms. Brigham, is this a
      2          A. What do you mean?                                2    true and correct copy of an email that you received from
      3          Q. You have not asserted a legal claim based        3    Frontier's Leave of Absence Department on January 22nd,
      4   on the FMLA, correct?                                      4    2014?
      5          A. You're going to have to explain further.         5           A. I mean, I don't remember this specific
      6   I don't know what you mean.                                6    document, but, yeah.
      7          Q. You brought claims under the Americans with      7           Q. Okay. And it's got an attachment here, DOL
      8   Disabilities Act, correct?                                 8    Employee Guide New and FMLA attachment.
      9          A. Correct, correct.                                9              Do you see that?
     10          Q. But you're not claiming a violation of the      10           A. Yes.
     11   Family Medical Leave Act, FMLA, correct?                  11           Q. Let me scroll up. And this is in response
     12          A. I think I shouldn't have had to have been       12    to an email that you sent the Leave of Absence Department
     13   using it.                                                 13    on January 22nd, 2014, where you say, My name is
     14          Q. But it wasn't -- the law wasn't violated,       14    Rebecca Brigham, number 413206, and am requesting
     15   correct?                                                  15    intermittent FMLA paperwork.
     16          A. Not that I'm aware of.                          16              Do you see that?
     17          Q. All right. I'm going to show you what has       17           A. Yes.
     18   been marked as Exhibit 37. Brigham Exhibit 37 is an email 18           Q. Do you recall requesting FMLA paperwork in
     19   to you from Leave of Absence Frontier Employees, dated 19       January 2014?
     20   January 22, 2014.                                         20           A. Yes.
     21             Do you see that?                                21           Q. Okay. And the company provided it to you,
     22             MR. CRONE: Danielle, I'm trying to --           22    correct?
     23   sorry to cut in.                                          23           A. Correct.
     24             I -- I can't find Exhibit 37 in what you        24           Q. Okay. And did you review this information
     25   sent me. I think that was part of that original part 4    25    in the employee guide to the Family Medical Leave Act?
                                                          Page 115                                                                   Page 117
      1   that never came through. Is there any way you could just    1         A. Probably not.
      2   email that to me?                                           2         Q. Were you generally familiar with FMLA
      3             MS. KITSON: You bet. Let me just send it          3   guidelines and how the company employed them?
      4   off now.                                                    4         A. Generally, yes.
      5             MR. CRONE: Thank you.                             5         Q. Okay. I just wanted to point you to
      6             MS. KITSON: Hold on. I have to stop               6   one -- we are on page 10 of the PDF, which it is
      7   sharing to do this. I've got multiple screens going on      7   BRIGHAM -- or FRONTIERAIRLINES(R.BRIGHAM)- 1458.
      8   here. Hold on a second.                                     8            Are you with me?
      9             MR. CRONE: That -- that's fine. Thanks.           9         A. Yes.
     10             MS. KITSON: All right. It should be              10         Q. And it says, How do I request FMLA leave?
     11   coming your way now.                                       11   To take FMLA leave, you must provide your employer with
     12          Q. (By Ms. Kitson) Ms. Brigham, are you still       12   appropriate notice.
     13   seeing the document?                                       13            Do you see that?
     14          A. I am.                                            14         A. Yes.
     15          Q. Okay.                                            15         Q. Were you aware of that rule?
     16             MS. KITSON: John, do you want to let me          16         A. Yes.
     17   know when it comes through?                                17         Q. And then I wanted to show you down here
     18             MR. CRONE: Yeah, I will.                         18   (indicating), the third yellow highlight. It says, You
     19             MS. KITSON: That's all right.                    19   must follow.
     20             MR. CRONE: If you want -- if you want to         20            Do you see that?
     21   go ahead, I'll let you know if I don't get it.             21         A. Uh-huh.
     22             MS. KITSON: Okay. Great. And I mean,             22         Q. It states, You must follow your employer's
     23   you can see my screen, right?                              23   usual notice or call-in procedures unless you are unable
     24             MR. CRONE: Yes, yes.                             24   to do so, for example, if you are receiving emergency
     25             MS. KITSON: Okay. Good.                          25   medical care.

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      1             Do you see that?                                           1           A. Yes.
      2          A. Yes.                                                       2           Q. What is it?
      3          Q. And were you aware that that was a                         3           A. It's the intake sheet for seeing my
      4   requirement under the FMLA?                                          4   counselor after I got back from treatment.
      5          A. Yes.                                                       5           Q. So --
      6          Q. Okay. We can set that aside.                               6           A. Or nope, this is before I went to
      7             I'm going to open what has been marked as                  7   treatment.
      8   Exhibit 23. It's such a crazy world like sharing and                 8           Q. Who was your counselor?
      9   using exhibits.                                                      9           A. Her name is Marla Madrid.
     10             Okay. Are you seeing a document, Brigham                  10           Q. How long have you been seeing Ms. Madrid?
     11   Exhibit 23, which is a Frontier Airlines job description?           11           A. Since probably around this date.
     12          A. Yes.                                                      12           Q. So this would have been your initial
     13          Q. Okay. And just for the record, this is                    13   contact with her, roughly?
     14   FRONTIERAIRLINES(R.BRIGHAM)- 93.                                    14           A. I believe so, yeah.
     15             Are you with me?                                          15           Q. And do you continue to see her today?
     16          A. Yep.                                                      16           A. No. I'm in Michigan. So there's not
     17          Q. Do you recognize this document?                           17   really a way for me to see her.
     18          A. The job description, yes.                                 18           Q. And I ask you that because I'm actually
     19          Q. And is it familiar to you, the flight                     19   still seeing my doctors via Telehealth Zoom. So I didn't
     20   attendant for Frontier Airlines?                                    20   know if that was something you were doing.
     21          A. Yes.                                                      21           A. I actually did ask her, and because we're
     22          Q. And Section 2 is Essential functions. And                 22   in Michigan and her license is for Colorado, she can't
     23   then there are a list of bullet points.                             23   see me.
     24             Do you see that?                                          24           Q. I see. Are you seeing anyone else in
     25          A. Yep.                                                      25   Michigan?
                                                                   Page 119                                                         Page 121
      1         Q. And the first one is, Follow all aviation                   1          A. No.
      2   regulations as required, as well as established                      2          Q. Okay.
      3   Frontier Airlines policies and procedures.                           3          A. We currently don't have healthcare, and we
      4            Do you see that?                                            4   can't -- with COVID going on, we can't afford to see
      5         A. Yes.                                                        5   anybody right now.
      6         Q. Was that an essential function?                             6          Q. Are you seeing any doctor for any medical
      7         A. Yes.                                                        7   care, including a primary care physician?
      8         Q. It says, Initializes and conducts emergency                 8          A. I mean, I have a primary care physician.
      9   evacuations of cabin, if necessary.                                  9   I haven't had to go for like nine months.
     10            Was that an essential function?                            10          Q. And who is your primary care physician?
     11         A. Yes.                                                       11          A. Her name is Tara Taylor. She's actually
     12         Q. Were all of these on this list an essential                12   the PA, and I believe the doctor that's at that office is
     13   function, in your view, of the job?                                 13   Rachel Young.
     14         A. Yes.                                                       14              THE REPORTER: I'm sorry. Last name again
     15         Q. And just to confirm, your alcoholism did                   15   of the doctor?
     16   not impede you from performing these essential functions            16              THE DEPONENT: Rachel Young.
     17   of the job, correct?                                                17          Q. (By Ms. Kitson) Any other doctors that you
     18         A. Correct.                                                   18   are seeing or have seen recently?
     19         Q. Okay. I'm going to open another document.                  19          A. Nope.
     20   It will be Brigham Exhibit 41. Brigham Exhibit 41 is a              20          Q. And are you going to A.A. meetings? What
     21   document entitled, Comanche Crossing Counseling, LLC. And           21   are you doing to manage your alcoholism today?
     22   the Bates stamp is BrighamR_PlaintiffRecords 1029.                  22          A. Continuing to do A.A. meetings. However,
     23            Do you see that?                                           23   it's not as frequent as it was in the beginning. I also
     24         A. Yes.                                                       24   have an online support group called She Recovers, and I'm
     25         Q. Okay. And do you recognize this document?                  25   on their Facebook page, where we discuss what we're

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      1   dealing with as it relates to alcoholism.                      1   thing if I want to remain sober and change my life.
      2          Q. At the bottom of Brigham Exhibit 41, it              2          Q. So overnight trips is a trigger, correct?
      3   says, Reason for appointment, deal with triggers of            3          A. Correct.
      4   alcohol.                                                       4          Q. Dealing with Frontier, kind of the stress
      5              Do you see that?                                    5   of that, was a trigger, correct?
      6          A. Yep.                                                 6          A. It was. And would --
      7          Q. Did you discuss those triggers with                  7          Q. Any other --
      8   Ms. Madrid?                                                    8          A. Oh, go ahead.
      9          A. Yes.                                                 9          Q. Any other triggers, job-related triggers,
     10          Q. In the Frontier world of your job duties as         10   or while you were on the job?
     11   a flight attendant, you were not triggered by serving         11          A. Not that I can think of.
     12   drinks on the airplane; is that correct?                      12          Q. From the date that you went into rehab,
     13          A. Correct.                                            13   that September 5th, 2014 date --
     14          Q. And you, in your daily life, were not               14          A. It was September 7th.
     15   triggered by going to a liquor store or driving by a          15          Q. Oh, September 7th. Sorry about that.
     16   liquor store; is that correct?                                16              From the date you went into rehab on
     17          A. Correct. I mean, at the time before I had           17   September 7th of 2014, after that, did you take any
     18   been to treatment, for sure, it was hard for me to pass a     18   overnight trips with Frontier?
     19   liquor store and not go in. Yeah.                             19          A. Not that I recall.
     20          Q. Let's talk about your job at Frontier.              20          Q. Okay. So every time you had an overnight
     21              In terms of your job, what were the                21   trip that you could not drop through collective bargaining
     22   triggers?                                                     22   bidding, you called out for that trip; is that correct?
     23          A. What do you mean?                                   23          A. Yes. And Frontier told me to use
     24          Q. You had mentioned earlier that being at a           24   intermittent FMLA for that.
     25   hotel on an overnight was a trigger; is that correct?         25          Q. So you never tried it to see if it would be
                                                             Page 123                                                                 Page 125
      1           A. After treatment, yes. It was -- and it's            1   an actual trigger?
      2   not really even -- well, I guess you could call it a           2         A. No. That's like playing Russian roulette.
      3   trigger. It was sort of -- when I went through                 3         Q. Okay. I'm looking back at this Brigham
      4   treatment, they teach us how to deal with these types of       4   Exhibit 41. And this is a second page of the document,
      5   things. And in the beginning, usually they say, For the        5   Comanche Crossing Counseling, Diagnostic Intake Summary.
      6   first year, don't make any major changes to your life.         6               Do you see that?
      7              So don't, like, go home and get a divorce.          7         A. Yes.
      8   Don't go home and quit your job. Don't -- keep                 8         Q. Have you reviewed this document before?
      9   everything relatively normal, but start changing your          9         A. I don't think so.
     10   playground. Don't associate with the people that you          10         Q. Looking at it, does it appear to be a
     11   used to drink with, if that's a trigger for you. Stuff        11   summary of your conversation with Ms. Madrid -- or
     12   like that.                                                    12   Dr. Madrid on June 13th, 2014?
     13              And one area that I -- at the treatment            13         A. Yes.
     14   center, we discovered that one of those areas that I          14         Q. Do you remember discussing these topics
     15   should try to avoid is overnight trips.                       15   with her?
     16           Q. Were there any other triggers while you            16         A. And will you scroll down, Danielle.
     17   were on the job or related to your job?                       17         Q. You bet. And you can read the whole
     18           A. Basically dealing with Frontier was a huge         18   document. Just tell me when you want me to scroll.
     19   trigger. Every time they removed trips from my                19         A. Okay.
     20   schedule -- I mean, at one point, it felt like Frontier       20         Q. The yellow highlighting is what I'm going
     21   was just trying to get rid of me, just almost trying to       21   to ask you about.
     22   torture me.                                                   22         A. Okay. Okay.
     23              They just would not listen. They would             23         Q. Okay. You want to keep reading here?
     24   not -- it felt like nobody understood that this, to me,       24         A. Yeah, I would like to, if that's okay.
     25   is life and death. Like, I have to do these certain           25         Q. Yeah. No, you're fine.

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      1          A. All right. Will you scroll, Danielle.               1           A. Yes.
      2          Q. Mm-hmm.                                             2           Q. Is there a reason that you didn't mention
      3          A. Okay. Okay.                                         3   to Dr. Madrid this issue of overnights being a trigger?
      4          Q. This is the end of it.                              4           A. Because we didn't realize -- or I didn't
      5          A. Okay.                                               5   realize at the time that -- because I hadn't done
      6          Q. Let me know when you're done.                       6   treatment yet. This was before, when I thought I could
      7          A. Okay.                                               7   get sober on my own.
      8          Q. The question I have is really with respect          8              And after I got to treatment is when they
      9   to this second page of the Diagnostic Intake Summary.         9   said, Change your playground. These are the areas where
     10   Ms. Madrid or Dr. Madrid is -- states, Rebecca is            10   you're going to want to avoid, you know, anywhere that
     11   currently struggling with admitting to being an alcoholic.   11   you're used to being around people drinking, in the
     12   At this time, she is ready to take a path to recovery.       12   beginning.
     13             Do you see that?                                   13           Q. Okay. But at least as of June 13th, 2014,
     14          A. Yes.                                               14   that's not something that you had recognized as a trigger?
     15          Q. Do you remember discussing that with               15           A. No.
     16   Dr. Madrid?                                                  16           Q. We're done with that one.
     17          A. Yes.                                               17              I have a follow-up question for you about
     18          Q. She goes on to say, Rebecca and husband            18   the union. Typically, the union would send out a closeout
     19   have been in couple's treatment prior.                       19   letter?
     20             Do you see that?                                   20           A. What?
     21          A. Yes.                                               21           Q. A closeout letter.
     22          Q. Was that true?                                     22           A. Okay.
     23          A. Yes.                                               23           Q. Did you receive any kind of closeout letter
     24          Q. Why were you --                                    24   from the union saying that they were done with your
     25          A. We were in marriage counseling before,             25   grievance?
                                                            Page 127                                                                   Page 129
      1   after the loss of our daughter.                               1           A. Not that I can recall.
      2          Q. And why were you in couple's treatment?             2           Q. Okay. Have you turned over to your counsel
      3          A. Because of the loss of our daughter is              3   all correspondence that you had with the union?
      4   what started it, and my alcoholism.                           4           A. Yes.
      5          Q. Okay. She goes on to say, Rebecca                   5           Q. And is there any place that you might have
      6   currently uses alcohol in private. She stated she has         6   additional correspondence that you haven't looked?
      7   been drinking since the age of 14. She noted that her         7           A. Not that I can think of.
      8   parents are functioning alcoholics. Her mother has            8              MS. KITSON: I actually think we could go
      9   anywhere from 2 to 5 glasses of wine at night on average.     9   off the record for lunch, if that works for everybody. I
     10   Her father has 10 beers. Rebecca currently drinks alone.     10   know you're on a later time zone, Ms. Brigham, and I'm
     11   She noted that her husband smokes pot.                       11   kind of an early eater.
     12              Do you see that?                                  12              So does that work, John, or do you want
     13          A. Yes.                                               13   to --
     14          Q. Is all of that accurate?                           14              MR. CRONE: Yeah. Yeah, that -- that
     15          A. Yes.                                               15   works great.
     16          Q. Okay. Under Treatment Requested and                16              MS. KITSON: Okay. Let's go off the
     17   Rationale For Request, it states, Rebecca is currently       17   record for lunch.
     18   utilizing her employee assistance program benefits. She      18              THE VIDEOGRAPHER: We're going off the
     19   would like to work on sobriety in a therapeutic setting.     19   record at 11:37 a.m.
     20   She would like to get at the root of the triggers, which     20              (Recess from 11:17 a.m. to 12:20 p.m.)
     21   currently she believes are fighting and stressors with       21              THE VIDEOGRAPHER: We're going back on the
     22   husband.                                                     22   record at 12:20 p.m.
     23              Do you see that?                                  23           Q. (By Ms. Kitson) Ms. Brigham, do you
     24          A. Yes.                                               24   understand you're still under oath?
     25          Q. Is that an accurate statement at the time?         25           A. Yes.

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      1          Q. I wanted to show you a series of documents,       1      Bargaining Agreement; isn't that right?
      2   and starting with the Collective Bargaining Agreement       2             A. No. I never got a hard copy.
      3   again. This is going to be Brigham Exhibit 1. One second 3                Q. Who's Jeff Varney?
      4   while I get that up in front of you.                        4             A. He was an Inflight supervisor.
      5              Are you seeing the Collective Bargaining         5             Q. And is that spelled with a V, as in Victor?
      6   Agreement?                                                  6             A. Yes.
      7          A. Yes.                                              7             Q. And is it possible that he could have been
      8          Q. I want to show you just one provision of          8      mistaken about what the terms of the Collective Bargaining
      9   this that I'm hoping will refresh your recollection about   9      Agreement say?
     10   what happens to your seniority if you transfer within the 10              A. Of course.
     11   company. So this is going to be PDF 102, which is          11             Q. Do you have any reason to believe that this
     12   FRONTIERAIRLINES(R.BRIGHAM)- 916.                          12      policy that we're looking at under the Collective
     13              Are you with me?                                13      Bargaining Agreement on PDF page 102 of the document is
     14          A. Yes.                                             14      incorrect?
     15          Q. Okay. And I just wanted to show you this         15             A. I have no reason to believe that, but why
     16   to refresh your recollection. It states, number 4, If a    16      didn't they tell me this when they were talking about
     17   flight attendant is permitted by the company to transfer   17      transferring? The reason I told them I did not want to
     18   to a position outside the flight attendant craft or class  18      transfer was because of the 90 day. If they knew this
     19   on account of physical incapacity, illness or injury,      19      existed they should have told me.
     20   he/she will retain and accrue seniority for a period not   20             Q. Are you aware of anyone who lost their
     21   to exceed two years of continuous service in such          21      seniority after 90 days?
     22   position, after which the flight attendant will be removed 22             A. No, but I've heard about flight attendants
     23   from the seniority list. A period of service will be       23      who go -- who have been injured or anything like that,
     24   deemed continuous service until it is broken by a transfer 24      and they're not allowed to come back to Inflight after a
     25   back to the position of flight attendant.                  25      certain amount of time.
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      1              Do you see that?                                    1          Q. Who specifically are you referring to?
      2          A. I do, but that's not what I was told by              2          A. I couldn't even tell you.
      3   the company.                                                   3          Q. And you don't know what that period of time
      4          Q. Do you have any reason to -- strike that.            4   was?
      5              Did you have the Collective Bargaining              5         A. I want to say it was the 90 days.
      6   Agreement available to you when you were a flight              6         Q. But you don't know of anyone specific,
      7   attendant with Frontier?                                       7   correct?
      8          A. I think I could have gotten it somewhere             8         A. Correct.
      9   online.                                                        9         Q. And was this just kind of a rumor you
     10          Q. Yeah.                                               10   heard?
     11          A. But it's not something like they hand it            11         A. Yeah, flight attendants talking.
     12   out to us.                                                    12         Q. Okay. Did anyone else at Frontier ever
     13          Q. And who specifically told you something             13   indicate to you that you lost seniority after 90 days?
     14   contrary to this?                                             14         A. Not that I can think of right now, but I
     15          A. I believe it was Jeff Varney told me that           15   know I heard it a few different times.
     16   after 90 days, you lose your seniority or your ability to     16         Q. But all rumors, correct?
     17   go back to Inflight at your seniority.                        17         A. Rumors, or came from a direct supervisor.
     18              And, I mean, I'm not an attorney. I --             18         Q. And that's the reference you're making to
     19   that's why I hired an attorney to understand some of          19   Mr. Varney?
     20   these things. But if this is the case, then Frontier          20         A. Yes.
     21   would have been admitting that I was ill or had an            21         Q. And is it only on one occasion that he
     22   injury, which they said I didn't. Because if I had an         22   mentioned that?
     23   injury, then I should have been able to work at the GO.       23         A. That I have memory of.
     24          Q. And I believe, Ms. Brigham, that every              24         Q. Yeah. And when was that approximately?
     25   flight attendant was given a hard copy of the Collective      25         A. I want to say it was at one of our

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                                                                          Page 134                                                        Page 136
      1    meetings.                                                                  1   patient for condition, September 8th, 2014.
      2           Q. Was anyone else present?                                         2             Do you see that?
      3           A. Maybe Kari Thompson.                                             3          A. Let me move my people screen. Hold on.
      4           Q. And when you say "our meetings," what are                        4             Yes.
      5    you referring to?                                                          5          Q. Okay. And what treatment did you receive
      6           A. When I would have to go to the general                           6   on the 8th? Was that the first day you were in rehab?
      7    office to try and ask for reasonable accommodations, ask                   7          A. Yes. I met with a doctor to talk about
      8    for ways to get this to work out, so that I could                          8   the medications that I was on, and I think I did like a
      9    continue to do my job.                                                     9   questionnaire, and that's all I remember.
     10           Q. I'm going to show you a different document.                     10          Q. Okay. You mentioned that the Collective
     11    This will be Brigham Exhibit 17.                                          11   Bargaining Agreement was available online, correct?
     12               Do you recognize Exhibit 17? And I'll                          12          A. I believe so, yeah. That's how I found
     13    scroll down, so you probably see.                                         13   it.
     14               Do you see in the right-hand corner, it                        14          Q. And you certainly would agree that it was
     15    says, From The Discovery House?                                           15   your responsibility -- as a flight attendant, under the
     16           A. Yes.                                                            16   Collective Bargaining Agreement that applied to you, that
     17           Q. And it's dated September 12th, 2014?                            17   it was your responsibility to be familiar with the
     18           A. Yes.                                                            18   contract, correct?
     19           Q. And it's entitled, Certification of                             19          A. Not after being told by somebody who's
     20    Healthcare Provider for Employee's Serious Health                         20   supposed to know what the rule is. I didn't even -- and,
     21    Condition.                                                                21   Danielle, why would they not tell me that?
     22               Do you see that?                                               22          Q. And my question is, in general, it was your
     23           A. Yes.                                                            23   responsibility to be familiar with the terms, correct?
     24           Q. And it says, Family Medical Leave Act.                          24          A. Sure.
     25               Do you see that?                                               25          Q. Okay. All right. So looking back at that
                                                                          Page 135                                                        Page 137
      1            A    Yes                                                           1   Brigham Exhibit 17, I've also yellow highlighted here,
      2            Q    Do you recognize this document?                               2   Client in residential treatment for chemical dependence.
      3            A    It would be the FMLA paperwork                                3             I'm guessing that's "dependency"?
      4            Q    Is this your handwriting on the first                         4          A. Chemical dependency.
      5   page of the document?                                                       5          Q. Or "dependence."
      6            A    It is                                                         6             Is that alcoholism?
      7            Q    I'll scroll down here I'll also note that                     7          A. Yes.
      8   the document begins with FRONTIERAIRLINES(R BRIGHAM)- 1118                  8          Q. Okay. And then page 3 is a PDF. It says,
      9   just for the record And I wanted to just walk through                       9   Please indicate if any of the following apply to the
     10   this with you It says, Approximate date condition                          10   patient. And the box is checked for, They will experience
     11   commenced, 9/7/14                                                          11   a period of continuous incapacity, during which they will
     12                Do you see that?                                              12   be unable to perform the functions of their job as
     13            A    Yep                                                          13   detailed in the accompanying job description, or if no --
     14            Q    And that is the date that you were checked                   14   no job description is included by the employee.
     15   into rehab is that right?                                                  15             Do you see that?
     16            A    Correct                                                      16          A. Yes.
     17            Q    And it says, Probable duration of                            17          Q. And it was true that during this 60 days of
     18   condition, 30 to 90 days                                                   18   time, you were unable to perform the functions of your
     19                Do you see that?                                              19   job, correct?
     20            A    Yes                                                          20          A. Correct.
     21            Q    And I believe you said you were in rehab                     21          Q. And you were given medical leave, correct?
     22   for 60                                                                     22          A. Correct.
     23                Is that right?                                                23          Q. And your seniority continued to accrue
     24            A    Correct                                                      24   while you were on that medical leave, correct?
     25            Q    Okay And it says, Dates you treated the                      25          A. Correct.

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      1          Q. At the end here, it states that your             1         Q. Mm-hmm.
      2   provider's name is Walter Thomas, MD.                      2             If you take a look here toward -- this is
      3             Do you see that?                                 3   PDF page 6 of the document, which is
      4          A. Yes.                                             4   FRONTIERAIRLINES(R.BRIGHAM)- 1432.
      5          Q. Is that the doctor that you saw?                 5             Are you with me?
      6          A. I believe so. But I -- honestly, I saw           6         A. Yeah.
      7   him for a whole 15 minutes.                                7         Q. And this states that your medical condition
      8          Q. There's a whole list of medications on this      8   began on September 7th, 2014.
      9   last page of the document.                                 9             Do you see that?
     10             Do you see that?                                10         A. Yes.
     11          A. Mm-hmm, yep.                                    11         Q. And it says, Please check one of the
     12          Q. And there is a reference to that levo- --       12   following. And the box is checked for, Employee is able
     13          A. Levothyroxine.                                  13   to work a full, regular schedule with no restrictions
     14          Q. -- levothyroxine. There are also several        14   beginning November 17th, 2014.
     15   other medications here.                                   15             Do you see that?
     16             Do you see that?                                16         A. Yep.
     17          A. Uh-huh. I do.                                   17         Q. And was that correct at the time?
     18          Q. Are you still on any of those today?            18         A. I would have to disagree here, just
     19          A. I am not.                                       19   because it was in treatment that we first decided that I
     20          Q. Okay. All right.                                20   should try to avoid layovers. And in the beginning, it
     21          A. At one point on this list, there should         21   was fine. I was able to avoid layovers. It wasn't until
     22   have been the trazodone. I originally started taking      22   Frontier opened the second base and everybody junior went
     23   trazodone about halfway through my treatment for issues 23     to Orlando, that we then started having issues. So had
     24   with sleeping. So -- but that's when I started taking     24   we known it was going to be an issue, it would have been
     25   trazodone, and then I weaned myself off of the gabapentin 25   written on here.
                                                         Page 139                                                          Page 141
      1   and the lamotrigine.                                     1             Q. So take a look at this last page. It's
      2             Like I stated early, I don't really like       2     signed by Dr. Walter Thomas.
      3   being on pharmaceuticals if I don't have to be. The      3                 Do you see that?
      4   levothyroxine, I don't have a choice about.              4             A. Yep.
      5          Q. Okay. Let me show you what's been marked       5             Q. Is that the same doctor that treated you on
      6   as Exhibit 36 -- Brigham Exhibit 36. Brigham Exhibit 36 6      the prior medical certification form?
      7   is a fax cover sheet from Matt Riemann to a phone number 7             A. Yes.
      8   listed above. But it is -- it appears to be a fax of an  8             Q. So Dr. Thomas is saying here that you're
      9   additional medical document.                             9     able to work a full, regular schedule, correct?
     10             Are you familiar with this document at all?   10             A. Correct.
     11   I'm scrolling through for you.                          11             Q. And he states that you have no
     12          A. I'm not.                                      12     restrictions. He says that --
     13          Q. Here's the fax. On the fourth page of the     13             A. It was to --
     14   document, it states it's from Discovery Transitions     14             Q. -- correct?
     15   Outpatient. It's dated November 7th, 2014, and it's to  15             A. It was to, basically, my physical
     16   Frontier's leave department.                            16     abilities is what I see. Standing, walking, sitting,
     17             Do you see that?                              17     lifting, pushing, pulling, carrying, use of hands.
     18          A. Yes.                                          18             Q. And he says -- Detail any additional
     19          Q. And what is Discovery Transitions?            19     restrictions below. He states, None, correct?
     20          A. So my recovery in treatment was in two        20             A. Correct.
     21   sections. The first 30 days was the complete in-person  21                 But I also want to just add in there that
     22   residential treatment. And then the next 30 days, it    22     at first, it was fine. I didn't need any accommodations.
     23   was -- I would do IOP, while I lived in a house with    23     It wasn't until later.
     24   other people in recovery. It was more of an outpatient  24             Q. But he doesn't state anything about your
     25   program.                                                25     need to avoid layovers, correct?

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      1          A. He's not a psychic. He did not know that           1   where it says I have to adhere to all aspects of my
      2   Frontier was going to open another base and my seniority     2   program. So Marla Madrid and I came up with a treatment
      3   would go down.                                               3   plan, and that was one of the things that we had
      4          Q. Yeah. But you were avoiding layovers,              4   discussed avoiding due to relapse.
      5   correct?                                                     5          Q. But as of that date, November --
      6          A. Correct.                                           6          A. So this was talked about -- this was
      7          Q. And he didn't state that that was medically        7   talked about with my therapist at The Discovery House,
      8   necessary on that form, correct?                             8   not with this doctor.
      9          A. He also was not my therapist there. He             9          Q. Okay. This doctor was the one filling out
     10   was just the doctor that checked the boxes and did          10   your fitness for duty form, correct?
     11   whatever to get me to be able to go back to work. He was    11          A. Correct. And all he -- all I see are
     12   not my therapist who I had discussed everything with.       12   basically, physically, I'm able to do the job.
     13          Q. This was sent on November 8th, 2014,              13          Q. And, Ms. Brigham, these are yes-or-no
     14   correct?                                                    14   questions.
     15             I'm showing you that fax -- that date in          15             This is the doctor who filled out your
     16   the center.                                                 16   fitness for duty form, correct?
     17             Do you see that?                                  17          A. Correct.
     18          A. I -- no, it's not on my screen anymore.           18             MR. CRONE: Hold on. Objection.
     19          Q. Oh, it would help if I shared it with you         19          Q. (By Ms. Kitson) And --
     20   again.                                                      20             MR. CRONE: Hold on. Hold on. I just want
     21             Okay. Do you see it now?                          21   to put an objection on the record. Ms. -- Ms. Brigham's
     22          A. No. Well, I see it, but not the date.             22   entitled to answer the questions.
     23          Q. Yeah. Okay. So this is Brigham                    23             MS. KITSON: Okay. Thank you, Mr. Crone.
     24   Exhibit 36, again. And I'm trying to yellow highlight the   24   You've made your record.
     25   date.                                                       25          Q. (By Ms. Kitson) And this doctor who's
                                                          Page 143                                                           Page 145
      1             Did that work?                                     1   evaluating your fitness for duty is stating that you were
      2          A. Yeah, there we go.                                 2   available to work a regular -- and able to work a full,
      3          Q. Can you see my mouse, by the way, moving?          3   regular schedule, correct?
      4          A. I see a circle.                                    4          A. That's what this says, correct.
      5          Q. Okay. Good. Learning every day how this            5          Q. And at this time, you, yourself, were aware
      6   works with the Zoom, right?                                  6   of your need to avoid layovers; is that correct?
      7             Okay. So we're looking at the PDF page 7           7          A. I knew that it may have been a
      8   of Brigham Exhibit 36, and there's a date stamp at the       8   possibility.
      9   top.                                                         9          Q. Okay.
     10             Do you see that?                                  10          A. But it was not in part of my treatment
     11          A. Yep.                                              11   plan yet, because there was not a treatment plan yet. It
     12          Q. And it states, November 8th, 2014.                12   wasn't until I met with Frontier and had to come up with
     13             Do you see that?                                  13   a treatment plan that I had to adhere to and see a
     14          A. Yep. That was the day after I left                14   counselor, do random drug tests, I had to do all of that
     15   treatment.                                                  15   stuff in order to come back to work.
     16          Q. Okay. And that was the day -- strike that.        16          Q. Okay. I'm going to show you what has been
     17             So that's the date on which this was sent         17   marked as Brigham -- Brigham Exhibit 11.
     18   to Frontier, correct?                                       18          A. Hold on. My -- if my computer messes up,
     19          A. Correct.                                          19   I'm sorry. It's downloading software, doing something
     20          Q. Okay. And as of that day, you were aware          20   weird.
     21   that you needed to avoid layovers.                          21          Q. It's taking me a second to get this
     22             Am I right about that?                            22   document up anyway, so...
     23          A. It was talked about, yes, but it wasn't           23          A. Okay.
     24   until I saw Marla again that -- so Frontier had their       24          Q. Let me know when you're clear.
     25   self-disclosure policy, which I'm sure you've seen it,      25          A. Can you see me?

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      1         Q. I can see you.                             1                   A. Yes.
      2         A. Okay. I can't see you.                     2                   Q. Okay. And have you?
      3         Q. Oh, it says my screen sharing is paused.   3                   A. Yes.
      4         A. Yeah, my computer is doing something       4                   Q. And is this the true and correct copy of
      5   weird. Hold on.                                     5             the medical certification that was submitted to Frontier?
      6         Q. I've got it up again.                      6                   A. It -- from what I've seen, it appears to
      7         A. Okay. I'm back. I think we've got it.      7             be, what I have seen.
      8         Q. Okay. I've pulled up for you Brigham       8                   Q. Okay. It states that, The approximate date
      9   Exhibit 11.                                         9             condition commenced was June 2014.
     10         A. Okay.                                     10                      Do you see that?
     11         Q. And the Bates stamp on this is            11                   A. Yes.
     12   BrighamR_PlaintiffRecords 670-1.                   12                   Q. And is that when you first began seeing
     13             Do you see that?                         13             Dr. Madrid?
     14         A. Yes.                                      14                   A. Yes.
     15         Q. Okay. And this is a Certification of      15                   Q. And actually, let me clear something up.
     16   Healthcare Provider for Employee's Serious Health 16                       Is -- is Marla Madrid a doctor.
     17   Condition.                                         17                   A. She is -- well, was my therapist.
     18             Do you see that?                         18                   Q. Okay. Is she a medical doctor?
     19         A. I do.                                     19                   A. I don't know.
     20         Q. Is this your handwriting on the first     20                   Q. You don't know either way?
     21   page of the document?                              21                   A. I don't know if she is -- went to school
     22         A. That is not.                              22             and got her Ph.D. and stuff like that. I don't -- I
     23         Q. Okay. Do you know who filled this out? 23                mean, she's not a medical doctor that was treating like a
     24         A. No clue by this handwriting.              24             cough for me. She was my mental health doctor.
     25         Q. Okay. Let me -- I'm just going to go down 25                   Q. Okay. In number 6 on PDF page 2 of the
                                                            Page 147                                                          Page 149
      1   to the end.                                                   1   document, it says, Is the employee unable to perform any
      2             Have you seen this document before?                 2   of his/her job functions due to their condition?
      3          A. You have to go slower, so I can read it.            3             Do you see that?
      4          Q. Okay. It's dated the 10th of March, 2015.           4          A. Yes.
      5             Do you see that?                                    5          Q. And she marked the box no, correct?
      6          A. Yep.                                                6          A. Correct. What you had put up in front of
      7          Q. And by Marla M. Madrid.                             7   me before were the --
      8             Do you see that?                                    8          Q. I just asked the question --
      9          A. Yes.                                                9          A. No. You --
     10          Q. Does that help refresh your recollection on        10          Q. The question, Ms. Brigham, is --
     11   whether you've seen this before?                             11          A. No.
     12          A. I would have to see what's in the                  12          Q. -- she marked the box no? That's the
     13   document, Danielle. Of course, she signed it. It's           13   question.
     14   dated, but I need to see the document to let you know if     14          A. But I'm allowed to talk after you. You
     15   I have seen it before.                                       15   wanted me to give clear, concise answers, and you asked
     16          Q. Well, we're going to go through it. I'm --         16   me in the beginning, if there's something you need to
     17   and I'm -- I'm just asking, does this refresh your           17   add, if you -- even later on, do so. So this is what I
     18   recollection. It sounds like the --                          18   am doing. So if you could go back to the page that you
     19          A. No.                                                19   were on, that would be great.
     20          Q. -- answer to that is no?                           20             And, yes, the functions of my job, the
     21          A. Yes.                                               21   ones that are in the description, I could perform all of
     22          Q. Okay. All right. We've got a part A,               22   those.
     23   Medical Facts. Looking this over, have -- does this          23          Q. Okay. But number 7 -- it says, Describe
     24   refresh your recollection as to whether you've seen this     24   other relevant medical facts. And I had highlighted the
     25   document before?                                             25   language, Results in anxiety, psychomotor agitation,

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      1   insomnia episodes, and at times inability to carry out      1            A. I don't see anything.
      2   daily activity.                                             2            Q. And I'm showing you the LCSW.
      3             Do you see that?                                  3            A. All I see is you and John and Caroline and
      4          A. Yes.                                              4     Laurel.
      5          Q. Was that accurate?                                5            Q. Sorry. I forgot to share my screen again.
      6          A. Yes.                                              6     Here you go.
      7          Q. Okay. And is there any mention here of a          7               Are you seeing the document now?
      8   need to avoid layovers?                                     8            A. Yes.
      9          A. No.                                               9            Q. And this is Brigham Exhibit 11. I'm
     10          Q. Okay. And on the next page, it says,             10     highlighting here this LCSW.
     11   Please indicate if any of the following apply to the       11            A. Okay.
     12   patient. She has checked, They will experience             12            Q. And I believe that stands for licensed
     13   intermittent incapacitation.                               13     clinical social worker.
     14             Do you see that?                                 14               Is that your understanding?
     15          A. Yep.                                             15            A. No. I have no understanding of the ending
     16          Q. And they will require treatment                  16     after people's names, except for doctor.
     17   appointments for their condition.                          17            Q. Do you have any reason to believe she's not
     18             Do you see that?                                 18     a licensed clinical social worker?
     19          A. Yep.                                             19            A. No.
     20          Q. And then she certifies you for four days a       20            Q. Bear with me a minute here. All right.
     21   month.                                                     21     I'm pulling up Exhibit 24.
     22             Is that right?                                   22               Are you seeing a document entitled,
     23          A. Yep.                                             23     Treatment Plan?
     24          Q. Okay. And you'll be attending followup           24            A. Yes.
     25   treatment one time per week for about two hours a week; is 25            Q. Okay. Do you recognize this document?
                                                            Page 151                                                                   Page 153
      1   that correct?                                                 1         A. Yes.
      2           A. Correct.                                           2         Q. And what is it?
      3           Q. Okay. And she states, Rebecca is in the            3         A. My original treatment plan.
      4   first phase of recovery from alcoholism. She is provided      4         Q. And this is dated May 1st, 2015; is that
      5   weekly therapeutic support and attends up to two group        5   correct?
      6   sessions a week to avoid relapse at this time.                6         A. Yep.
      7             Was that correct at the time?                       7         Q. Okay. So at this point, you'd been back to
      8           A. Correct.                                           8   work several months, correct?
      9           Q. She says, Within a year time frame, she is         9         A. Correct.
     10   hopeful to be in a place that will allow her to scale back   10         Q. About six months actually, right?
     11   on the levels of support she currently needs. She            11         A. Yep.
     12   continues to have setbacks and struggles, as she is          12         Q. Okay. It states that your DMS (sic)
     13   learning new skills, and a shift in mindset to see           13   diagnosis is alcohol withdrawal, general -- strike that.
     14   recovery through her lifetime.                               14              It states a number of DMS diagnoses here on
     15             Do you see that?                                   15   the left-hand side of the page.
     16           A. Yep.                                              16              Do you see that?
     17           Q. So here, Ms. Madrid or Dr. Madrid is saying       17         A. I see it.
     18   that it would be at least a year until you were able to      18         Q. And one of those is, Axis I, secondary
     19   scale this back, and that was hopeful, correct?              19   alcohol withdrawal.
     20           A. Correct.                                          20              Do you see that?
     21           Q. Okay. All right. I'm going to stop with           21         A. Yes.
     22   that one. And I'm pull up a website -- this is the beauty    22         Q. And was that your -- in your view, your
     23   of Zoom -- for Dr. -- for Ms. Marla Madrid, and it states    23   diagnosis of alcoholism?
     24   that she is an LCSW, which is a clinical social worker.      24         A. No. After you quit drinking, you have
     25             Do you see that?                                   25   what they call PAWS, post-acute withdrawal symptoms, that

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      1   can continue up to even 18 months. You can get agitated.      1   situation with a work schedule that serves as a
      2   You can get really bad anxiety. And it's all sort of          2   temptation, if possible. Her treatment plan and progress
      3   post-acute withdrawal symptoms.                               3   towards goals will be reviewed every 90 days.
      4           Q. Okay. And the question I wanted to ask you         4              Do you see that?
      5   is really just these two yellow highlighted items             5          A. Yes.
      6   (indicating).                                                 6          Q. So this is your treatment plan, right, that
      7              Did you fill out this document, or did             7   you've talked about today?
      8   someone else?                                                 8          A. Yes.
      9           A. I did not fill this out.                           9          Q. But this --
     10           Q. Do you believe, being familiar with this          10          A. I believe so.
     11   document, that this is an accurate representation of what    11          Q. -- wasn't submitted -- at least this
     12   you discussed with Ms. Madrid?                               12   particular form was not submitted in the form of a medical
     13           A. At the time, yes.                                 13   certification like the ones we've seen in the prior
     14           Q. And she had circled, Problems related to          14   exhibits leading up to this, correct?
     15   the social environment, yes.                                 15          A. I don't know how this was submitted or why
     16              Do you see that?                                  16   it was submitted. I know that we were going
     17           A. Yes.                                              17   through -- it might have been the DOT people. There was
     18           Q. But occupational problems, no.                    18   another agency that was involved that was requesting
     19              Do you see that?                                  19   information from Marla. And I believe this was one of
     20           A. Because at the time -- the only reason she        20   those requests. But I -- honestly, I don't know.
     21   put no there is because, at the time, I think I was able     21          Q. Okay. But this at least was not on the
     22   to avoid layovers. It wasn't until, I think, after this      22   same medical certification form -- the FMLA form that we
     23   that it started becoming a problem. But I didn't fill        23   saw, for instance, in Exhibit 11 --
     24   this out. I don't -- I can't speak to her mindset when       24          A. No.
     25   she was filling it out.                                      25          Q. -- which is right here?
                                                           Page 155                                                           Page 157
      1          Q. It states here, Criteria For Discharge,             1          A. No. This one isn't -- didn't come out
      2   Rebecca will have maintained a full-time job without          2   until May, it says.
      3   modifications for six full months.                            3          Q. Right. But it's not on the same form,
      4             Do you see that?                                    4   correct?
      5          A. I do.                                               5          A. Correct, the way it looks right here.
      6          Q. Okay. And it's dated June 15th -- sorry,            6          Q. All right. I'll pull up another exhibit.
      7   June 16th, 2015, I believe.                                   7   This will be Brigham Exhibit 12.
      8             Is that right?                                      8          A. Okay.
      9          A. Yes.                                                9          Q. And here we see -- oh, wait. I didn't
     10          Q. Okay.                                              10   share my screen, did I?
     11          A. And what she means there, I believe, is            11          A. No.
     12   when I'm able to start doing layovers again, and I           12          Q. I've gotten a little better. The last
     13   continue to see her for six months after everything goes     13   deposition, I kept scrolling through and not realizing I
     14   back to normal, then I can be done with therapy.             14   was scrolling through, and the witness couldn't see what I
     15          Q. And actually, I think this is going to help        15   was looking at -- or could only see what I was looking at.
     16   refresh. So at the last page of the document, which is       16             Okay. So Brigham Exhibit 12 is
     17   PDF page 2 of document, it states, Date of update,           17   Certification of Healthcare Provider for Employee's
     18   May 1st, 2015.                                               18   Serious Health Condition.
     19             Do you see that?                                   19             Do you see that?
     20          A. Yep.                                               20          A. Yes.
     21          Q. And it says, Rebecca has identified                21          Q. And this is that same form that we've seen
     22   triggers to cravings and opportunities to consume alcohol,   22   in prior exhibits such as Brigham Exhibit 11, correct?
     23   and those are on overnight trips or anything longer than a   23          A. Correct.
     24   given workday in her professional arena. At this time, it    24          Q. Okay. And I'm just going to scroll through
     25   would not be a good idea to encourage a vulnerable           25   it.

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      1              Is this your handwriting on the first page?    1     increase in cravings is frightening her. She is
      2          A. That is.                                        2     increasing face-to-face time in individual group and
      3          Q. Okay. And did you submit the form to            3     sponsorship arenas.
      4   Frontier?                                                 4               Was that all true at the time?
      5          A. I believe so.                                   5             A. Yes. This is when I was dealing with all
      6          Q. Okay. I'm just going through scroll down        6     the Frontier stuff.
      7   again. Actually, let me go to the end.                    7             Q. It states, Rebecca and her husband are
      8              This is Marla M. Madrid again, correct?        8     adapting to various stages in recovery. Within the next
      9          A. Yes. And I believe she's the one that           9     six months, she will work diligently at being proactive in
     10   faxed it over to Frontier or that other agency. I don't  10     reaching out to supports, as she is doing now. She will
     11   think I ever actually possessed these and handed them to 11     have reached a milestone in recovery, first anniversary in
     12   Frontier. I believe it was all done via fax or email.    12     sobriety, and will have -- I'm not sure what that word
     13          Q. Okay. And this one's dated May 28th, 2015;     13     is -- something further her self-regulation skills.
     14   is that right?                                           14               Do you see that?
     15          A. Yes.                                           15             A. Yes. I don't know what --
     16          Q. Okay. I'm just going to go through this        16             Q. Is it --
     17   one. And again, it says at the top that your approximate 17             A. -- the word is either.
     18   date condition commented was June of 2014, correct?      18             Q. -- "crafted"? "Will have crafted further"?
     19          A. Correct. Yes, and it's not when my             19               Was it true, at the time, that you were
     20   condition commenced. That's when I started seeing Marla. 20     working through all of this and working on your
     21          Q. Mm-hmm.                                        21     self-regulation skills?
     22              Okay. Number 6, Is the employee unable to     22             A. Yes.
     23   perform any of his/her job functions due to their        23             Q. Okay. It says, Initially, after a year of
     24   condition?                                               24     sobriety, she will undergo full physical exam, and the
     25              She checks no, correct?                       25     hope is that her mindset is strong and changed.
                                                          Page 159                                                          Page 161
      1          A. Correct.                                          1             Do you see that?
      2          Q. And under number 7, it states, Update,            2          A. Yes.
      3   Rebecca continues to struggle with cravings for alcohol,    3          Q. And nowhere on this document does she say
      4   and vulnerable situations are challenging. Relapse          4   that you need any kind of accommodation for avoiding
      5   prevention continues to be the priority in treatment, as    5   overnights or layovers, correct?
      6   she has noticed desire has increased, as home life is       6          A. Not that I see, nope.
      7   stressful, as she continues to adjust to sobriety.          7          Q. I'll stop the screen.
      8          A. Yeah.                                             8             I'm going to pull up Exhibit 42 -- Brigham
      9          Q. Was that an accurate statement at the time?       9   Exhibit 42. I'm showing you what has been marked as
     10          A. Yes.                                             10   Brigham Exhibit 42.
     11          Q. Okay. I'm scrolling down.                        11             Do you recognize this document?
     12              She states that you'll need intermittent        12          A. Yes.
     13   FMLA; is that correct?                                     13          Q. What is it?
     14          A. Yep.                                             14          A. It's a transcript of some recording that I
     15          Q. And she certifies for you 12 days a month,       15   have.
     16   correct?                                                   16          Q. Is this -- well, strike that.
     17          A. Yep.                                             17             On June 4th, 2015, did you attend a meeting
     18          Q. Okay. And again, she says, Frequency, one        18   at Frontier's general office?
     19   time per week, group two times per week for two hours at a 19          A. Yes.
     20   time.                                                      20          Q. Did you record that meeting?
     21              Is that right?                                  21          A. I did.
     22          A. Yep.                                             22          Q. Is this your transcription of the
     23          Q. Okay. And then at the end, she says,             23   recording?
     24   Rebecca is receiving support to prevent relapse. She is    24          A. No. I had a lady that my mom works with
     25   now in her eighth to ninth month of sobriety, and her      25   transcribe it for me.

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      1          Q. After having had that lady transcribe it,         1              Do you see that?
      2   did you review the transcript to see if it was true and     2          A. Yes.
      3   accurate?                                                   3          Q. And I'll represent to you, Ms. Brigham,
      4          A. Yes. And there were a bunch of -- a bunch         4   that this is a transcription that we had made of the
      5   of discrepancies with names and stuff that she couldn't     5   recording by a court reporter's office.
      6   hear. But...                                                6          A. Okay.
      7          Q. Did you correct those?                            7          Q. I'm just trying to find that same language.
      8          A. No. I think a few places where I thought          8              Are you seeing my search box, by the way?
      9   it was relevant, I kind of wrote in. But I never went in    9          A. Yes.
     10   and altered the document in any way.                       10          Q. Okay.
     11          Q. On the first page -- well, strike that.          11          A. Yes, where it says, Options for internal
     12             Was there anything inaccurate about the          12   transfers, not FMLA transfers.
     13   words that are taken down here?                            13          Q. Got it. Okay. So this transcript looks
     14          A. Not in this that I see right here.               14   more accurate; is that right?
     15          Q. Okay. And look --                                15          A. Yes. Yes.
     16          A. But honestly, Danielle, I'd have to have         16          Q. Okay. Okay. So it states from you,
     17   the recording playing to know if there was a word off.     17   Rebecca Brigham, Okay. Awesome. And then my other
     18          Q. Right. And I guess the question I have for       18   question is, how do I find out if there are any other
     19   you is, did you read through it at the time or at any time 19   options for internal transfers besides, like, inflight
     20   prior to this deposition for accuracy, and if so, did you  20   managers, I mean?
     21   find anything inaccurate about the words that were spoken? 21              Do you see that?
     22          A. I couldn't tell you what, but, yes, there        22          A. Yes.
     23   were inaccuracies.                                         23          Q. And is that a question that you asked?
     24          Q. Okay. Well, let's go through -- let's just       24          A. Yes.
     25   go through the point -- parts that I was going to ask you  25          Q. And then Cassandra -- who's Cassandra?
                                                          Page 163                                                        Page 165
      1   about. I'm actually going to only ask you about one        1           A. Cassandra Micklich. She was sort of, I
      2   page here, and we can talk about whether there's anything 2     think, below Jerry. I don't know her exact title. But
      3   inaccurate on that page.                                   3    we have tried to find her to get a statement, and we
      4         A. Okay.                                             4    can't find her.
      5         Q. This is going to be PDF 12.                       5           Q. Okay. She says, Did you check the website?
      6         A. And then whenever it's convenient, if we          6              Do you see that?
      7   could take another quick break, so I could check on the    7           A. Yes.
      8   kids.                                                      8           Q. Were you aware that there was a website you
      9         Q. Absolutely. Okay. So we're on PDF                 9    could check for open positions?
     10   page 12. And there appears to be a discussion between you 10           A. No, not at that time.
     11   and Cassie.                                               11           Q. And you say, I don't know, what is it, just
     12            Do you see that?                                 12    on the --
     13         A. Yeah, that's not correct.                        13              Do you see that?
     14         Q. And what's not correct about it?                 14           A. Yes.
     15         A. "Options for FMLA transfers," I --               15           Q. And she directs you to myfrontier.org.
     16         Q. Okay.                                            16              Do you see that?
     17         A. I don't know what an FMLA transfer is.           17           A. Correct.
     18         Q. Let me -- I'm just pulling up another            18           Q. Did you then go to myfrontier.org to look
     19   exhibit.                                                  19    for positions that you could potentially transfer into?
     20            Are you seeing a document called, Civil          20           A. It was later on that day or the following
     21   Action Number 19 CV?                                      21    day that I did.
     22         A. Yes.                                             22           Q. So you were able to successfully look for
     23         Q. Okay. And this has been marked Brigham           23    potential transfer options; is that right?
     24   Exhibit 32. The Bates stamp is                            24           A. Yes.
     25   FRONTIERAIRLINES(R.BRIGHAM)- 4274.                        25           Q. And what did you find when you looked?

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      1         A. From -- honestly, from my memory, I                            1              Do you see that reference?
      2   remember seeing a bunch of stuff that I was not quite                   2         A. Yes.
      3   qualified for. And then at some point, I stopped,                       3         Q. And she says, Please refer to page 81 of
      4   because I had been told that, You'll lose your seniority,               4   123. It talks about the process and seniority.
      5   and you won't be able to go back to inflight after                      5              Do you see that?
      6   90 days.                                                                6         A. Yes.
      7         Q. Okay. And that -- that is the conversation                     7         Q. And is that a reference to the Collective
      8   that you had with Jeff Varney --                                        8   Bargaining Agreement?
      9         A. I believe so.                                                  9         A. I don't remember. Is that the one that
     10         Q. -- is that correct?                                           10   you put in front of me earlier?
     11         A. I believe so, yeah.                                           11         Q. Yes. Let me see if I can cross-reference
     12              MS. KITSON: Okay. We can go off the                         12   it. Hold on. Bear with me one moment here.
     13   record and take a break now, if you'd like.                            13         A. No worries.
     14              THE DEPONENT: Okay.                                         14         Q. Yes. Okay. Yeah, let's cross-reference
     15              THE VIDEOGRAPHER: We're going off the                       15   these. So I'm going to share my screen with you. Okay.
     16   record at 1:03 p.m.                                                    16   So Brigham Exhibit 14 is the email that we have been
     17              (Recess from 1:03 p.m. to 1:17 p.m.)                        17   looking at.
     18              THE VIDEOGRAPHER: We're going back on the                   18              Do you see that?
     19   record at 1:17 p.m.                                                    19         A. Yes.
     20         Q. (By Ms. Kitson) Ms. Brigham, do you                           20         Q. And Ms. Micklich tells you to, Please refer
     21   understand you're still under oath?                                    21   to page 81 of 123. It talks about the process and
     22         A. Yes.                                                          22   seniority.
     23         Q. I'm going to show you another document. As                    23              Do you see that?
     24   you can tell, this is the march through the documents                  24         A. Yes.
     25   portion of the deposition.                                             25         Q. And then if we look at Brigham Exhibit 1,
                                                                      Page 167                                                                 Page 169
      1         A. No worries.                                                    1   which is the Collective Bargaining Agreement, you can see
      2         Q. All right. I'm showing you what has been                       2   page 81 of 123 --
      3   marked as Brigham Exhibit 14, which appears to be an email              3         A. Yes.
      4   from Cassandra Micklich to you, dated June 4th, 2015.                   4         Q. -- here at the bottom.
      5              Do you see that?                                             5            Do you see that?
      6         A. Yep.                                                           6         A. I do.
      7         Q. Do you recall receiving this email?                            7         Q. And scrolling up, there's the same
      8         A. I do.                                                          8   language, again, that talks about how you accrue seniority
      9         Q. All right. Ms. Micklich says, Rebecca,                         9   for a period not to exceed two years.
     10   thank you for coming in and meeting with us today. I did               10            Do you see that?
     11   get some answers to your questions.                                    11         A. I do.
     12              Do you see that?                                            12         Q. Does that refresh your recollection that
     13         A. Yep.                                                          13   the company told you about the two years of seniority that
     14         Q. And is this that same day of the transcript                   14   you would retain?
     15   that we saw, June 4th, 2015?                                           15         A. No. I didn't even know what document that
     16         A. I believe so.                                                 16   she was even referring to. It didn't say in the
     17         Q. Okay. Ms. Micklich says, Number 1, OJI                        17   Collective Bargaining Agreement or the employee handbook.
     18   working at the GO, if that was an option for you. A, That              18   To be honest, I didn't even look, because I'd already
     19   is not an option. The GO is only to accommodate OJI.                   19   been told that you lose your seniority after 90 days.
     20              Do you see that?                                            20         Q. Well, Ms. Micklich is directing you and
     21         A. Yep.                                                          21   telling you to, Please refer to page 81 of 123, right?
     22         Q. And does OJI stand for on-the-job injury?                     22         A. Yes. But it doesn't say what page 81 of
     23         A. Yes.                                                          23   123. I didn't know if it was in the handbook or the CBA.
     24         Q. Okay. And then says, Number 2,                                24   And like I said, I did not look, because I had already
     25   transferring internally with the company.                              25   been told.

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      1          Q. Well, this is the exact same day that you           1             Wouldn't that suggest to you that it's the
      2   met with Ms. Micklich, correct?                               2   Collective Bargaining Agreement she's talking about?
      3          A. Correct.                                            3           A. Not really, necessarily. I would
      4          Q. And on that exact same day, we saw in the           4   have -- personally, when I looked at that, I figured it
      5   transcript you talked about internal transfers, correct?      5   was probably the handbook, not the Collective Bargaining
      6          A. Correct.                                            6   Agreement.
      7          Q. And she said she'd have to look into it,            7           Q. The handbook doesn't address seniority,
      8   correct?                                                      8   correct, that's the CBA?
      9          A. Correct.                                            9           A. I don't know. I believe the handbook
     10          Q. And she's now coming back to you on the            10   addresses it as well.
     11   exact same day and saying, Please refer to page 1 -- 81 of   11           Q. All right. Looking at Exhibit 43 --
     12   123; is that right?                                          12           A. And to be honest, Danielle, I remember
     13          A. Yes, but it doesn't say what document              13   seeing somewhere about -- I'm trying to think where I saw
     14   she's referring to. Page 81 of what?                         14   it -- about seniority, and I couldn't keep my -- go back
     15          Q. Did you ask her? Did you --                        15   to inflight. And I'm not going to remember.
     16          A. No, I did not.                                     16           Q. I'm just kind of looking through the
     17          Q. You say, The reason --                             17   handbook here to see if there's something there.
     18          A. I had no reason.                                   18           A. Yeah.
     19             THE REPORTER: One at a time.                       19           Q. Hold on. I'm almost through it. No, I
     20          Q. (By Ms. Kitson) You just testified that it         20   don't think so. All right.
     21   could be the handbook, it could be the Collective            21             Well, in any event, let's look back at
     22   Bargaining Agreement.                                        22   this --
     23          A. I --                                               23           A. Okay.
     24          Q. Did you look at any one of those?                  24           Q. -- Exhibit 43.
     25          A. I did not.                                         25             And you had testified that this is a
                                                            Page 171                                                          Page 173
      1              MR. CRONE: Danielle, can I ask for a            1      transcript that was made of a recording that you took at a
      2   point of clarification?                                    2      meeting at Frontier headquarters on October 9th, 2015.
      3              MS. KITSON: It depends.                         3                 Is that correct?
      4              MR. CRONE: Well, I guess I just have to         4             A. Correct.
      5   ask. Is -- is Frontier stipulating that it would have      5             Q. And once again, is this a transcription
      6   treated this transfer as -- as on account of physical      6      that a friend of yours made?
      7   injury or illness right now? Is -- is --                   7             A. Yes.
      8              MS. KITSON: Well, no, I'm not going to          8             Q. Okay. And did you review it for accuracy?
      9   answer substantive questions about the case, John. This    9             A. Not in its entirety.
     10   is a deposition. I -- I'm questioning a witness,          10             Q. Were there any things that you found to be
     11   so -- all right.                                          11      inaccurate?
     12              MR. CRONE: And -- and you're free to do        12             A. Yes. In all of them, there were stuff
     13   so. I was just asking for -- if I could ask a point of    13      that was inaccurate.
     14   clarification. The answer apparently is no.               14             Q. I'm going to cross-reference -- oops. Bear
     15          Q. (By Ms. Kitson) Okay. I am going to pull        15      with me. Brigham Exhibit 33 that I'm showing you is
     16   up the next document, Exhibit 43.                         16      another transcription that we had made --
     17              Do you recognize Brigham Exhibit 43?           17             A. Okay.
     18          A. Yes.                                            18             Q. -- with Hunter + Geist, which is a court
     19          Q. And what is this document?                      19      reporter service.
     20          A. This is the second transcript of the            20             A. Okay.
     21   recording.                                                21             Q. And I'm showing you -- it's, Transcription
     22          Q. I want to ask you too about the last            22      of Recording, October 9th, 2015.
     23   document we just looked at. Ms. Micklich said that the    23                 Do you see that?
     24   document would provide the answer about seniority and the 24             A. Yep.
     25   process.                                                  25             Q. I'm just going to use that to -- for the

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      1   part that I'm questioning you about, I just want to make    1    her --
      2   sure we cross-reference, so that there's no -- you know,    2             A. Correct, yes.
      3   no question about whether the wording is accurate.          3             Q. Okay. And she suggested you go and look
      4              And on Brigham Exhibit 44 -- sorry -- 43,        4    there for job listings, correct?
      5   I'm looking at PDF pages 3 and 4. So let me go to 3 here. 5               A. Correct.
      6   The red highlighting here (indicating) and the              6             Q. And she states -- I'm back on Brigham
      7   highlighting throughout the document. I saw some red        7    Exhibit 43 -- and, I mean, I would strongly suggest --
      8   highlighting, some yellow highlighting, some blue           8    like start looking at it, and you might want to look at it
      9   highlighting.                                               9    every week, because a lot of times jobs are only posted
     10              Is that your highlighting throughout?           10    for one week. So I would just get in the habit, in fact,
     11          A. Yes.                                             11    every Monday, getting on there and seeing what's new on
     12          Q. Okay. So this red here (indicating) is           12    there. Every Monday and every Friday and see what's in
     13   your highlight, correct?                                   13    there, because there is all these different opportunities
     14          A. Correct.                                         14    that you probably aren't even aware that exist, right?
     15          Q. Okay. Okay. And then I wanted to just            15    And it might not necessarily be an inflight, but there
     16   walk you through -- there's a conference that you had with 16    is -- you know, there is a lot happening. So, I mean,
     17   Kari.                                                      17    it's -- since you want to stay with Frontier, and I know
     18              Do you see that?                                18    it's the flight attendant job, but I don't think it's
     19          A. Yes.                                             19    going to get easier with the schedule.
     20          Q. Who is Kari?                                     20                Do you see that language?
     21          A. Kari Thompson.                                   21             A. Yes.
     22          Q. Okay. And who was she with respect to you? 22                   Q. And did she, in fact, suggest that you go
     23   Is she your manager?                                       23    into UltiPro at least weekly?
     24          A. She was not my direct manager. She was a         24             A. Yes.
     25   different Inflight supervisor who happened to be the one 25               Q. If not every Monday and every Friday?
                                                           Page 175                                                          Page 177
      1   who was at the general office that day.                      1           A. Yes.
      2          Q. Okay. She says, Have you ever looked at            2           Q. And did you do that?
      3   other positions within the company, or are you not           3           A. Occasionally, I would go on there, but
      4   interested in it? You answer, No, I talked to training at    4   most of -- it either did not interest me or I didn't
      5   one point, and that might be good, or I just -- I don't      5   qualify, frankly.
      6   know where to look. I don't know.                            6           Q. Okay. And at this point, was it your
      7             Do you see that?                                   7   understanding that you would not be able to keep your
      8          A. Yes.                                               8   seniority after 90 days? Was that your understanding at
      9          Q. And then Ms. Thompson says, On UltiPro.            9   this time?
     10             Are you aware what she's referring to             10           A. Yes.
     11   there?                                                      11           Q. And did you continue to look after that?
     12          A. UltiPro, I believe, was a system that we          12           A. Occasionally.
     13   used at the time. UltiPro would have been like where our    13           Q. Okay. Why'd you --
     14   paycheck stubs and stuff were.                              14           A. But it was something that -- it was
     15          Q. Mm-hmm. So you knew where to look on              15   something that was not -- at the time -- I mean, I know
     16   UltiPro, and you knew what she was talking about. I         16   better now, because I've seen it.
     17   believe it's UltiPro, with a U, but --                      17             But at the time, when I thought I was
     18          A. I --                                              18   going to lose my seniority after 30 days, it sort of
     19          Q. -- you knew that -- you knew what she was         19   wasn't exactly in my realm of possibilities. I mean, I
     20   talking about?                                              20   still looked. You never know, there could be some
     21          A. I knew that she was talking about UltiPro,        21   awesome job listed that was like, Oh, hey, I could do
     22   but I didn't know like where to sort of look in there.      22   this. But it was not looking with the intent to actually
     23   Cassie had told me to go to flyfrontier.com, which I had    23   transfer, because I was a flight attendant. That's what
     24   done. I don't remember if I went to UltiPro or not.         24   I was good at. That's what I loved doing. That's all I
     25          Q. Okay. But you knew what UltiPro was in            25   wanted to do. And had Frontier, honestly, reasonably

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      1   accommodated me, it would have been easy to keep that      1     Frontier employees, dated Monday October 6 -- 26, 2015.
      2   job.                                                       2                 Do you see that?
      3          Q. I'm struggling with this, because you said       3            A. Yes.
      4   you would not entertain a transfer because of the 90-day   4            Q. Is this a true and correct copy of an email
      5   seniority thing, but then you're looking, but then you're  5     that you sent to the Leave of Absence Department?
      6   testifying that you're looking, but not to actually        6            A. Yes.
      7   transfer.                                                  7            Q. It says, I woke up this morning in a panic.
      8             Do I have that right?                            8     I forgot to send you an email on Friday. I had to use my
      9          A. You do. I still looked in there. You             9     intermittent FMLA on 10-23 for a four-day, but I kept the
     10   never know. There may have been an at-home --             10     PDX turn on the end.
     11   work-from-home position doing something that I qualified 11                  Do you see that?
     12   for, in which case, something like that, I would have     12            A. Yes.
     13   considered. However, I did not want to lose my            13            Q. And I think we talked about this earlier,
     14   seniority.                                                14     but is it true that you did not follow the required
     15          Q. Hold on one second here. I'm just               15     call-out procedures for that 10-23 trip?
     16   searching for something really quick. All right. Bear     16            A. Correct.
     17   with me one moment.                                       17            Q. Okay.
     18             I want to show -- go back to an exhibit I       18            A. And I already explained that there was a
     19   just showed you --                                        19     turn that was taken off, that I had to call
     20          A. Okay.                                           20     Stefanie Coppedge and do all that stuff, to figure out
     21          Q. -- a moment ago. This is Brigham                21     why they were not allowing me to do what I had been
     22   Exhibit 32. And this, just to remind you, is the          22     doing, if something had changed, which I'll take that
     23   transcript of the meeting you had with Cassie Micklich on 23     point. That's fine. That is my fault.
     24   June 4th, 2015.                                           24                 I'm arguing about all the points before
     25             Do you see that?                                25     that were coded as sick, when, if Frontier would have
                                                           Page 179                                                          Page 181
      1          A. Yes.                                               1   just reasonably accommodated me, I would not have.
      2          Q. And to try to refresh your recollection, in        2          Q. Okay. I'm going to show you another
      3   that conversation, it looks like you and Mr. Arellano are    3   document here. Just a second. Hold on one second. I'm
      4   having a discussion here on page 32 of the PDF. And          4   looking at the final transcript. I'm just trying to do
      5   you're talking about medical leave.                          5   the cross-reference thing real quick.
      6             Do you see that?                                   6          A. And I noticed on one of the other
      7          A. Mm-hmm.                                            7   transcripts that you had put out that was your guys', I
      8          Q. And you say, As per our contract, it counts        8   believe the name of the person that was talking was
      9   as a point.                                                  9   incorrect.
     10             Do you see that?                                  10          Q. Yeah. It said, Meredith. I think that was
     11          A. Yes.                                              11   a --
     12          Q. Is the contract you were referring to the         12          A. Yeah.
     13   CBA?                                                        13          Q. -- phonetic, because we also did not help
     14          A. Yes.                                              14   the transcriptionist --
     15          Q. Okay. So you did review the CBA in terms          15          A. Okay.
     16   of --                                                       16          Q. -- with names or anything like that.
     17          A. No. It was all what I had been told. To           17          A. Okay.
     18   be honest with you, Danielle, I don't know if I ever even   18          Q. So it's kind of -- I mean, we'll probably
     19   looked at the contract. It was stuff that I had been        19   have to listen to the exact recording, but --
     20   told by other people that I trust. And it was something     20          A. Yeah.
     21   that we dealt with previously, where I was told that if I   21          Q. -- that's so cumbersome for, you know,
     22   reach termination points, then that medical point will be   22   deposition purposes, that we're going to just kind of try
     23   taken off. But, obviously, it still counts as a point.      23   to do our best.
     24          Q. I'll show you another document. This is           24          A. Right.
     25   Exhibit 15. Exhibit 15 is an email from yourself to LOA     25          Q. Okay. I'm going to share my screen with

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      1   you here. Okay. This is Brigham Exhibit 44.                   1   find the contract and figure out if that is, in fact,
      2             Do you recognize this document?                     2   legal.
      3          A. Yes.                                                3             Do you see that?
      4          Q. Okay. And what is it?                               4          A. Yes.
      5          A. It is the final meeting.                            5          Q. Did you find the contract?
      6          Q. Okay.                                               6          A. I honestly can't remember if I found it or
      7          A. On -- the investigatory meeting.                    7   not.
      8          Q. Okay. And what was the purpose of this              8          Q. And is the contract a reference to the
      9   meeting?                                                      9   Collective Bargaining Agreement?
     10          A. It's what -- hold on. I have -- it's what          10          A. Yes.
     11   we call the final termination hearing. It's basically,       11          Q. Did you ever go over any provisions of the
     12   they're going to fire you, but this is your one chance to    12   Collective Bargaining Agreement with the union in the
     13   try and argue that they shouldn't, basically.                13   grievance process?
     14          Q. Okay. I'm going to show you pages 2 and 3          14          A. Not that I can remember specifically. I
     15   of the PDF. And this is just going over again. I think       15   just remember them saying that what I was asking for
     16   you just said it. You say here on PDF page 2, And that is    16   would not violate the Collective Bargaining Agreement.
     17   honestly -- like I take that. It is my fault for not         17          Q. I'm going to pull up another document here.
     18   sending the email right away.                                18   This will be Brigham Exhibit 46.
     19             So is that -- what you're saying right             19             Do you recognize Exhibit 46?
     20   there what you just testified to, which is basically that,   20             It appears to be a -- a photo of a phone,
     21   yes, that point was fairly assessed to you?                  21   and --
     22          A. Yes.                                               22          A. Yes.
     23          Q. Okay. I think that's all I wanted to ask           23          Q. -- on the top, it says, Stefanie Coppedge.
     24   you about. Okay. On the same transcript -- so Brigham        24             Do you see that?
     25   Exhibit 34 is a transcription that we had made for the       25          A. Yes.
                                                            Page 183                                                        Page 185
      1   same meeting, November 3rd, 2015.                             1          Q. What is this document?
      2             Do you see that date here?                          2          A. These were text messages between me and my
      3          A. Yes.                                                3   direct supervisor.
      4          Q. And this is, again, our court reporter,             4             Hold on just a second, Danielle.
      5   Hunter + Geist. And I'm just going to ask you, again,         5          Q. Oh, sure.
      6   about the CBA and the contract.                               6          A. Okay. My kids are kind of getting
      7          A. Okay.                                               7   restless. I apologize.
      8          Q. You're speaking with someone in this                8          Q. Okay. Let me just pull that document back
      9   meeting -- let me scroll up just a bit. Someone named         9   up for you. Hold on.
     10   Female 2. And then you say, And then all of a sudden, I      10          A. Okay.
     11   was on hold for about five minutes, and then she came        11          Q. Okay. We're back looking at Brigham
     12   back, and she's like, Let me call you back. So she called    12   Exhibit 46. And you stated that these are text messages
     13   me back and said, One of the days on either end has to be    13   that you exchanged with your direct supervisor.
     14   all intermittent FMLA, which has never happened to me        14             Is that right?
     15   before.                                                      15          A. Yes, Stefanie Coppedge -- Coppedge,
     16             Do you see that?                                   16   however she says it.
     17          A. Yes.                                               17          Q. And in these text messages, are you the
     18          Q. And is this reference, again, to that              18   blue bubbles throughout, and she's the yellow bubbles?
     19   October 23rd trip and what happened?                         19          A. I believe so, but hold on. Stop scrolling
     20          A. Yes.                                               20   for a second. Yep, I'm the blue.
     21          Q. Okay. Female 2 says, Right. And you                21          Q. Okay. And I wanted to just ask you about a
     22   continue on, So I was kind of flustered with that, but       22   couple of different pages here.
     23   anyways, I told her, Okay. Well, then the Portland turn      23          A. Okay.
     24   is worth more, I'll keep the Portland turn. So after that    24          Q. This is page 22 of PDF.
     25   happened, I went to try to figure -- and figure out --       25             And are these photos that you took of these

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      1   texts?                                                    1      about whether you applied for jobs; is that right?
      2          A. Yes.                                            2             A. Correct.
      3          Q. Okay.                                           3             Q. And then she's asking about helping in
      4          A. That phone is no longer -- that phone is        4      Inflight. Okay. And she's -- this is the question I had.
      5   no longer on service for any carrier, so I couldn't,      5             A. Mm-hmm.
      6   like, screenshot and email them. So I just took pictures  6             Q. You text back, That, and all of the jobs I
      7   of them.                                                  7      saw on UltiPro, I didn't qualify for.
      8          Q. Okay. At the top of this text message, on       8                Did you see that?
      9   Wednesday, November 12th, 2014, you're exchanging text 9                A. Yes.
     10   messages.                                                10             Q. Is it true that all of the jobs you looked
     11             Do you see that?                               11      at, you didn't qualify for?
     12          A. Yes.                                           12             A. All the jobs that I looked at, yes. Not
     13          Q. That was the day after your final              13      every single job on that page. Of course, I could have
     14   investigatory meeting; is that right?                    14      been a -- I could have probably transferred to baggage
     15          A. Yep.                                           15      handling or something like that, but that is in no way
     16          Q. Okay. You say, They are taking forever, at     16      what I wanted to do.
     17   1:46 p.m.                                                17             Q. Okay. You say, I also don't want to lose
     18             Do you see that?                               18      my seniority by switching out of inflight.
     19          A. Yeah.                                          19                Do you see that?
     20          Q. And then Ms. Coppedge responds, Yes.           20             A. Yes.
     21   Andrea said she would know something around 3:00. Not 21                Q. And that's what we -- you had testified
     22   sure what that means.                                    22      for -- about before, correct?
     23             Do you see that?                               23             A. Yes.
     24          A. Yes.                                           24             Q. I want to ask you in general about your
     25          Q. You respond, Okay, thanks. They probably       25      conversations with Stefanie Coppedge about all of these
                                                          Page 187                                                                    Page 189
      1   turned it over to legal, or maybe they will just offer me    1   issues you've been testifying about today.
      2   money to go away.                                            2          A. Yes.
      3              Do you see that?                                  3          Q. So at some point in time, did you discuss
      4          A. Yes.                                               4   with Ms. Coppedge your various requests for accommodation
      5          Q. Did you want them to offer money to go             5   with Frontier?
      6   away?                                                        6          A. Yes.
      7          A. No, it was -- honestly -- no. We had               7          Q. On how many occasions did you speak with
      8   discussed that Frontier -- from my memory, we had            8   her?
      9   discussed that Frontier tends to just offer money to have    9          A. Lots. She and I talked quite a bit. She
     10   it be settled.                                              10   was also the one that told me that I was protected under
     11          Q. Were you hoping that they would offer you         11   the ADA, and that I should look into that, which is what
     12   money to settle?                                            12   made me start going down -- realizing that I was a
     13          A. No. I wanted my job. I wanted to keep my          13   protected person by the ADA. And that's why, in that
     14   job. And that's what I was fighting for in that             14   investigatory meeting, I mentioned that it was illegal
     15   investigatory meeting.                                      15   what was happening and that I was under the category of
     16          Q. I'm going to show you page 25 of the PDF.         16   the ADA.
     17   I'm going to scroll down here. Ms. Coppedge says, Hmm,      17          Q. What specifically did Ms. Coppedge tell you
     18   Jerry said he mentioned to you to apply for other jobs at   18   about that topic?
     19   Frontier, and you haven't. I said I know you sent an        19          A. I don't remember really exact words or
     20   email to either Laura or Kari inquiring. Hadn't applied     20   anything. But I think she just mentioned that, Hey, you
     21   for any of those jobs.                                      21   need to look into the Americans with Disabilities Act,
     22          A. These ones are switched around.                   22   what they're doing is illegal.
     23          Q. These ones are split up, right?                   23          Q. Did she use those words, "what they're
     24          A. Yeah, Inquiring...                                24   doing is illegal"?
     25          Q. It looks like Ms. Coppedge is asking you          25          A. I can't tell you if those were the

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      1   specific words. But I can tell you, from my               1           Q. Okay. And you've got to let me get my
      2   conversations with Stefanie, she was not happy about what 2    questions out for the record. That's for -- for Laurel,
      3   was happening.                                            3    who probably has her hands up, although I can't see.
      4         Q. And you don't know if she used those words,      4              Okay. So let me -- let me get this out
      5   correct?                                                  5    again, okay? Because I want to make sure I have this
      6         A. Not definitively, I couldn't tell you.           6    down.
      7   But that was the general idea.                            7              Are you saying that Stefanie Coppedge
      8         Q. Who else at the company did you speak with       8    definitely told you that she believed that the
      9   about your requests for accommodation?                    9    company -- what the company was doing was illegal?
     10              You spoke with Stefanie Coppedge, correct?    10           A. I'm 99 percent sure, Danielle.
     11         A. Mm-hmm.                                         11           Q. She didn't use those words, correct?
     12         Q. You spoke with Jerry Arellano, correct?         12           A. I don't know if she did or not.
     13         A. Correct.                                        13           Q. And she --
     14         Q. You spoke with Kari Thompson, correct?          14           A. That's what I have -- so this is what I
     15         A. Mm-hmm.                                         15    have in my memory from, what, five years ago.
     16         Q. You spoke with --                               16           Q. Yeah. And so here's a question I have. I
     17         A. Cassandra Micklich.                             17    mean, clearly you have a recollection of her referring her
     18         Q. -- Cassie Micklich, correct?                    18    to the ADA, correct?
     19         A. Yep.                                            19           A. Correct.
     20         Q. Who else?                                       20           Q. And you have a recollection of her telling
     21         A. Adrienne Prince.                                21    you that alcoholism was a protected category, correct?
     22         Q. And who else?                                   22           A. Correct, and that what Frontier was doing
     23         A. I tried to talk to Laura Rush about it,         23    was wrong. I know for a fact that was said. I don't
     24   but that's when she sent me to Leave of Absence instead. 24    know if she said "illegal." But she said, What Frontier
     25   I mean, I had talked to quite a few people that I        25    is doing is wrong.
                                                         Page 191                                                          Page 193
      1   couldn't even tell you who they were now.                  1          Q. Okay. Because that is a distinction in my
      2          Q. Well, let me ask you this: In all of your        2   mind --
      3   conversations with Frontier personnel --                   3          A. Okay.
      4          A. Mm-hmm.                                          4          Q. -- between those two thing.
      5          Q. -- did anyone ever say to you that they          5             So here's what I want to ask you: Did you
      6   believed you were being discriminated against on the basis 6   ever talk with her about the specific accommodations that
      7   of a disability?                                           7   you requested?
      8          A. Yes.                                             8          A. Yes.
      9          Q. Who told you that?                               9          Q. Okay.
     10          A. I believe Stefanie.                             10          A. She knew everything that I was trying to
     11          Q. What exact words did she use?                   11   do.
     12          A. I couldn't tell you with 100-percent            12          Q. Did she ever say to you that she believed
     13   certainty, Danielle.                                      13   these accommodation requests were reasonable as a legal
     14          Q. So what you recall is that she referred you     14   matter under the ADA?
     15   to the ADA and suggested that you look into it, correct?  15          A. She did say that, I don't understand why
     16          A. Yes. And she said that you                      16   they're not giving you any of these, from my memory.
     17   are -- alcoholism is covered under the ADA, and what      17          Q. Did she ever say to you anything along the
     18   they're doing is illegal. And I couldn't tell you if she  18   lines that she thought that these accommodation requests
     19   used those exact words or not, but that was what I got    19   were reasonable requests that had to be given to you as a
     20   out of it.                                                20   legal matter under the ADA?
     21          Q. That's what you inferred, but you -- she        21          A. Not in the legal mumbo-jumbo that you just
     22   didn't say -- at least you don't --                       22   said, but she said, I don't see why Frontier won't
     23          A. I can't tell what she did or --                 23   reasonably accommodate you.
     24          Q. -- you don't recall her saying --               24          Q. Okay. And did she say that in general, or
     25          A. -- didn't say.                                  25   was --

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      1         A. I guess.                                                      1   argument kind of thing in the meeting. And we had
      2         Q. -- it specific -- I guess, let me ask it                      2   discussed -- Adrienne and I were discussing how that
      3   this way: Was her -- were her comments just, in general,               3   wouldn't have violated the CBA, and they think
      4   I don't understand why they won't reasonably accommodate,              4   that -- they both said, Oh, I think you're going to be
      5   or was it specific as to -- you know, as to this                       5   okay here. Frontier can't legally fire you.
      6   accommodation request you made, I don't understand why?                6          Q. You just said that she didn't say anything
      7         A. I think it was specific, from my memory.                      7   about legalities.
      8         Q. Okay. Which specific request?                                 8          A. Right. This is Adrienne.
      9         A. The blank schedule, because she was there                     9          Q. Right. But either way, I mean -- what did
     10   when I was talking to Adrienne Prince before the meeting              10   Adrienne say about this specifically?
     11   as well when we were discussing that what I was doing                 11          A. I just told you. This is from my memory.
     12   would not violate the CBA, according to Adrienne Prince,              12   It is not word-for-word. But this is what I remember
     13   and Stefanie agreed.                                                  13   being said, Danielle.
     14         Q. Well, I mean, Stefanie, in that transcript,                  14          Q. Well, in that transcript, I didn't see
     15   she never says anything along the lines of a -- never                 15   anything about Adrienne commenting one way or the other
     16   mind. Strike that.                                                    16   about legalities, did you?
     17         A. This is a conversation we had before we                      17              MR. CRONE: Let me -- let me just put an
     18   went into the meeting.                                                18   objection on the record. It's been asked and answered.
     19         Q. Okay. And tell me exactly what she said in                   19   I think she's gone to great lengths to try to give you
     20   that conversation.                                                    20   the answer. That's the objection.
     21         A. And I can't tell you exactly, Danielle.                      21          Q. (By Ms. Kitson) You can answer.
     22   It's not recorded. But this is what I remember from my                22          A. What was the question?
     23   memory. Stefanie was great with me. She was the one                   23          Q. In the transcript, I didn't see Adrienne
     24   person that was, like, on my side, what they're doing is              24   anywhere commenting on legalities, did you?
     25   wrong. She is the one that helped me out so much.                     25          A. You would have to put the transcript up in
                                                                     Page 195                                                        Page 197
      1          Q. And what was your recollection of what she       1               front of me, and I would have to read it word-for-word.
      2   said? You said you can't remember exactly. But what was 2                         Q. Do you have any recollection of that being
      3   your general recollection?                                 3               mentioned in that specific meeting?
      4          A. Basically, she didn't agree with what            4                      A. You'd have to put the transcript in front
      5   Frontier was doing. She didn't -- she wanted them --       5               of me, Danielle.
      6          Q. But she didn't, as a legal -- she didn't,        6                      Q. I'm asking you about what you remember.
      7   as a legal matter, tell you that Frontier was              7                      A. I remember her saying that what I was
      8   discriminating against you, correct?                       8               requesting to do would not violate the CBA.
      9          A. She's not an attorney. No, she                   9                      Q. Okay. But you do not remember her saying
     10   didn't -- I mean, we weren't discussing it in attorney    10               something along the lines of it would be illegal to fire
     11   terms. We were talking about the ADA and that I was       11               you, correct?
     12   protected as being an alcoholic, and that what they were  12                      A. I do remember something along those lines
     13   doing was wrong. That's the whole reason she steered me 13                 being said, by both Stefanie and Adrienne. Now, if it
     14   to the ADA.                                               14               was being said --
     15          Q. Do you remember her at any point saying         15                      Q. But you testified earlier that you don't --
     16   specifically that this blank schedule concept would not   16               you testified earlier that you don't remember the exact
     17   violate the contract?                                     17               words, correct?
     18          A. I do remember discussing it before we went      18                      A. I don't understand where the disconnect is
     19   into the meeting with Adrienne.                           19               here, Danielle. I do not remember the exact words. But
     20          Q. To the best of your recollection, what          20               that is generally my memory. I do remember that. And I
     21   specific words did she use in that regard?                21               remember saying that, What they are doing is illegal.
     22          A. And I can't tell you specific words,            22               And nobody said, Oh, no, wait, hold on.
     23   Danielle, because I don't know. I just told you what I    23                      Q. One second. So I'm showing you again
     24   recall from my memory. We were discussing what I was 24                    Brigham Exhibit 33. Oops, this is the wrong one. We're
     25   asking, and I sort of told them where I was going with my 25               looking for the 11/3 meeting, right? 44. Actually, I

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      1   want to text searchable, so I'm going to go to 34.        1              THE VIDEOGRAPHER: We're going off the
      2           A. And I'm going to need a quick break after      2     record at 2:00 p.m.
      3   this, please.                                             3              (Recess from 2:00 p.m. to 2:14 p.m.)
      4           Q. Okay. And I am in -- just for the record,      4              THE VIDEOGRAPHER: We're going back on the
      5   I'm looking at Brigham Exhibit 34, which is the           5     record at 2:14 p.m.
      6   transcription that we had made of the November 3rd, 2015 6            Q. (By Ms. Kitson) Ms. Brigham, do you
      7   meeting.                                                  7     understand you're still under oath?
      8             Do you see that?                                8           A. Yes.
      9           A. Correct.                                       9           Q. We're almost done, actually. I'm just
     10           Q. Okay. And I'm going to do a word search       10     going to show you a few more exhibits. Hold on one second
     11   for "legal." And we're going to get "Legal Videography" 11      here. I'm showing you what has been marked as Brigham
     12   for all 29 pages. So instead, let me look for "illegal." 12     Exhibit 47.
     13             So no one used the word "illegal" in           13              Do you recognize this exhibit?
     14   this --                                                  14           A. Yes.
     15           A. Not during that transcript, no.               15           Q. What is it?
     16           Q. Or in that meeting in general, did they?      16           A. This is a pilot for Frontier Airlines that
     17           A. No.                                           17     was trying to get me into a network marketing thing.
     18           Q. Okay.                                         18           Q. His name is Dale Kinsey; is that correct?
     19           A. Obviously.                                    19           A. Correct.
     20           Q. I'm going to put in the word "law."           20           Q. Mr. Kinsey was not a manager at Frontier,
     21             No one talked about the law, did they?         21     correct? Did you hear the question? I'm sorry.
     22           A. Apparently not.                               22           A. I said, Correct.
     23           Q. Okay.                                         23           Q. Oh, okay. And Mr. Kinsey didn't have any
     24           A. Put in "ADA," which is a law.                 24     position with the union to your knowledge, correct?
     25           Q. Nobody said anything that anything was        25           A. Correct.

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      1   wrong, correct?                                             1          Q. Okay. I'm just going to ask you about a
      2              MR. CRONE: Danielle, maybe try "undue            2   couple of pages here. The first one is PDF page 7. And
      3   hardship."                                                  3   I'm actually going to PDF page 6.
      4           Q. (By Ms. Kitson) You can answer the               4             It appears that Mr. Kinsey's texts are in
      5   question, Ms. Brigham.                                      5   yellow; is that correct?
      6           A. Clearly not.                                     6          A. Yes.
      7           Q. All right. So just one last time for the         7          Q. And yours are in blue?
      8   record, you don't recall the exact words that anyone        8          A. Correct.
      9   used --                                                     9          Q. Okay. And again, we have Wednesday,
     10              MR. CRONE: Objection, asked and answered.       10   November 4th, 2015.
     11           Q. (By Ms. Kitson) -- with respect to --           11             Do you see that here in the document?
     12           A. I don't know how many times I have to --        12          A. Yep.
     13           Q. Can you let me get the question out?            13          Q. And that was the day after your final
     14              MR. CRONE: Yeah, I -- I apologize. And          14   investigatory meeting, correct?
     15   then when you do, the objection's going to be asked and    15          A. Correct.
     16   answered.                                                  16          Q. Okay. And you're talking about -- you say,
     17              MS. KITSON: That's lovely.                      17   I should know something by 3:00. I'm on pins and needles.
     18              (By Ms. Kitson) Ms. Brigham, the question       18             Do you see that?
     19   is, at no point do you remember the exact wording that     19          A. Correct.
     20   Frontier personnel used in terms of whether any conduct    20          Q. What were you waiting to learn?
     21   concerning you was illegal, correct?                       21          A. I was hoping that I would still have my
     22           A. Correct, but that was the general idea,         22   job, but I was just waiting to see the final outcome of
     23   they were violating the law.                               23   that investigatory meeting.
     24           Q. Okay. Do you want to take a break now?          24          Q. Okay. And you say, LOL. I just want to
     25           A. Yes, please.                                    25   know either way, those fuckers. I'm sure they are doing

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      1   it on purpose.                                                           1   general, I think I'm almost done. If I could just have
      2             Do you see that?                                               2   five minutes here to organize my notes so that I can kind
      3          A. Yes.                                                           3   of close out, that would be great.
      4          Q. What is that a reference to?                                   4              Could we go off the record?
      5          A. Torturing me.                                                  5              THE DEPONENT: Yeah.
      6          Q. Okay. And did you view the personnel at                        6              MR. CRONE: Hey, Danielle, do you mind if
      7   Frontier to be, quote, fuckers?                                          7   we did ten minutes again? I know we just did it, but
      8          A. In this instance, yes.                                         8   then I can organize my notes. I just have a few
      9          Q. So page 11. And again, he has a text from                      9   follow-up questions, and then I'll be ready to go.
     10   you, and I'm just going to ask you about the last part.                 10              MS. KITSON: Absolutely. We have plenty
     11   You say, I want punitive damages, because this is                       11   of time. So yeah.
     12   bullshit.                                                               12              THE VIDEOGRAPHER: We're going off the
     13             Do you see that?                                              13   record at 2:20 p.m.
     14          A. Yes.                                                          14              (Recess from 2:20 p.m. to 2:33 p.m.)
     15          Q. Are you seeking punitive damages in this                      15              THE VIDEOGRAPHER: We're going back on the
     16   case?                                                                   16   record at 2:33 p.m.
     17          A. Absolutely.                                                   17         Q. (By Ms. Kitson) Ms. Brigham, do you
     18          Q. And how much money are you going to ask a                     18   understand you're still under oath?
     19   jury for?                                                               19         A. Yes.
     20          A. I don't want what happened to me to happen                    20         Q. I wanted to ask you about your case. We
     21   to anybody else. So I will ask the jury for the maximum                 21   were talking about the fact that you'd be seeking punitive
     22   amount that they can give. Frontier knew what they were                 22   damages.
     23   doing was wrong and continued to terminate me anyways,                  23              Is that -- do you remember that testimony?
     24   even after I brought up the ADA. They knew what they                    24         A. Yes.
     25   were doing was wrong and did it anyways, and that is                    25         Q. As part of your damages, will you be

                                                                       Page 203                                                                   Page 205
      1   grounds for punitive damages.                                            1   seeking emotional distress damages, so damages --
      2            Q. Page 12, same reference. Still nothing                       2         A. Yes.
      3   from the company, fuckers. I'm speaking with an attorney                 3         Q. -- for how you've been impacted?
      4   today.                                                                   4         A. Yes.
      5               Is that, again, a reference to Frontier's                    5         Q. And can you tell us, how have you been
      6   personnel?                                                               6   impacted by your termination of employment from Frontier?
      7            A. Yes.                                                         7         A. It literally changed the course of my
      8            Q. I'll show you Exhibit 7. This is just                        8   life. Part of my identity and who I was so proud to be
      9   following up on a line of questioning earlier today.                     9   was being a flight attendant. I loved my job. I told
     10   Brigham Exhibit 7 is a document from the Colorado                       10   everybody about my job. I was proud of my job. I -- I
     11   Department of Labor and Employment to you.                              11   just loved it. I loved working with the customers. It
     12               Is this a true and correct copy of the                      12   was great.
     13   unemployment benefits that you received in 2015?                        13              So to have that suddenly torn away from me
     14            A. It looks like it.                                           14   was awful. It changed my sort of view on -- I tend to be
     15            Q. And was that $890? Does that sound about                    15   very Pollyanna, like everything's going to work out,
     16   right?                                                                  16   everything's going to be fine, and it kind of crushed
     17            A. Yeah.                                                       17   that when it didn't work out that way even though the law
     18            Q. And then -- okay. This will be Exhibit 3.                   18   was on my side.
     19   Brigham Exhibit 3, which is your 2016 W-2 from Great West               19              It sort of changed my whole world view on
     20   Painting & Repair; is that correct?                                     20   everybody should do what is right, and that didn't happen
     21            A. Yep.                                                        21   in this case, and that hurt. That was terrible. You
     22            Q. And does it show you made $14,502.69 from                   22   couldn't pay me enough money to go through what I went
     23   Great West Painting in 2016?                                            23   through again. At a time when I got home from treatment,
     24            A. Yes.                                                        24   at a time when I'm supposed to be mending my
     25               MS. KITSON: Okay. All right. In                             25   relationships with my family, my friends, and all the

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      1   people that I had done harm to during my active            1    after your termination of employment?
      2   alcoholism, I was dealing with stuff with Frontier. And    2            A. There's no way I would have been able to
      3   then all of a sudden, I didn't have health insurance for   3    afford it.
      4   my family. I wasn't able to provide any type of money      4            Q. If you take a look here, we're on page 43
      5   for my family. I -- I didn't know what to do. I didn't     5    of the PDF, you say -- you're talking with Jeff again?
      6   know how to be for a while.                                6            A. Mm-hmm.
      7             I mean, I was a flight attendant, and I          7            Q. And you're talking about flight
      8   was dang proud of it. I also was sort of -- it changed     8    attendant -- being a flight attendant?
      9   the dynamics in my marriage. I was working, so was my      9            A. Mm-hmm.
     10   husband, and at times, I was the main breadwinner. So     10            Q. And he's talking about an office job, and
     11   for me to get knocked all the way down to unemployed was 11     you say, Yeah. And he says, You lose so much time off.
     12   awful.                                                    12    And you say, Do you? And then Meredith, who I believe is
     13             It -- I mean, it's hard to even describe.       13    Cassie, says, Yeah, I feel like, God, I get -- I get up, I
     14   The anxiety that I went through, having to change my      14    come to work, I go home, eat dinner, and I go to bed. I'm
     15   whole life, was awful. I feel like I wouldn't be in       15    like it's five days a week. You say, Yeah.
     16   Michigan. I wouldn't be -- yeah. It would just be a       16                You continue talking about it. And Jeff
     17   completely different life.                                17    says, You know, I so look forward to my weekends, and it's
     18          Q. Okay. I'm going to show you again an            18    like, shit, Sunday night, I have to go to work again -- or
     19   exhibit that we looked at before, which is Exhibit 33,    19    no work again.
     20   which is the transcript of that October 9th, 2015 meeting 20                Do you remember having that conversation
     21   that you had.                                             21    with him?
     22          A. Yes.                                            22            A. Yes.
     23          Q. Do you recall -- so it looks like you're        23            Q. And was he expressing that kind of a
     24   speaking with a Jeff here.                                24    regular 8-to-5 job is difficult?
     25          A. Jeff Varney.                                    25            A. Yes.
                                                          Page 207                                                          Page 209
      1          Q. That's Jeff Varney?                               1          Q. And you say, Yeah, that's why I want to
      2          A. Yes.                                              2   keep doing turns if I can, because then I'll be able to go
      3          Q. And you're talking with him about -- he           3   back to school, and in 22 months, have my degree.
      4   says, I look like a hillbilly. You say, Here's your         4             Do you see that?
      5   flight attendant for the day. He say, Yep, exactly. I'm     5          A. Yeah.
      6   from Denver. And you say, Too funny. Yeah, I just don't     6          Q. So is part of the reason that you wanted to
      7   know what else I'd want to do, Jeff, and this gives me      7   do turns and not have overnights is so that you could go
      8   enough time off, because I'm going to start school in       8   back to school?
      9   November.                                                   9          A. This actually is -- when I said "keep
     10              Do you see that?                                10   doing turns," it was even after I was able to do layovers
     11          A. Yes.                                             11   and stuff through my treatment. Yeah.
     12          Q. So in the time that you were going through       12          Q. And -- so that's part of the reason you
     13   this disciplinary process with Frontier --                 13   wanted to keep doing turns is so you could go to school?
     14          A. Yes.                                             14          A. Yes, but I could have done that even if I
     15          Q. -- were you planning to start school in          15   was doing layovers too, in an online program.
     16   November?                                                  16          Q. But it says here that that's why you want
     17          A. Yes, I was going to do -- it's called            17   to keep doing turns, right?
     18   Trinity College. They had a naturopath program, a few      18          A. Yes, keep doing turns even after -- like
     19   different programs that I wanted to take. I was            19   after everything was all said and done and I was done
     20   interested in learning more about holistic medicines and   20   with therapy and all that stuff. That's why I said "keep
     21   the naturopath. It wasn't to change a career. It was       21   doing turns."
     22   more for my -- myself. And, of course, I could have        22          Q. Okay. And --
     23   turned that into a career and had something to fall back   23          A. To my memory.
     24   on.                                                        24          Q. And you -- Jeff says, What are you looking
     25          Q. And why didn't you end up going to school        25   for? And then you talk about becoming a naturopath,

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      1   correct?                                                              1   opened the new base in Orlando, and everybody junior to
      2         A. Yeah.                                                        2   me went over there to get a line. So, therefore, because
      3         Q. And that would have been a 22-month                          3   I couldn't obviously move to Orlando, I -- my seniority
      4   program; is that correct?                                             4   went down, and that's when we started having problems.
      5         A. I believe so.                                                5   And that's when I started asking for reasonable
      6         Q. Okay. I believe you also talked in this                      6   accommodations so that this could work with my recovery.
      7   meeting about wanting to spend time with your children and            7          Q. So turns is what people typically --
      8   that being why -- part of the reason why you wanted to                8   that -- that was the premium, right, what people wanted?
      9   remain a flight attendant and have turns instead of                   9          A. Not necessarily. Everybody was different.
     10   overnights; is that correct?                                         10          Q. But for the most part?
     11         A. That's why I wanted to be a flight                          11          A. No. I knew lots of people that would
     12   attendant. With a flight attendant job, you get much                 12   prefer two days, and lots of people that preferred to fly
     13   more time at home. I mean, you're gone for a chunk of                13   up to six days in a row. That way they could have, like,
     14   time usually, but then you have -- on average, you have              14   two weeks off. It just depended on the person. I mean,
     15   like up to 15, to 20 sometimes, days off a month.                    15   super senior people were the ones that were able to hold
     16         Q. And with those turns, I think you said that                 16   those long LaGuardia turns, which are eight flight hours
     17   you're able to pick your kids up from school, for                    17   in a single day. But there were also lots of super
     18   instance?                                                            18   senior people that liked to fly trips.
     19         A. It just depends on when the turn was.                       19          Q. Did you ever apply for a transfer to
     20         Q. And it was your preference to not have to                   20   Orlando?
     21   do overnights in part so that you could stay home with               21          A. Absolutely not.
     22   your family, correct?                                                22          Q. Why not?
     23         A. No, that was strictly because of my                         23          A. Because I couldn't uproot my family and
     24   recovery.                                                            24   move to Orlando.
     25         Q. So you wouldn't mind the overnights, even                   25          Q. If you had moved to Orlando, could you have
                                                                    Page 211                                                       Page 213
      1   though you'd be away from your kids?                                  1   held turns?
      2          A. No, not at all. Sometimes it's a nice                       2          A. I'm assuming.
      3   break. But it was not safe for me to do that in my                    3          Q. And could you have commuted to Orlando?
      4   recovery at the time. I missed layovers. I really did.                4          A. No. And not -- well, I mean, technically
      5          Q. And you were a flight attendant for eight                   5   somebody can commute, but for me, for my recovery, I did
      6   years; is that correct?                                               6   not feel comfortable being on an overnight or away from
      7          A. A little over.                                              7   my recovery and my support system at home overnight,
      8          Q. And I'm sure you had contact with a lot of                  8   which commuting would have meant that I had to fly in the
      9   flight attendants in that time; is that correct?                      9   day early, I'd have to stay in a hotel in Orlando to do
     10          A. Correct.                                                   10   turns. So it's pointless. I might as well at that point
     11          Q. You were friends with flight attendants,                   11   have done overnights.
     12   right?                                                               12          Q. What other reasons other than alcoholism
     13          A. Yeah.                                                      13   did you not want to do overnights?
     14          Q. And --                                                     14          A. Alcoholism was the main one.
     15          A. That was the majority of my social life                    15          Q. Were there others?
     16   was being a flight attendant.                                        16          A. Not that I can recall at this time.
     17          Q. To your knowledge, who generally gets to do                17          Q. So it didn't bother you at all to do
     18   turns?                                                               18   overnights for family reasons?
     19          A. Senior flight attendants, and at one                       19          A. I mean, it was nice when I was home, but
     20   point, I was not considered a super senior, but I was                20   it wasn't the reason why I was asking for a reasonable
     21   senior enough to hold turns. Little turns. I couldn't                21   accommodation.
     22   hold the big high-hour New York/LaGuardia turns, but I               22          Q. I want to talk to you a little bit about
     23   was able to hold the super early in the morning Dallas               23   the other stressors in your life in terms of other things
     24   turn that had me home by 11:00 in the afternoon.                     24   that have contributed to your emotional distress that are
     25              And then Frontier opened up -- Frontier                   25   not related to Frontier.

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      1              What are the major emotional stressors that       1               THE VIDEOGRAPHER: We're going off the
      2   you've experienced in your life?                             2   record at 2:49 p.m.
      3           A. The death of my daughter in 2009.                 3               (Recess from 2:49 p.m. to 2:57 p.m.)
      4           Q. Okay. Tell me about that.                         4               THE VIDEOGRAPHER: We're going back on the
      5           A. I was five and a half months pregnant, and        5   record at 2:57 p.m.
      6   I got an infection in the lining of my uterus, because I     6         Q. (By Ms. Kitson) Ms. Brigham, do you still
      7   have an incompetent cervix, which we didn't know then.       7   understand you're under oath?
      8   And I got an infection in the lining of my uterus, and my    8         A. Yes.
      9   body went into labor to try and get rid of the infection.    9         Q. I just have some wrap-up questions for you.
     10   My daughter, Cindy Lee Brigham, was born, and lived for     10   I want to make sure I understand your position in the
     11   45 minutes and died in my arms.                             11   lawsuit.
     12           Q. How does that still impact you today?            12               So you wanted to be able -- every time you
     13           A. It's hard. I would have a 12-year old.           13   had overnight trips, to just drop those and work in the
     14   It's really hard. I'm not going to lie.                     14   general office, correct?
     15           Q. And I'm so sorry for your loss.                  15         A. That was one of them, correct.
     16           A. I did lots of therapy about it, so I'm way       16         Q. Even though no one else got to do that
     17   better than, of course, I was. Prior to going to            17   other than on-the-job-injured individuals, correct?
     18   treatment, I just hadn't even dealt with it emotionally.    18         A. I don't know if they allowed other
     19   I ignored it. I drank it away. And when it comes to         19   individuals to do that, Danielle. I can just speak to my
     20   treatment, I did a bunch of therapy around it.              20   position.
     21              And I did a bunch of, like, psychoactive         21         Q. But you wanted to be treated better than
     22   therapy. I don't know what they call it. It's like          22   everyone else in that regard, correct?
     23   psychotherapy or something. And it was very -- it was so    23         A. I was asking for a reasonable
     24   hard. It was the first time that I allowed myself to        24   accommodation.
     25   feel those feelings and to feel them sober. It was hard,    25         Q. And you wanted to be able to drop your

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      1   but it helped.                                             1     entire schedule after bidding and build it up from --
      2          Q. And that was happening all in this same          2            A. Not drop my entire schedule. Don't award
      3   time period of 2014/2015, as you were --                   3     me anything.
      4          A. 2014 is when I finally faced it and dealt        4            Q. All right. Let me put it a different way.
      5   with it in treatment.                                      5                You wanted to not even have to bid and get
      6          Q. And so that period must have been very           6     to start off with scratch with no schedule?
      7   hard, the 2014/2015 period, dealing with that at the same  7            A. Correct.
      8   time that you were going through this disciplinary         8            Q. Where everybody else had the whole 45,
      9   process, I would imagine?                                  9     correct?
     10          A. Of course.                                      10            A. Correct.
     11          Q. What other major emotional stressors have       11            Q. But you get to be treated better than
     12   you had in your life, not counting Frontier?              12     everyone else, right?
     13          A. I honestly -- Frontier. I put my daughter       13            A. I was asking for a reasonable
     14   and Frontier in pretty much the same category. They both 14      accomodation, and that is my right under the ADA.
     15   destroyed my happiness, what I thought was going to be my 15                MR. CRONE: And -- and -- and I want to
     16   life, and just destroyed it. I was worth something when   16     put an objection on the record that the question's
     17   I was a flight attendant. I was proud. It was what I      17     mischaracterizing the witness' prior testimony.
     18   wanted to do when I grew up.                              18            Q. (By Ms. Kitson) And, Ms. Brigham, you also
     19              Can I have a minute?                           19     wanted to, after you bid a full schedule, have your
     20          Q. Yes. Absolutely.                                20     overnight trips just magically taken off, correct?
     21          A. Thank you.                                      21            A. Correct.
     22          Q. Do you want to go off the record for five       22            Q. Even though no one else got to do that,
     23   or --                                                     23     correct?
     24          A. Yes, please.                                    24            A. I don't know what they did for other
     25          Q. Okay.                                           25     people, Danielle. They did it for me a few times,

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      1   proving that they could have done it very quickly with a    1    like two minutes? My dog is barking at the kids, I
      2   stroke of a key.                                            2    think.
      3          Q. But you wanted to be able to do that when         3                MS. KITSON: Yeah.
      4   not everybody could, correct?                               4                THE DEPONENT: Thank you.
      5          A. That was one of my reasonable                     5                THE VIDEOGRAPHER: We're going off the
      6   accommodation requests, correct.                            6    record at 3:01 p.m.
      7          Q. And people senior to you would not have           7                (Recess from 3:01 p.m. to 3:04 p.m.)
      8   been able to do that, correct?                              8                THE VIDEOGRAPHER: We're going back on the
      9          A. I don't know. I at one point talked to            9    record at 3:04 p.m.
     10   Frontier about setting up a program for people who have 10                        EXAMINATION
     11   self-disclosed to the company, and that was actually       11    BY MR. CRONE:
     12   during my October 9th meeting with them. And they said I 12               Q. So, Rebecca, how many hours did you want to
     13   would have had to go to the union in order to do that.     13    hold? So the accommodation that you were just discussing
     14   And then they fired me before I could even set anything    14    with Ms. Kitson, she was stating that -- that you wanted
     15   up to help people that are in our position.                15    to be able to, you know, build your schedule from scratch,
     16          Q. You're not aware of anyone more senior to        16    and everyone else would have to hold 45 hours.
     17   you getting to do that, just drop overnight trips whenever 17                How many hours were you proposing to hold?
     18   they do that, correct?                                     18             A. As many as I could get to fit. I
     19          A. If the reserve grid was in the green, they       19    mean -- and I didn't -- I don't think I remember about
     20   could, but if they didn't have -- that I'm aware of --     20    the 45 hours being something that I remember now. But I
     21   somebody being able to just go take them away.             21    remember I would have to be up to 60 hours, which would
     22          Q. Okay. Let me ask it a different way.             22    have been very doable had they reasonably accommodated
     23             Reserve's in the red, no one is allowed to       23    me.
     24   drop. You're not aware of anyone more senior to you being 24                 My goal -- financially for my family, my
     25   allowed to just drop trips in that situation, correct?     25    goal was to fly about 100 hours a month. That was my

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      1          A. Correct.                                           1   ultimate goal.
      2          Q. Okay. With respect to the blank schedule,          2          Q. Okay. So ideally, then, were you looking
      3   then -- and I asked you if, you know, everyone else would    3   to get a schedule of 100 hours per month with that
      4   have to hold 45 -- people more senior to you would have      4   accomodation?
      5   had to hold 45, correct?                                     5          A. Yes.
      6          A. Again, I was asking for that as a                  6          Q. And then if you couldn't get the number of
      7   reasonable accommodation.                                    7   hours you wanted, then would you just be out of luck?
      8          Q. But people more senior to you would have           8          A. I would be -- actually, at that point, I
      9   been able to hold -- or forced to hold 45, correct?          9   would have been fine with 60 hours.
     10          A. People more senior than me would have been        10          Q. Okay. Much earlier in the day, Ms. Kitson
     11   able to bid what they wanted.                               11   asked you about whether or not you've applied for flight
     12          Q. But they always had to hold 45 hours,             12   attendant jobs -- flight attendant positions since being
     13   correct?                                                    13   terminated from Frontier.
     14          A. Correct.                                          14              Do you recall that?
     15          Q. And you wouldn't have had to do that,             15          A. Yes.
     16   correct?                                                    16          Q. And then you testified that currently you
     17          A. Correct. It was part of what I was asking         17   live roughly two hours in traffic away from the Detroit
     18   as my reasonable accommodation.                             18   airport; is that correct?
     19          Q. All right.                                        19          A. Yes.
     20             MS. KITSON: Those are my only questions.          20          Q. And I wasn't clear, so I just want
     21             John, did you have questions?                     21   to -- you had -- you had told Ms. Kitson, I think, that
     22             MR. CRONE: I have -- yeah, just a few,            22   one reason you couldn't get another flight attendant job
     23   though. Give me just one second, Danielle.                  23   is now because you don't have the -- you wouldn't have the
     24             MS. KITSON: Sure.                                 24   seniority; is that right?
     25             THE DEPONENT: And can I actually have             25          A. Yes. The seniority, and I was too far

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      1   away from the airport, and I -- I could not have            1   familiar with the terms of the Collective Bargaining
      2   commuted.                                                   2   Agreement as well?
      3          Q. Couldn't have commuted. And I thought             3             MS. KITSON: Object to form.
      4   there was one other -- well, it doesn't matter, we can      4          A. Yes.
      5   look back at the transcript.                                5          Q. (By Mr. Crone) Okay. Ms. Kitson put in
      6             The -- so when you -- Ms. Kitson also asked       6   front of you a position description for a flight
      7   you about being granted leave time when you went to         7   attendant.
      8   inpatient treatment.                                        8             Do you remember that?
      9             Do you recall that?                               9          A. Yes.
     10          A. Yes.                                             10          Q. And it listed a bunch of essential job
     11          Q. How did that actually happen? So did             11   functions.
     12   you -- did you go to treatment, then request leave? Did    12             Do you recall those?
     13   you request leave, go to treatment? What was the actual    13          A. Yes.
     14   sort of detail on the timeline?                            14          Q. And when -- when you -- when you -- after
     15          A. I went to treatment, and they granted me         15   you self-disclosed your disability of alcoholism, were you
     16   the permission to use a computer, so that I could check    16   able to complete those essential job functions?
     17   to see if my schedule was clear or what I had. And at      17          A. With my reasonable accommodation being
     18   that point, I was still on the schedule. So that's when    18   granted, yes.
     19   I had to self-disclose to the company, and they granted    19          Q. Okay. And what about without it?
     20   the medical leave.                                         20          A. Without it, no, because if I had to do
     21          Q. Okay. And why did you have to ask                21   overnights, I wouldn't have my sobriety. Therefore, I
     22   permission to use the computer?                            22   would be terminated by Frontier.
     23          A. Because the first week in treatment,             23          Q. Okay. And do you recall -- or actually,
     24   you're not supposed to have any phone calls, any access    24   let me start over. Let me formulate the question a
     25   to computers, anything for the first seven days.           25   different way.
                                                          Page 223                                                         Page 225
      1          Q. Do you remember who you emailed at Frontier 1                   After you self-disclosed your disability of
      2   about it?                                                   2   alcoholism, did you have any trouble with your day-to-day
      3          A. I don't remember who I emailed. I do              3   life?
      4   remember calling Claudia Galvez, and she's the one I        4          A. Yes.
      5   talked to on the phone, and told her my situation.          5          Q. Okay. Do you recall being asked a
      6          Q. Okay. And what did she tell you?                  6   discovery -- a written discovery question by Frontier
      7          A. Get better. We'll handle everything else          7   about that topic?
      8   on our end. Just get better.                                8          A. Yes.
      9          Q. Okay. Do you remember -- Danielle referred        9          Q. And did you answer that honestly when you
     10   you to various provisions of the CBA.                      10   answered it?
     11             Do you recall those questions?                   11          A. Yes.
     12          A. Yes.                                             12          Q. And are you still suffering any of those
     13          Q. Is there anything, to your knowledge, in         13   issues; that is, your ability to complete day-to-day life
     14   the CBA that would prevent Frontier from granting you the 14    activity? Do you have any issues with that now?
     15   accommodations you requested?                              15          A. The sleeping part, which is why I still
     16          A. No.                                              16   take trazodone. But my life now is nowhere near what it
     17             MS. KITSON: Object to form.                      17   was early in recovery, when it comes to those post -- the
     18          Q. (By Mr. Crone) And do you recall --              18   post-withdrawal symptoms.
     19   Ms. Kitson asked you if you should have been familiar with 19          Q. So you've improved a good deal now?
     20   the terms in the Collective Bargaining Agreement.          20          A. Yes.
     21             Do you recall that question?                     21          Q. And -- but what about right after the
     22          A. Yes.                                             22   self-disclosure, you know, from that time until you were
     23          Q. I want to ask you the sort of mirror image       23   fired by Frontier, how was it then?
     24   to that question.                                          24          A. I was still early in my recovery. I had
     25             Do you think Frontier should have been           25   issues sleeping. And honestly, the Frontier stuff just

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      1   made it worse. I -- yeah.                                     1            Do you remember looking at these earlier?
      2          Q. I want to pull up Exhibit -- what was               2         A. Yes.
      3   Exhibit 43 in the deposition. So Ms. Kitson marked it as      3         Q. Okay. And I'm going to go to what's
      4   Exhibit 43. I'm going to try to share my screen here and      4   page 44 in the PDF. And just to refresh our memories, the
      5   see if I can make this work. Oh, there we go. Okay.           5   yellow is Stefanie, and the blue is you, right?
      6              Okay. Can you see that, Rebecca?                   6         A. Correct.
      7          A. Yes.                                                7         Q. And here -- do you see right in the middle,
      8          Q. Okay. So I'm at page 19 of Exhibit 43               8   Ms. Coppedge says, My lovely husband says no grievance.
      9   which is Bates number Brigham LM, a bunch of 0s, 36?          9   Fuck those mother fuckers, just sue?
     10          A. Yes.                                               10         A. Yes.
     11          Q. And do you see at the top where it says,           11         Q. First of all, is -- is -- is
     12   Rebecca, it says, I don't know if I qualify?                 12   Ms. Coppedge -- I mean, she used profanity in the text
     13          A. Yes.                                               13   message.
     14          Q. Is that you speaking?                              14            Does that make her a bad person in any way?
     15          A. Yes.                                               15         A. No, not at all.
     16          Q. And then Kari below says, And you may or           16         Q. I mean, you -- you -- we've looked at some
     17   may not, but I would -- I was telling her earlier, I mean,   17   text messages where you use profanity.
     18   there's so many opportunities, right? And then a bunch of    18            Does it make you a bad person?
     19   other stuff.                                                 19         A. No.
     20              Is that Kari Thompson?                            20         Q. But here, Ms. Coppedge is telling you to
     21          A. Yes.                                               21   sue Frontier, isn't she?
     22          Q. And then below you say, Right. Do you lose         22         A. Yes.
     23   your seniority? Kari says, after, question mark? And         23            MS. KITSON: Object to form.
     24   then Jerry says, 90 days.                                    24         A. Yes.
     25              Is that --                                        25         Q. (By Mr. Crone) Okay. And is she -- to
                                                           Page 227                                                          Page 229
      1          A. That's where I heard it.                            1   your --
      2          Q. Is that Jerry --                                    2          A. She wouldn't have said that if she didn't
      3          A. There it is.                                        3   know what they were doing was wrong.
      4          Q. Yeah. And is that Jerry Arellano?                   4          Q. Okay. Do you think she thought it was
      5          A. Yes.                                                5   against the law?
      6          Q. And then Kari says, Oh, is it 90 days if            6          A. Yes.
      7   you stay with -- within the inflight? Jerry says, If you      7             MS. KITSON: Object to the form.
      8   stay within the company. Kari says, It's two years. If        8          A. Otherwise -- otherwise, she wouldn't have
      9   you leave inflight, it's 90 days. And then Jerry says, Or     9   said "sue." You have to have a legal case in order to
     10   if you leave the company, it's 90 days.                      10   sue somebody, not that you just don't like what they're
     11          A. Correct.                                           11   doing to you.
     12          Q. Is that all -- is that all an accurate             12          Q. (By Mr. Crone) Okay. I'm going to move to
     13   transcript of the conversation, as you remember it?          13   page 14 of this same Exhibit 46. At the bottom, it's a
     14          A. Yes.                                               14   text message from Stefanie to you that says, American
     15          Q. Okay. And what does that mean to you, the          15   Disabilities, discrimination, alcoholics.
     16   90 days? What -- what is -- what are they saying to you      16             Do you recall that text?
     17   there?                                                       17          A. Yes.
     18          A. After three months in a temporary                  18          Q. What's she telling you there?
     19   position, you can't go back to inflight and keep your        19             MS. KITSON: Object to the form. Lack of
     20   seniority.                                                   20   foundation.
     21          Q. Okay.                                              21          A. To look into the ADA, because I was a
     22          A. Which is what I remembered being told.             22   protected class in being an alcoholic. And that they
     23          Q. Now, I want to move over to what was marked        23   were discriminating against me basically for being an
     24   Exhibit 46, and these are your text messages with            24   alcoholic.
     25   Stefanie Coppedge.                                           25          Q. (By Mr. Crone) Okay.

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      1              MS. KITSON: And, Ms. -- Ms. Brigham, if          1     anything, but let me just double-check, okay?
      2   you could wait a tick after Mr. Crone asks the questions    2              MR. CRONE: Sure. Sounds good.
      3   so that I could get my objection in there on the record,    3              THE VIDEOGRAPHER: We're going off the
      4   that would be great.                                        4     record at 3:17 p.m.
      5              THE DEPONENT: Okay. Sure.                        5              (Recess from 3:17 p.m. to 3:21 p.m.)
      6          Q. (By Mr. Crone) Okay. I'm going to move to         6              THE VIDEOGRAPHER: We're going back on the
      7   page 30 of Exhibit 46. Down at the bottom, Ms. Coppedge 7         record at 3:21 p.m.
      8   says, Seriously, sue for stress and anxiety, shit.          8              MS. KITSON: I don't have any further
      9              What's she telling you there?                    9     questions. Thank you, Ms. Brigham.
     10          A. That --                                          10              THE DEPONENT: Thank you.
     11              MS. KITSON: Object to the form.                 11              MR. CRONE: Thanks, Danielle.
     12          A. She basically was telling me to sue for          12              MS. KITSON: And, Laurel, did you want to
     13   stress and anxiety because of what Frontier was putting    13     ask us about the order?
     14   me through.                                                14              THE REPORTER: Yes. First, Ms. Kitson,
     15          Q. (By Mr. Crone) At page 44 of the same            15     your order, is it the same?
     16   exhibit, we're going to go back to where we started at the 16              MS. KITSON: It will be our standard
     17   bottom, she tells you, You should reach out to             17     order, whatever we ordered last time.
     18   Julia Jones. She sued and won, exclamation point! Maybe 18                 THE REPORTER: Mr. Crone?
     19   she can help you attorney-wise.                            19              MR. CRONE: Whatever is regular and
     20              What was that about?                            20     formal. So slow and cheap.
     21              MS. KITSON: Object to the form.                 21              THE REPORTER: And then signature, do you
     22          A. Trying to help me find an attorney to sue        22     want to handle it?
     23   Frontier.                                                  23              MR. CRONE: Yeah, please. Thank you.
     24          Q. (By Mr. Crone) Okay. And give me just one        24              THE REPORTER: Okay. Thanks.
     25   second. I think I only have -- oh, yeah. Last couple of    25              THE VIDEOGRAPHER: This concludes the

                                                            Page 231                                                              Page 233
      1   questions, Rebecca. So let me get rid of this.                1   videotaped deposition of Rebecca Brigham. We're going
      2             Earlier you had testified that you had              2   off the record at 3:22 p.m.
      3   considered going to school at one point and that that         3                * * * * * * *
      4   program would take roughly 22 months.                         4             WHEREUPON, the foregoing deposition was
      5             Do you recall that?                                 5   concluded at the hour of 3:22 p.m. Total time on the
      6          A. Yes.                                                6   record was 4 hours and 47 minutes.
      7          Q. So at one point, you considered going to            7
      8   school.                                                       8
      9             And did you do that because you were                9
     10   interested in the subject matter?                            10
     11          A. Yes.                                               11
     12          Q. Did you also think it might lead to a              12
     13   better job?                                                  13
     14          A. Yes, down the road, it could have                  14
     15   possibly, especially if things went south with Frontier.     15
     16          Q. But ultimately, you didn't go, because you         16
     17   couldn't afford it because you got fired.                    17
     18             Is that -- was that --                             18
     19          A. Correct.                                           19
     20          Q. Okay.                                              20
     21             MR. CRONE: That's it, Rebecca. Thank               21
     22   you. I appreciate it.                                        22
     23          A. Thank you.                                         23
     24             MS. KITSON: Can we just take two minutes           24
     25   off the record, John, and then, I don't think I have         25

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                        Federal Rules of Civil Procedure

                                        Rule 30



           (e) Review By the Witness; Changes.

           (1) Review; Statement of Changes. On request by the

           deponent or a party before the deposition is

           completed, the deponent must be allowed 30 days

           after being notified by the officer that the

           transcript or recording is available in which:

           (A) to review the transcript or recording; and

           (B) if there are changes in form or substance, to

           sign a statement listing the changes and the

           reasons for making them.

           (2) Changes Indicated in the Officer's Certificate.

           The officer must note in the certificate prescribed

           by Rule 30(f)(1) whether a review was requested

           and, if so, must attach any changes the deponent

           makes during the 30-day period.




           DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

           ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

           THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

           2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

           OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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                      VERITEXT LEGAL SOLUTIONS
            COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

       Veritext Legal Solutions represents that the
       foregoing transcript is a true, correct and complete
       transcript of the colloquies, questions and answers
       as submitted by the court reporter. Veritext Legal
       Solutions further represents that the attached
       exhibits, if any, are true, correct and complete
       documents as submitted by the court reporter and/or
       attorneys in relation to this deposition and that
       the documents were processed in accordance with
       our litigation support and production standards.

       Veritext Legal Solutions is committed to maintaining
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       the Health Insurance Portability and Accountability
       Act (HIPAA), as amended with respect to protected
       health information and the Gramm-Leach-Bliley Act, as
       amended, with respect to Personally Identifiable
       Information (PII). Physical transcripts and exhibits
       are managed under strict facility and personnel access
       controls. Electronic files of documents are stored
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